Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23   Desc:
                           Exhibit J Page 1 of 131



                                   Exhibit J

                 PREPA 2020 AUDITED FINANCIAL STATEMENTS
Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23               Desc:
                           Exhibit J Page 2 of 131




     Municipal Secondary Market Disclosure Information Cover Sheet
            Municipal Securities Rulemaking Board (MSRB)
          Electronic Municipal Market Access System (EMMA)
    THIS FILING RELATES TO A SINGLE BOND ISSUE:
    Name of bond issue exactly as it appears on the cover of the Official Statement:




    Nine-digit CUSIP* numbers if available, to which the information relates:



    THIS FILING RELATES TO ALL OR SEVERAL SECURITIES ISSUED BY THE ISSUER, OR
    ALL OR SEVERAL SECURITIES OF A SPECIFIC CREDITOR:
    Issuer’s Name:   Puerto Rico Electric Power Authority (“PREPA”)

    Other Obligated Person’s Name (if any):

    Six-digit CUSIP* number(s):      745268 and 74526Q

    TYPE OF INFORMATION PROVIDED:
    A.     Annual Financial Information and Operating Data pursuant to Rule 15c2-12
         Fiscal Period Covered:

    B.     Audited Financial Statements or CAFR pursuant to Rule 15c2-12
         Fiscal Period Covered:      2019-20

    C.     Notice of Failure to Provide Annual Financial Information as Required:

    I represent that I am authorized by the issuer, obligor or its agent to distribute this
    information publicly.


    /s/ Julian M. Bayne Hernández
    Julian M. Bayne Hernández
    Puerto Rico Fiscal Agency and Financial Advisory Authority,
       as Fiscal Agent for PREPA

    Dated: October 12, 2022
Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23         Desc:
                           Exhibit J Page 3 of 131




                         Puerto Rico Electric Power Authority
                 (A Component Unit of the Commonwealth of Puerto Rico)

           Audited Financial Statements and Required Supplementary Information

                          For the fiscal year ended June 30, 2020

                       (With Independent Auditors’ Report Thereon)
    Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23   Desc:
                               Exhibit J Page 4 of 131




                                            Table of Contents




Independent Auditors’ Report                                                       1-3

Management’s Discussion and Analysis (Unaudited)                                  4-22

Basic Financial Statements:

   Statement of Net Position (Deficit)                                           23-24

   Statement of Revenues, Expenses, and Changes
     in Net Position (Deficit)                                                     25

   Statement of Cash Flows                                                       26-27

Notes to the Financial Statements                                               28-121

Required Supplementary Information (Unaudited):

   Schedule of Changes in the Authority’s Net Pension Liability
     and Related Ratios                                                           122

   Schedule of Employer Contributions – Pension Plan                              123

   Schedule of Changes in the Authority’s Total OPEB Liability
     and Related Ratios                                                           124

   Notes to the Required Supplementary Information                             125-127
Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                                      Desc:
                           Exhibit J Page 5 of 131


                                KPMG LLP
                                American International Plaza
                                Suite 1100
                                250 Muñoz Rivera Avenue
                                San Juan, PR 00918-1819




                                              Independent Auditors’ Report


To the Governing Board of the
Puerto Rico Electric Power Authority:

We have audited the accompanying financial statements of the Puerto Rico Electric Power Authority (the
Authority), as of and for the year ended June 30, 2020, and the related notes to the financial statements, which
collectively comprise the Authority’s basic financial statements as listed in the table of contents.

Management’s Responsibility for the Financial Statements
Management is responsible for the preparation and fair presentation of these financial statements in
accordance with U.S. generally accepted accounting principles; this includes the design, implementation, and
maintenance of internal control relevant to the preparation and fair presentation of financial statements that are
free from material misstatement, whether due to fraud or error.

Auditors’ Responsibility
Our responsibility is to express an opinion on these financial statements based on our audit. We did not audit
the financial statements of PREPA Holdings, LLC, a blended component unit of the Authority, which represent
0.6 percent and 0.3 percent, respectively, of the total assets and total revenues of the Authority. Those
statements were audited by other auditors, whose report has been furnished to us, and our opinion, insofar as it
relates to the amounts included for PREPA Holdings, LLC, is based solely on the report of other auditors.

We conducted our audit in accordance with auditing standards generally accepted in the United States of
America and the standards applicable to financial audits contained in Government Auditing Standards, issued
by the Comptroller General of the United States. Those standards require that we plan and perform the audit to
obtain reasonable assurance about whether the financial statements are free from material misstatement. The
financial statements of PREPA Holdings, LLC, were not audited in accordance with Government Auditing
Standards.

An audit involves performing procedures to obtain audit evidence about the amounts and disclosures in the
financial statements. The procedures selected depend on the auditors’ judgment, including the assessment of
the risks of material misstatement of the financial statements, whether due to fraud or error. In making those
risk assessments, the auditor considers internal control relevant to the entity’s preparation and fair presentation
of the financial statements in order to design audit procedures that are appropriate in the circumstances, but
not for the purpose of expressing an opinion on the effectiveness of the entity’s internal control. Accordingly, we
express no such opinion. An audit also includes evaluating the appropriateness of accounting policies used and
the reasonableness of significant accounting estimates made by management, as well as evaluating the overall
presentation of the financial statements.

We believe that the audit evidence we have obtained is sufficient and appropriate to provide a basis for our
unmodified and modified audit opinions.




                                KPMG LLP, a Delaware limited liability partnership and a member firm of
                                the KPMG global organization of independent member firms affiliated with
                                KPMG International Limited, a private English company limited by guarantee.
Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                                   Desc:
                           Exhibit J Page 6 of 131



Basis for Qualified Opinion
The Authority’s accrued liability for claims and judgments as of June 30, 2020, includes an accounting estimate
for certain labor related claims of approximately $137.8 million. We were unable to obtain sufficient appropriate
audit evidence regarding management’s estimate because certain employee files that were necessary to
support management’s assumptions in the accounting estimate were either incomplete or unavailable.
Consequently, we were unable to determine whether any adjustments to this amount were necessary.

Qualified Opinions
In our opinion, based on our audit, and the report of other auditors, except for the possible effects of the matter
described in the Basis for Qualified Opinion, the financial statements referred to above present fairly, in all
material respects, the financial position of the Puerto Rico Electric Power Authority, as of June 30, 2020, and
the changes in financial position and its cash flows for the year then ended in accordance with U.S. generally
accepted accounting principles.

Emphasis of Matters
Uncertainty About Ability to Continue as Going Concern
The accompanying basic financial statements have been prepared assuming that the Authority will continue as
going concern. As discussed in note 3 to the basic financial statements, the Authority has an accumulated
deficit of approximately $8.0 billion, does not currently have sufficient funds available to fully repay its various
obligations as they come due, and has defaulted on various debt obligations. Also, on July 2, 2017, the
Financial Oversight and Management Board, at the request of the Governor, filed a petition on behalf of the
Authority for relief under Title III of the Puerto Rico Oversight, Management, and Economic Stability Act
(PROMESA) in the United States District Court for the District of Puerto Rico. Management’s evaluation of the
events and conditions and management’s plans regarding these matters are also described in note 3. The
basic financial statements do not include any adjustments that might result from the outcome of this
uncertainty. Our opinion on the basic financial statements is not modified with respect to this matter.

Adoption of New Accounting Pronouncement
As discussed in note 4 to the basic financial statements, the Authority adopted the provisions of Governmental
Accounting Standards Board Statement No. 83, Certain Asset Retirement Obligations. Our opinion is not
modified with respect to this matter.

Other Matters
Required Supplementary Information
U.S. generally accepted accounting principles require that the management’s discussion and analysis on pages
4-22; the schedule of changes in the Authority’s net pension liability and related ratios on page 122; the
schedule of employer contributions – pension plan on page 123; and the schedule of changes in the Authority’s
total OPEB liability and related ratios on page 124, be presented to supplement the basic financial statements.
Such information, although not a part of the basic financial statements, is required by the Governmental
Accounting Standards Board who considers it to be an essential part of financial reporting for placing the basic
financial statements in an appropriate operational, economic, or historical context.

We were unable to apply certain limited procedures to the management’s discussion and analysis in
accordance with auditing standards generally accepted in the United States of America, due to the matters
described in the “Basis for Qualified Opinion”. We do not express an opinion or provide any assurance on the
information.




                                                        2
Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                                  Desc:
                           Exhibit J Page 7 of 131



We have applied certain limited procedures to the schedule of changes in the Authority’s net pension liability
and related ratios; the schedule of employer contributions – pension plan; and the schedule of changes in the
Authority’s total OPEB liability and related ratios in accordance with auditing standards generally accepted in
the United States of America, which consisted of inquiries of management about the methods of preparing the
information and comparing the information for consistency with management’s responses to our inquiries, the
basic financial statements, and other knowledge we obtained during our audit of the basic financial statements.
We do not express an opinion or provide any assurance on the information because the limited procedures do
not provide us with sufficient evidence to express an opinion or provide any assurance.

Other Reporting Required by Government Auditing Standards
In accordance with Government Auditing Standards, we have also issued our report dated September 30, 2022
on our consideration of the Authority’s internal control over financial reporting and on our tests of its compliance
with certain provisions of laws, regulations, contracts, and grant agreements and other matters. The purpose of
that report is solely to describe the scope of our testing of internal control over financial reporting and
compliance and the results of that testing, and not to provide an opinion on the effectiveness of the Authority’s
internal control over financial reporting or on compliance. That report is an integral part of an audit performed in
accordance with Government Auditing Standards in considering the Authority’s internal control over financial
reporting and compliance.




San Juan, Puerto Rico
September 30, 2022

Stamp No. E481810 of the Puerto Rico
Society of Certified Public Accountants
was affixed to the record copy of this report.




                                                        3
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                             Desc:
                             Exhibit J Page 8 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                              Management’s Discussion and Analysis (Unaudited)

                                                   June 30, 2020



Introduction

This section of the financial report presents the analysis of the Puerto Rico Electric Power Authority’s (the
“Authority”) financial performance for the fiscal year ended June 30, 2020. We recommend that readers consider
the information herein presented in conjunction with the financial statements and the notes to the financial
statements that follow this section.

Required Financial Statements

The basic financial statements provide an indication of the financial health of the Authority. The statement of
net position (deficit) presents all the assets, deferred outflows of resources, liabilities, deferred inflows of
resources and net position (deficit) at year-end. The statement of revenues, expenses, and changes in net position
(deficit) presents all the revenues and expenses for the year and information as to how the net position or deficit
changed during the year. The statement of cash flows shows changes in cash and cash equivalents, resulting
from cash received from, and paid for, operating activities, non-capital financing activities, capital financing
activities, and investing activities. The notes to the financial statements provide information required and
necessary to the understanding of the financial statements.




                                       This space is intentionally left in blank
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                          Desc:
                             Exhibit J Page 9 of 131
                                      Puerto Rico Electric Power Authority
                              (A Component Unit of the Commonwealth of Puerto Rico)

                          Management’s Discussion and Analysis (Unaudited) – (continued)

                                                      June 30, 2020



Financial Analysis

The Authority’s condensed statements of net position (deficit) as of June 30, 2020 and 2019, were as follows
(2019 figures do not include the effect of the restatement disclosed in Note 4) (in thousands):

                                                                                2020            2019
                     Assets and deferred outflows of resources
 Current assets                                                              $ 1,516,437     $ 1,728,887
 Other non‑current assets                                                        184,614         101,986
 Capital assets                                                                7,917,266       8,068,377
 Total Assets                                                                   9,618,317       9,899,250


 Deferred outflows of resources                                                  753,070         731,508


                Total assets and deferred outflows of resources              $ 10,371,387    $ 10,630,758


     Liabilities, deferred inflows of resources and net position (deficit)

 Long‑term debt                                                              $ 14,638,034    $ 14,296,349
 Other liabilities                                                              3,682,004       2,891,909


 Total liabilities                                                             18,320,038      17,188,258
 Deferred inflows of resources                                                    104,554         247,193


              Total liabilities and deferred inflows of resources              18,424,592      17,435,451


 Net position (deficit):
  Net investment in capital assets                                               (500,522)       (268,167)
  Restricted                                                                      166,782          85,831
   Deficit                                                                     (7,719,465)     (6,622,357)


       Total net position (deficit)                                            (8,053,205)     (6,804,693)
       Total liabilities, deferred inflows of resources and
       net position (deficit)                                                $ 10,371,387    $ 10,630,758




                                                          -5-
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23            Desc:
                            Exhibit J Page 10 of 131
                                 Puerto Rico Electric Power Authority
                         (A Component Unit of the Commonwealth of Puerto Rico)

                     Management’s Discussion and Analysis (Unaudited) – (continued)

                                             June 30, 2020



Financial Analysis – (continued)




                                                  -6-
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                                  Desc:
                            Exhibit J Page 11 of 131
                                   Puerto Rico Electric Power Authority
                           (A Component Unit of the Commonwealth of Puerto Rico)

                       Management’s Discussion and Analysis (Unaudited) – (continued)

                                                    June 30, 2020



2020 Compared to 2019

As of June 30, 2020 and 2019, the Authority’s total assets and deferred outflows of resources amounted to
approximately $10.4 billion and $10.6 billion, respectively, a decrease of approximately $200 million (2 percent).
The net decrease in total assets and deferred outflows of resources is mainly due to the net effect of the
following:

    •   An increase in cash and cash equivalents of approximately $118.4 million, or 37 percent. During the
        fiscal year 2020, the normal operation at the Authority was affected by the COVID-19 global pandemic.
        The increase in cash and cash equivalents is directly related to an approximately $160.3 million, or 12
        percent increase in accounts payable compared to fiscal year 2019. This increase in payables was caused
        mainly by the emergency declaration and associated lockdown ordered by the Governor of Puerto Rico
        by executive order in March of 2020 and the effect this had on the review of supplier invoices, their
        approval, and finally, the issuance of payments. See Note 17.

    •   An increase in restricted cash and cash equivalents of approximately $61.5 million, or 60 percent.
        During the fiscal year 2020, the Authority established a Front-End Transition Fund to pay for transition
        services, as stipulated in the newly signed T&D Contract (as defined in Note 18 of the Financial
        Statements) regarding the transition of operation of the Authority’s transmission and distribution
        system to an operations and maintenance service provider.

    •   A net decrease in account receivables of approximately $265.7 million, or 26 percent, due mainly to
        approximately $232.5 million in correction of prior year accounts receivables from U.S. Federal
        Government’s Grants (See Note 4). There was also a decrease in accounts receivables from general and
        governmental customers of approximately $44.8 million. The decrease in accounts receivable from
        general and governmental customers is affected by the increase in the allowance for doubtful accounts
        of approximately $93.5 million. The main cause for the increase in the allowance was the economic
        uncertainty as the effect from the COVID-19 pandemic lockdown resulted in delayed payments from
        its customers. The change in Accounts Receivable from FEMA is the recognition of revenues of $40.9
        million, net of the receipt of $29.2 million in collections.

    •   A decrease in fuel inventory of approximately $53.6 million, or 34 percent. This was mainly due to a
        decrease in the average fuel purchase price, from $74.85 a barrel in fiscal year 2019 to $68.92 a barrel in
        fiscal year 2020. Also, there was an increase of approximately 5 percent in fuel consumption, from $1,404
        million in fiscal year 2019 (18.5 million barrels) to $1,468 million in fiscal year 2020 (20.5 million barrels).




                                                         -7-
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                              Desc:
                            Exhibit J Page 12 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                      Management’s Discussion and Analysis (Unaudited) – (continued)

                                                  June 30, 2020



2020 Compared to 2019 – (continued)

   •   A net decrease in capital assets of approximately $151.1 million, or 2 percent, primarily driven by
       depreciation charges of $350.3 million, net of capital assets additions of $227.8 million, among other
       fluctuations. See Capital Assets and Debt Administration sections of this MD&A.

   •   An increase in deferred outflows of resources of approximately $21.6 million, or 3 percent. This was
       mainly due to the implementation of GASB Statement No. 83, “Certain Asset Retirement Obligations”,
       which increased the Authority’s deferred outflows of resources by approximately $66 million, and to
       the decrease in deferred outflows related to pensions of approximately $54 million. Also, there was a
       decrease in the combined negative fair value of the derivative instruments held by the Authority, by
       approximately $12 million.

   As of June 30, 2020, the Authority’s total liabilities and deferred inflows of resources amounted to
   approximately $18.4 billion, an increase of approximately $1.0 billion (6 percent) over the June 30, 2019
   amount of $17.4 billion. The net increase in total liabilities and deferred inflows of resources is primarily
   due to the net effect of the following:

   •   A net increase of approximately $160.3 million in accounts payable and accrued liabilities, or 12 percent.
       The net increase in accounts payable is directly related to the effects of the COVID-19 pandemic. This
       increase in payables was caused mainly by the emergency declaration and associated lockdown ordered
       by the Governor of Puerto Rico by executive order in March of 2020 and the effect this had on the review
       of supplier invoices, their approval and finally, the issuance of payments. See Note 17.

   •   An increase in accrued interest of approximately $446.9 million, or 38 percent, mainly related to $390.5
       million increase in bond interest payable from approximately $1.1 billion in fiscal year 2019 to
       approximately $1.5 billion in fiscal year 2020; and the increase by approximately $56.1 million in interest
       payable on the Authority’s fuel lines of credit. As disclosed further under the Capital Assets and Debt
       Administration section in this MD&A, pursuant to Title III of the Puerto Rico Oversight, Management,
       and Economic Stability Act (“PROMESA”), interest payments are stayed pending the outcome of the
       Title III Petition (as defined below) and are subject to Authority’s rights in the Title III case. During the
       fiscal year ended June 30, 2020, a total of approximately $87.2 million of interest payments was paid by
       the monoline insurance companies on certain Authority power revenue bonds that they insured (see
       Note 12); however, as the monoline insurers are subrogated to and may, therefore, exercise
       bondholders’ rights and remedies and may be entitled to recovery, the interest paid by the monoline
       insurers continues to be presented as interest due and payable by the Authority, but are subject to
       Authority’s rights in the Title III case.

   •   An increase in net pension liability by approximately $314.9 million, or 7 percent, due mainly to changes
       in actuarial assumptions.


                                                       -8-
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                                  Desc:
                            Exhibit J Page 13 of 131
                                    Puerto Rico Electric Power Authority
                            (A Component Unit of the Commonwealth of Puerto Rico)

                       Management’s Discussion and Analysis (Unaudited) – (continued)

                                                    June 30, 2020



2020 Compared to 2019 – (continued)

    •   An increase in non-current liabilities due to the implementation of GASB Statement No. 83, “Certain
        Asset Retirement Obligations” (“ARO” or “GASB 83”), which required the recording of asset retirement
        obligations of approximately $148.6 million.

    •   A decrease in deferred inflows related to pension benefits of approximately $142.6 million, or 58 percent,
        mainly related to GASB Statement No. 68 pension adjustments of approximately $130.8 million.

    •   An increase in other post-employment pension liability by approximately $20.2 million, or 6 percent,
        due mainly to changes in actuarial assumptions.


The largest portion of the Authority’s net position (deficit) is the deficit of approximately $7.7 billion in
unrestricted net position (deficit). An additional portion of the Authority’s net position (deficit) consists of
$166.8 million in restricted assets and liabilities for capital projects and other. A deficit in restricted net position
occurs when liabilities that relate to restricted assets exceed those assets. The Authority’s net deficit at the end
of fiscal year 2020 increased by approximately $1.2 billion, approximately 15 percent, when compared to its net
deficit at the end of fiscal year 2019. This was mainly due to decreased operating revenues and decreased funds
from the Federal Emergency Management Agency (“FEMA”), explained in more detail below.

Net investment in capital assets consists of capital assets such as land, infrastructure, buildings, equipment,
among others, less any outstanding related debt used to acquire these assets. As of June 30, 2020, net investment
in capital assets was negative $500.5 million. This negative balance increased from a negative balance of
approximately $268.2 million at the end of fiscal year 2019 primarily, as a result of the net decrease in capital
assets during fiscal year 2020 of approximately $151.1 million and the recording of asset retirement obligations
required by GASB 83.




                                        This space is intentionally left in blank




                                                          -9-
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                            Desc:
                            Exhibit J Page 14 of 131
                                    Puerto Rico Electric Power Authority
                            (A Component Unit of the Commonwealth of Puerto Rico)

                       Management’s Discussion and Analysis (Unaudited) – (continued)

                                                   June 30, 2020



The Authority’s condensed statements of revenues, expenses, and changes in net position (deficit) for the fiscal
years ended on June 30, 2020 and 2019, were as follows (2019 figures do not include the effect of the restatement
disclosed in Note 4) (in thousands):

                                                                                 2020              2019

    Revenues:


     Operating revenues                                                     $   3,278,875     $   3,611,664

    Operating expenses:
     Fuel and purchase power                                                    1,969,408         2,089,683
     Maintenance and other operating expenses                                   1,156,169         1,222,198
     Emergency repairs post the Hurricanes                                        286,581            48,926
     Depreciation                                                                 350,259           367,130
     Contribution in lieu of taxes                                                 69,986           169,196


       Total operating expenses                                                 3,832,403         3,897,133

    Non-operating revenues and (expenses):
     Non-operating revenues                                                        54,217           749,156
     Interest and other expenses                                                 (445,574)         (479,465)


       Non-operating revenues and (expenses), net                                (391,357)          269,691
        Loss before capital contributions                                        (944,885)          (15,778)

    Capital contributions                                                           7,538            72,845

       Change in net position (deficit)                                          (937,347)           57,067

    Net position (deficit) at beginning of year                                 (6,804,693)       (6,936,014)
    GASB implementation and correction of error                                   (311,165)           74,254

    Net position (deficit) at beginning of year, as restated                    (7,115,858)       (6,861,760)
    Net position (deficit) at end of year                                   $ (8,053,205)     $ (6,804,693)




                                                        - 10 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23           Desc:
                            Exhibit J Page 15 of 131
                                Puerto Rico Electric Power Authority
                        (A Component Unit of the Commonwealth of Puerto Rico)

                    Management’s Discussion and Analysis (Unaudited) – (continued)

                                            June 30, 2020



2020 Compared to 2019 – (continued)




                                                - 11 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                             Desc:
                            Exhibit J Page 16 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                      Management’s Discussion and Analysis (Unaudited) – (continued)

                                                  June 30, 2020



2020 Compared to 2019 – (continued)

For the fiscal years ended June 30, 2020 and 2019, the Authority’s operating revenues amounted to
approximately $3.3 billion and $3.6 billion, respectively, a decrease of approximately $332.8 million (9 percent).

The decrease in operating revenues is mainly due to the net effect of the following:

    •   A decrease in revenues of approximately $59.2 million resulting from the Puerto Rico Energy Bureau’s
        (“PREB”) approval of a reduction in billing rates for services to clients during the last quarter of fiscal
        year 2020. After the January 2020’s earthquakes, two units of the Costa Sur power plant in Guayanilla
        were significantly damaged and taken out of service. As a result, the Authority covered the shortfall in
        generating capacity by utilizing peaking generation units, which caused an increase in fuel cost. The
        unavailability of these two natural gas lines at Costa Sur impacted the average fuel cost, as these units
        produce a more cost-effective energy source, and they were non-operational during the second half of
        fiscal year 2020. Fuel costs are commonly billed to the Authority’s clients, but these additional costs
        were not passed to the clients given a PREB’s approved order during the last quarter of fiscal year 2020.

    •   A decrease of approximately $100.6 million in revenues due to the elimination on May 1, 2019 of the
        public lighting billings to the municipalities by order of PREB under Act 4-2016- Puerto Rico Electric
        Power Authority Revitalization Act.


    •   Also, on May 1, 2019, the Authority implemented several rider adjustments, related to charges collected
        from its clients during each of the years ended June 2017, 2018, and 2019. This order included, among
        other reconciling charges, the differential between the Provisional Rate of $1.299 cents/kWh approved
        by PREB on June 24, 2016, and the Permanent Rate of $0.9948 cents/kWh that went into effect on May 1,
        2019. These adjustments were recovered/paid by the Authority from/to its general and governmental
        clients during fiscal year 2020. The net effect of this implementation was a reduction in sales revenues
        of approximately $123 million.


    •   A decrease in revenues caused by an increase of approximately $90.8 million in the bad debt expense
        when compared to 2019, directly related to delayed collections from customers due to the COVID-19
        pandemic.

The decrease of $694.9 million in net nonoperating revenues is the net effect of the following:

    •   During fiscal year 2020 and 2019, the Authority entered into voluntary non-exchange transactions with
        and for the receipt of federal grant funds from FEMA after the passage of the Hurricanes Irma and María
        (the “Hurricanes”) in September of 2017 (fiscal year 2018) and after several earthquakes hit Puerto Rico
        during January 2020. Allowable costs were billed for reimbursement based on eligibility requirements,

                                                      - 12 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                         Desc:
                            Exhibit J Page 17 of 131
                                 Puerto Rico Electric Power Authority
                         (A Component Unit of the Commonwealth of Puerto Rico)

                     Management’s Discussion and Analysis (Unaudited) – (continued)

                                                  June 30, 2020



2020 Compared to 2019 – (continued)

       and revenues were recognized once costs were approved. Net revenues from federal grants decreased
       by approximately $631.8 million, or 94 percent, from approximately $672.7 million in fiscal year 2019 to
       approximately $40.9 million in fiscal year 2020.

   •   A reduction of $59.9 million in gains due to the recognition during fiscal year 2019 of a nonrecurring
       gain given a partial settlement with the Public Entity Trust. This gain is composed of the recovery of
       approximately $15.3 million in cash from deposits previously held at the Government Development
       Bank for Puerto Rico (“GDB”) and the charge off approximately $35.8 million and approximately $6.7
       million of outstanding notes and accrued interest payable thereon, respectively, due to the GDB.

The Authority’s operating expenses amounted to approximately $3,832 million and $3,897 million for the fiscal
years ended June 30, 2020, and 2019, respectively, representing a decrease of approximately $64.7 million or 2
percent. The decrease in operating expenses is mainly due to the net effect of the following:

   •   A $50.7 million increase, or 7 percent, in the Authority’s purchased power during fiscal year 2020.
       During the fiscal year ended June 30, 2020, the Authority purchased power was 0.27 M kWh more, when
       compared to the fiscal year ended June 30, 2019. The average cost for fiscal year 2020 was $0.1031 per
       kWh, while for fiscal year 2019, the average cost was $0.1000. The increase in purchased power expense
       was directly related to the increase in the average purchase costs.

   •   A reduction of $99.2 million in contributions in lieu of taxes during fiscal year 2020, a decrease of 59
       percent when compared to fiscal year 2019, resulted from the fact that beginning on May 1, 2019, the
       Authority’s contributions in lieu of taxes obligation no longer takes into account the cost of public
       lighting.




                                      This space is intentionally left in blank




                                                       - 13 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                             Desc:
                            Exhibit J Page 18 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                      Management’s Discussion and Analysis (Unaudited) – (continued)

                                                  June 30, 2020



Capital Assets and Debt Administration

Capital Assets

Capital assets as of June 30, 2020, and 2019, amounted to approximately $7.9 billion and $8.1 billion,
respectively. The Authority’s total capital assets decreased by approximately $151.1 million, or 2 percent, mainly
because of the net effect of capital assets additions of $227.8 million, reduced by $350.3 million in depreciation.

Major capital assets projects undertaken by Authority during the fiscal year ended June 30, 2020, included the
following:

    •   The Authority incurred in restoration activities related to the January 2020’s earthquakes and continued
        repairs of damages caused by the Hurricanes. The Authority incurred costs related to the damages to
        capital assets of approximately $16.1 million, of which approximately $14.6 million were capitalized as
        generation infrastructure and $1.5 million as transmission and distribution. See Note 17.

    •   Capital contributions received during the fiscal year ended June 30, 2020, amounted to approximately
        $7.5 million of which approximately $6.0 million were received from US Army Corps of Engineers
        (“USACE”). The Authority capitalized $8 million of the USACE contributions, received during this and
        prior fiscal years in the areas of transmission and distribution and $2 million were used for operational
        expenses.

    •   The Authority invested $15.9 million in the rehabilitation of units 5 and 6 at the San Juan Combined
        Cycle Power Plant, which included the replacement of critical parts enhancing their useful life. Other
        significant rehabilitation projects included $21.3 million to rehabilitate Central Mayagüez’s turbines,
        boiler improvements at Central Aguirre’s units 1 and 2 and improvements to units 2 and 3 at
        Cambalache.

    •   The Authority invested $21.5 million in rehabilitation and upgrades at Aguirre Combined Cycle Power
        Plant and rehabilitation and other improvements at Costa Sur.

    •   The Authority invested $1.5 million in unit 9 at the San Juan Steam Plant for replacement work of high-
        pressure parts.

    •   The Authority also invested $12.9 million in the acquisition and installation of intelligent residential
        customers meters that capture information about electricity consumption and then automatically
        transmit it back to the Authority. Intelligent meters can provide accurate measurements of electricity
        use while eliminating the need for physical meter reads.




                                                      - 14 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                            Desc:
                            Exhibit J Page 19 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                      Management’s Discussion and Analysis (Unaudited) – (continued)

                                                  June 30, 2020



Capital Assets and Debt Administration – (continued)

Additional information on the Authority’s capital assets can be found in Note 8 to the financial statements.

Debt Administration

As of June 30, 2020 and 2019, the Authority had total outstanding notes and bonds payable of approximately
$9.054 billion and $9.061 billion, respectively. As of the date of the issuance of the financial statements, the
Authority’s uninsured bonds were rated “NR” by Moody’s Investors Service (“Moody’s”), “NR” by Standard
& Poor’s (“S&P”) and “D” by Fitch Ratings (“Fitch”).

During fiscal year 2020, the Authority borrowed an additional $1.6 million under a $27 million revolving line
of credit to finance improvements to the Aguirre Power Complex Water Supply and the San Juan Waste Water
Treatment Plant, with a maturity date of 20 years after the construction completion date and an effective interest
rate of 2% per annum. As of the date of these financial statements, this project’s construction completion date is
estimated to be March 2024; therefore, the estimated maturity date of this borrowing under the line will likely
be around March 2044. The increase in the loan amount resulted from the reimbursement of costs incurred by
the Authority during prior and current fiscal years.

As of June 30, 2019, the Authority had not paid approximately $955 million in principal amount due on its bonds
and notes as of July 1, 2019. As of June 30, 2020, this amount increased to $1.3 billion. As disclosed in Notes 3,
11 and 12, notes and bonds payable, and their respective interest payments, are subject to the Authority’s debt
restructuring pursuant to Title III of PROMESA; and therefore, these payments are stayed and are subject to
Authority’s rights in the Title III case.

During the fiscal year ended June 30, 2020, the monoline insurers of certain of the Authority’s power revenue
bonds paid a total of $139.2 million of principal (see Note 12); however, because the monoline insurers are
subrogated to and, therefore, acquired the rights of the insured bondholders after making such payment, are
subject to Authority’s rights in the Title III case, the amounts paid by the monoline insurers continue to be
presented as due and payable by the Authority.




                                      This space is intentionally left in blank




                                                       - 15 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                              Desc:
                            Exhibit J Page 20 of 131
                                   Puerto Rico Electric Power Authority
                           (A Component Unit of the Commonwealth of Puerto Rico)

                       Management’s Discussion and Analysis (Unaudited) – (continued)

                                                    June 30, 2020



Initial adoption of GASB Statement No. 83 and correction of immaterial error

During the fiscal year ended June 30, 2020, the Authority adopted the provisions of GASB Statement No. 83,
“Certain Asset Retirement Obligations”. This statement addresses accounting and financial reporting for certain
asset retirement obligations. Accordingly, beginning net deficit was restated to retroactively report the
beginning ARO liability and deferred outflows of resources related to asset retirement obligations. (See Note 4).

The Authority also identified a misstatement related to prior year financial statements, which resulted in the
correction of the beginning net deficit of the Authority due to the balance of accounts receivable from U.S.
Federal Government’s Grants. The cumulative effect of the correction and the implementation of the new GASB
is reflected in the accompanying financial statements as an increase in the beginning of year net deficit of
approximately $311.1 million. (See Note 4).

Currently Known Facts or Conditions That May Have a Significant Effect on the Puerto Rico Electric Power
Authority’s Financial Condition or Results of Operations

The Authority’s Governing Board and Management

On June 26, 2017, the Governor signed into law Act No. 37 of 2017 (“Act 37 2017”) changing the composition of
the Authority’s Governing Board (the “Governing Board”). The Governing Board now consist of seven
members, six members of which are designated by the Governor (three of which require Senate approval) and
one member is an elected consumer representative.

PROMESA

On June 30, 2016, the President of the United States signed into law PROMESA. In general terms, PROMESA
seeks to provide the Commonwealth with fiscal and economic discipline through, among other things: (i) the
establishment of the Financial Oversight and Management Board (the “Oversight Board”), whose
responsibilities include, among others, the certification of fiscal plans and budgets for the Commonwealth and
its component units; (ii) a stay of all creditor lawsuits; and (iii) two alternative methods to adjust unsustainable
debt: (a) a voluntary debt modification process under Title VI of PROMESA, which establishes a largely out-
of-court debt restructuring process through which modifications to financial debt can be accepted by a
supermajority of affected creditors; and (b) a quasi-bankruptcy proceeding under Title III of PROMESA, which
establishes an in-court debt restructuring process substantially based upon incorporated provisions of the U.S.
Bankruptcy Code.




                                        This space is intentionally left in blank



                                                         - 16 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                             Desc:
                            Exhibit J Page 21 of 131
                                   Puerto Rico Electric Power Authority
                           (A Component Unit of the Commonwealth of Puerto Rico)

                       Management’s Discussion and Analysis (Unaudited) – (continued)

                                                   June 30, 2020



Currently Known Facts or Conditions That May Have a Significant Effect on the Puerto Rico Electric Power
Authority’s Financial Condition or Results of Operations – (continued)

Key Legislation After the Enactment of PROMESA

Act 2 2017 - FAFAA Enabling Act

Act No. 2 of January 18, 2017, the Puerto Rico Fiscal Agency, and Financial Advisory Authority Act (the
“FAFAA Enabling Act” or “Act 2 2017”) was enacted to repeal and replace the sections under Act No. 21-2016
(the “Moratorium Act”) that created the Fiscal Agency and Financial Advisory Authority (“FAFAA”) and its
powers and responsibilities. Act 2 2017 expanded FAFAA’s powers to provide that FAFAA shall be the only
entity authorized to enter into a creditors’ agreement, and/or renegotiate or restructure the public debt, in whole
or in part, or any other debt issued by any Government body including, but not limited to agencies, boards,
commissions, instrumentalities, public corporations (including the Authority) or applicable political
subdivisions. In addition, FAFAA is the entity in charge of the collaboration, communication, and cooperation
efforts between the Commonwealth and its instrumentalities and the Oversight Board under PROMESA.

Act 5 2017 - Puerto Rico Fiscal Responsibility and Financial Emergency Act

On January 29, 2017, the Governor signed into law Act No. 5 of 2017, known as the Puerto Rico Fiscal
Responsibility and Financial Emergency Act (“Act 5 2017”), which amended and repealed certain other
provisions of the Moratorium Act and established a state of emergency regarding Government finances. Act 5
2017 maintained the moratorium on debt payment existing under the Moratorium Act.

The emergency period under Act 5 2017 was set to expire on May 1, 2017 to coincide with the expiration of the
stay under PROMESA (as discussed above), unless extended by an additional three months by executive order.

On April 30, 2017, the Governor issued executive order OE 2017 031, which extended the Act 5 2017 emergency
period to August 1, 2017. On July 19, 2017, the Legislative Assembly enacted Act No. 46 2017 (“Act 46 2017”),
which further extended the Act 5 2017 emergency period through December 31, 2017. Act 46 2017 allowed the
Governor to sign executive orders to extend the emergency period for successive periods of six months as long
of the Oversight Board remains established for Puerto Rico under PROMESA. The current emergency period
expires on December 31, 2022.

Oversight Board Commencement of Title III Case

As disclosed in Note 3, on July 2, 2017, the Oversight Board filed a petition for relief on behalf of the Authority
under Title III of PROMESA. All the Title III cases of Puerto Rico have been consolidated for procedural
purposes only and are being jointly administered in the United States District Court for the District of Puerto



                                                       - 17 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                                  Desc:
                            Exhibit J Page 22 of 131
                                    Puerto Rico Electric Power Authority
                            (A Component Unit of the Commonwealth of Puerto Rico)

                       Management’s Discussion and Analysis (Unaudited) – (continued)

                                                    June 30, 2020



Currently Known Facts or Conditions That May Have a Significant Effect on the Puerto Rico Electric Power
Authority’s Financial Condition or Results of Operations – (continued)

Rico. Title III of PROMESA incorporates the automatic stay provisions of U.S. Bankruptcy Code, which are
made applicable to the Title III cases pursuant to PROMESA section 301(a).

Act 120 2018 Puerto Rico Electric System Transformation Act

On June 20, 2018, the Governor signed into law Act No. 120 of 2018, known as the Puerto Rico Electric System
Transformation Act (“Act 120 2018”). Act 120-2018 authorized the required legal framework for the
transformation of the Authority via a series of public-private partnerships, to be made in accordance with the
framework set forth in the Public Private Partnership Act of 2009 (the “P3 Act” or “Act 29”). The P3 Act allows
for the sale of Authority assets related to generation and the transfer or delegation of any of the Authority’s
operations, functions, or services. The P3 Act modifies the existing regulatory structure and establishes a
working group to design a new regulatory framework and energy public policy for a private sector-based
energy system. On April 11, 2019, the Governor signed Act 17-2019 to establish, among other things, the
regulatory framework for Puerto Rico’s energy sector and the Authority’s transformation.

Going Concern, Financial Condition, and Liquidity Risk

For a discussion of facts and conditions related to the Authority’s liquidity that will have a significant effect on
the Authority’s financial condition and operations, see Note 3.

The economic and financial condition of the Authority is affected by various legal, financial, social, economic,
environmental, governmental, and political factors. Even after filing for Title III protection, the Authority’s
operational and financial condition has been negatively affected by various business challenges that have been
exacerbated by the Commonwealth’s economic situation, the volatility of oil prices, and the fact that the
Authority did not increase its customers’ rates to levels sufficient to offset the effects of its rising costs until May
2019. Its principal challenges, some of which are interrelated, are: (i) addressing the decline in electric energy
demand; (ii) addressing the volatility of oil costs; (iii) addressing high customer electric power rates; (iv)
reducing government accounts receivable; (v) improving its liquidity; (vi) addressing its bond rating
downgrade; and (vii) addressing the impact on Puerto Rico’s economy and the Authority’s infrastructure after
the passage of the Hurricanes. Refer to Note 17.




                                        This space is intentionally left in blank




                                                         - 18 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                           Desc:
                            Exhibit J Page 23 of 131
                                 Puerto Rico Electric Power Authority
                         (A Component Unit of the Commonwealth of Puerto Rico)

                     Management’s Discussion and Analysis (Unaudited) – (continued)

                                                 June 30, 2020



Currently Known Facts or Conditions That May Have a Significant Effect on the Puerto Rico Electric Power
Authority’s Financial Condition or Results of Operations – (continued)

Subsequent Events

The most significant subsequent events are the following:

       Mediation of the Authority’s Plan of Adjustment

       During the last quarter of fiscal year 2022, the Authority, FAFAA, and the Oversight Board commenced
       mediation with certain Authority stakeholders regarding disputes relating to the Authority’s financial
       obligations, with the intent of developing a consensual plan of adjustment for the Authority. The Title
       III Court has set a deadline of August 15, 2022 for the Oversight Board to file a pleading identifying its
       proposed path forward to efficiently conclude the Authority’s Title III case (the Mediation Termination
       Deadline). The Mediation Termination deadline was subject to multiple extensions, the last one being
       until September 16th, 2022 with an automatic extension through September 30th, 2022. However, on
       September 19, 2022, the mediation team filed its notice and report stating that the mediation had ended
       and informing that no consensus was reached in mediation between the parties, but that a settlement is
       still achievable if the terms and conditions of mediation are revised. Its noteworthy that on September
       19, 2022, the bondholders filed a Motion to Dismiss the Authority’s Title III case or for relief of the
       Automatic Stay.

       On September 20, 2022 the Oversight Board on behalf of the Authority filed a motion requesting the
       Title III court to establish a schedule to continue negotiations during litigation embracing solely the
       fundamental disputes over the claims the plan must restructure. On this same date, the Title III Court
       ordered the mediation team to submit a proposed continued mediation order that identifies an
       appropriate time period for the next phase of mediation and additional provisions necessary to address
       the obstacles that the Mediation Team identified in the Mediation Report. As such, on September 22,
       2022, the mediation team proposed an amended order establishing terms and conditions of mediation
       which proposes a revised schedule for the Mediation that proceeds in parallel with the Court’s schedule
       for the consideration of various litigation issues that had been stayed pending the prior conduct of the
       Mediation. On September 22, 2022, the Title III Court ordered the parties to submit any objections or
       responses to the Mediation Team’s proposed amended terms and conditions. On September 23, 2022
       the Oversight Board filed a response to the proposed mediation amendment agreeing in part and also
       proposing some changes. On September 29th 2022, the Title III Court entered an Order amending the
       terms and conditions of mediation and establishing a new deadline until December 31 st 2022, to
       terminate mediation, with an automatic extension until January 31st 2023. On that same date, the Title
       III court issued an Order directing the Oversight Board to file a proposed plan of adjustment for the
       Authority by December 1st 2022, that it believes could be confirmable, taking into account the litigation
       risk and economic issues that are in dispute, it must also include a disclosure statement and proposed
       confirmation schedule contemplating a June 2023 confirmation hearing.
                                                     - 19 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                           Desc:
                            Exhibit J Page 24 of 131
                                 Puerto Rico Electric Power Authority
                         (A Component Unit of the Commonwealth of Puerto Rico)

                     Management’s Discussion and Analysis (Unaudited) – (continued)

                                                 June 30, 2020




Currently Known Facts or Conditions That May Have a Significant Effect on the Puerto Rico Electric Power
Authority’s Financial Condition or Results of Operations – (continued)

       Subsequent Events – (continued)

       Transformation of the Transmission and Distribution (“T&D”) System (“T&D System”) and Generation
       Assets of the Authority – The T&D transformation procurement process was conducted by the Puerto
       Rico Public Private Partnerships Authority (“P3 Authority”) with the purpose of awarding a long-term
       partnership contract to a qualified operations and maintenance (“O&M”) service provider for the T&D
       System.

       On January 11, 2020, the Partnership Committee selected a preferred proponent, LUMA, LLC
       (“LUMA”), to negotiate final terms of an O&M agreement.

       On January 17, 2020, the Partnership Committee approved the final O&M agreement proposal of
       LUMA, and on April 16, 2020, the Oversight Board approved the agreement.

       On May 15, 2020, the Partnership Committee (the “Partnership Committee”) established by the Puerto
       Rico Public-Private Partnership Authority (the “P3 Authority”) pursuant to Act 120-2018, as amended,
       recommended to the board of directors of the P3 Authority that the contract (the “T&D Contract”) for
       the management, operation, maintenance, repair, restoration, and replacement of the T&D System (the
       “Project”) be awarded to LUMA Energy, LLC (“LUMA”).

       On June 22, 2020, the Governing Board and the Government of Puerto Rico, pursuant to the procedures
       set forth in Act 29, each approved the O&M agreement, and the O&M agreement was signed by the
       parties.

       On June 1, 2021, the transition to LUMA of the responsibility for the management, operation,
       maintenance, repairs, restoration, and replacement of the T&D System took place.

       With regards to the Authority’s power generation operations, the P3 Authority is conducting a
       competitive process to identify, qualify and select one or more private operators to run the Authority’s
       legacy generation assets.

       In September 2020, FEMA approved approximately $9.6 billion in federal grants for approximately $10.5
       billion in total project costs to enable the Authority to repair damage to its electric grid caused by the
       Hurricanes. The federal funding is targeted to repair and replace thousands of miles of transmission
       and distribution lines, electrical substations, power generation systems, and other grid improvements.
       The federal funding is subject to the Authority contributing a 10% cost share.


                                                     - 20 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                            Desc:
                            Exhibit J Page 25 of 131
                                 Puerto Rico Electric Power Authority
                         (A Component Unit of the Commonwealth of Puerto Rico)

                     Management’s Discussion and Analysis (Unaudited) – (continued)

                                                 June 30, 2020




Currently Known Facts or Conditions That May Have a Significant Effect on the Puerto Rico Electric Power
Authority’s Financial Condition or Results of Operations – (continued)

   •   On December 28, 2019, the first of many earthquakes struck the southwestern coast of Puerto Rico. This
       seismic activity caused significant damage in the affected area, including to two units of the Costa Sur
       power plant in Guayanilla. The damaged units provide approximately 25% of the Authority’s baseload
       generation capacity. In August 2020, the first Costa Sur damaged unit was returned to service, and the
       second unit came online in January 2021. As of the date of the issuance of these financial statements, the
       Authority has requested but has not yet received approximately $238.8 million from FEMA and
       approximately $70 million from several insurance companies in respect of damages resulting from the
       January 2020’s earthquakes.

   •   On August 24, 2020, the PREB approved the Authority’s Integrated Resource Plan (“IRP”) which
       includes a directive for the Authority to develop a competitive solicitation process for the procurement
       of 3,750MW of renewable generation and 1,500MW of energy storage resources in support of, among
       other things, achievement of Act 17-2019 targets for renewable energy installations. PREB established a
       schedule for the acquisition by the Authority through request for proposals process of minimum
       quantities of renewable energy and energy storage resources. The schedule is divided in six (6) tranches.
       In the first tranche the Authority had to procure at least 1,000 MW of solar photo voltaic (“PV”) (or other
       energy-equivalent renewable) generation and at least 500 MW (2,000 MWh or equivalent) of battery
       energy storage. Accordingly, on February 22, 2021, the Authority issued Request for Proposal 112648
       for Renewable Energy Generation and Energy Storage Resources Tranche 1 of 6 (“Tranche 1 RFP”)
       soliciting proposals for renewable energy generation, energy storage and virtual power plant resources.
       On December 23, 2021, the Authority informed PREB that it had made offers to counterparties for Solar
       PV projects for an additional capacity of 112.1 MW. The Authority submitted to PREB for its approval
       draft power purchase and operating agreements for the total amount of 844 MW of Solar PV (“Bespoke
       PPOAs”) and 200 MW of energy storage resources. On February 2, 2022, PREB entered an order
       approving the Bespoke PPOAs, and they were approved by the Oversight Board on March 25, 2022. The
       Bespoke PPOAs are now subject to the outcome of integration studies that LUMA is performing. PREB
       has not ruled on the Authority’s request to approve the 200 MW of energy storage resources. The storage
       contracts are also subject to approval by the Oversight Board and the outcome of integration studies
       that LUMA is performing.

   •   On October 30, 2020, Whitefish Energy Holdings, LLC (“Whitefish”) filed a motion for administrative
       expense priority of its over $150 million in claims in the Title III cases. The motion requested allowance
       of an administrative expense claim based on services rendered to the Authority consisting of repairs in
       the aftermath of the Hurricanes. On March 1, 2022, the Oversight Board filed a motion on behalf of the
       Authority to approve a settlement with Whitefish. On March 21, 2022, the Title III Court issued an order
       approving such settlement.


                                                     - 21 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                        Desc:
                            Exhibit J Page 26 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                     Management’s Discussion and Analysis (Unaudited) – (continued)

                                                June 30, 2020



Currently Known Facts or Conditions That May Have a Significant Effect on the Puerto Rico Electric Power
Authority’s Financial Condition or Results of Operations – (continued)

   •   On January 18, 2022, the Title III Court entered an order approving the Commonwealth’ Plan of
       Adjustment (“POA"). The POA reduces Commonwealth bond and other debt by 80% and saves Puerto
       Rico more than $50 billion in future debt service payments. On January 27, 2022, the Oversight Board
       certified a new fiscal plan of the Commonwealth which reflects the POA, recent increases in federal
       funding, and Puerto Rico’s economic recovery. The Oversight Board also certified on February 22, 2022,
       a revised budget for the Commonwealth which includes the new debt payments. The POA became
       effective on March 15, 2022.

   •   On September 18, 2022, Hurricane Fiona made landfall in Puerto Rico by the municipality of Cabo Rojo.
       Hurricane Fiona reached Puerto Rico as a Category 1 hurricane with winds of 85 mph and gusts of up
       to 103 mph. Despite the strong winds, most of the damage throughout the Island was caused by the
       heavy rains. Hurricane Fiona caused a general blackout throughout Puerto Rico, due to the damages
       caused to the electric power system. As of the date of these financial statements, the Authority and
       LUMA, are still assessing the damages.

For a more detailed discussion of these and other subsequent events that may have a significant effect on the
Authority’s financial condition and operations, see Note 20 to the financial statements.

Request for Information

Questions concerning any of the information provided in this report or requests for additional financial
information should be addressed to the Authority’s Chief Financial Officer. The executive offices of the
Authority are located at 1110 Ponce de León Avenue, San Juan, Puerto Rico 00907. Other financial information
can be obtained from the Authority’s official web page www.aeepr.com.




                                                    - 22 -
 Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23               Desc:
                           Exhibit J Page 27 of 131

                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                                       Statement of Net Position (Deficit)
                                                (In thousands)
                                                 June 30, 2020

                                    Assets and Deferred Outflows of Resources

Current assets:
  Cash and cash equivalents                                                       $       435,603
  Accounts receivable, net                                                                634,613
  Accounts receivable from insurance companies and FEMA, net                              134,355
  Fuel inventory                                                                          102,886
  Materials and supplies                                                                  207,931
  Prepayments and other assets                                                              1,049


       Total current assets                                                             1,516,437


Non-current assets:
  Accounts
  Restricted receivable fromequivalents
             cash and cash   insurance companies and FEMA, net                            163,303
  Restricted investments                                                                   21,311
  Depreciable capital assets, net                                                       7,428,816
  Non-depreciable capital assets                                                          488,450


       Total non-current assets                                                         8,101,880


         Total assets                                                                   9,618,317


Deferred outflows of resources:
  Related to pensions                                                                     588,385
  Related to OPEB                                                                          21,519
  Related to asset retirement obligation                                                   66,023
  Related to debt refunding                                                                23,241
  Related to derivative instruments                                                        53,902


       Total deferred outflows of resources                                               753,070


         Total assets and deferred outflows of resources                          $ 10,371,387


                                                                                      (Continued)




                                                      - 23 -
    Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                              Desc:
                              Exhibit J Page 28 of 131

                                          Puerto Rico Electric Power Authority
                               (A Component Unit of the Commonwealth of Puerto Rico)


                                    Statement of Net Position (Deficit) - (continued)
                                                     (In thousands)
                                                      June 30, 2020


                           Liabilities, Deferred Inflows of Resources and Net Position (Deficit)

Current liabilities:
  Accounts payable and accrued liabilities                                                         $    1,522,225
  Current portion of bonds payable                                                                      1,666,169
  Current portion of notes payable                                                                       696,652
  Accrued interest                                                                                      1,634,466
  Customer deposits                                                                                      108,046
  Compensated absences                                                                                    19,030
  Unearned revenues                                                                                         9,408

       Total current liabilities                                                                        5,655,996


Non-current liabilities:
  Compensated absences                                                                                    17,424
  Customer deposits and others                                                                           212,266
  Unearned revenues                                                                                         1,035
  Notes payable                                                                                           27,069
  Loan payable                                                                                               451
  Bonds payable                                                                                         6,664,562
  Other post-employment benefits liability                                                                368,248
  Claims and judgments                                                                                   288,231
  Asset retirement obligation                                                                            148,593
  Fair value of derivative instruments                                                                    53,902
  Net pension liability                                                                                 4,882,261

       Total non-current liabilities                                                                   12,664,042

       Total liabilities                                                                               18,320,038


Deferred inflows of resources:
  Related to pension                                                                                      91,666
  Related to OPEB                                                                                         12,888

         Total deferred inflows of resources                                                             104,554


Net position (deficit):
  Net investment in capital assets                                                                       (500,522)
  Restricted                                                                                             166,782
  Unrestricted                                                                                         (7,719,465)

       Total net position (deficit)                                                                    (8,053,205)


       Total liabilities, deferred inflows of resources and net position                           $   10,371,387

The accompanying notes are an integral part of these financial statements

                                                           - 24 -
Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                              Desc:
                          Exhibit J Page 29 of 131

                                         Puerto Rico Electric Power Authority
                           (A Component Unit of the Commonwealth of Puerto Rico)


                    Statement of Revenues, Expenses, and Changes in Net Position (Deficit)
                                                    (In thousands)


                                         For the fiscal year ended June 30, 2020


Operating revenues
  Electric services
       Residential and Commercial                                                            $   2,930,540
       Government                                                                                  529,463
       Other                                                                                       (60,330)
       Bad Debt Expense                                                                           (138,713)
  Telecommunications                                                                                14,096
  Irrigation                                                                                         3,819
       Total operating revenues                                                                  3,278,875


Operating expenses:
  Fuel                                                                                           1,236,488
  Purchased power                                                                                  732,920
  Depreciation                                                                                     350,259
  Maintenance                                                                                      268,110
  Administrative and general                                                                       297,978
  Transmission and distribution                                                                    287,445
  Customer accounting and collection                                                               190,550
  Other production                                                                                 108,164
  Asset retirement obligation expense                                                                3,922
  Emergency repairs post Hurricane María                                                           286,581
  Contribution in lieu of taxes                                                                     69,986


       Total operating expenses                                                                  3,832,403


       Operating loss                                                                             (553,528)

Non-operating revenues and (expenses), net:
  Grants from U.S. Federal Government, net of allowance                                             40,895
  Interest income and other                                                                         13,322
  Interest expense and other                                                                      (445,574)


       Total nonoperating revenues and (expenses), net                                            (391,357)


Loss before capital contributions                                                                 (944,885)


Capital contributions                                                                                7,538

Change in net position (deficit)                                                                  (937,347)


Net position (deficit), at beginning of year, as restated (See Note 4)                           (7,115,858)


Net position (deficit), at end of year                                                       $   (8,053,205)

The accompanying notes are an integral part of these financial statements




                                                         - 25 -
Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                        Desc:
                          Exhibit J Page 30 of 131

                                     Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)


                                             Statement of Cash Flows
                                                 (In thousands)
                                     For the fiscal year ended June 30, 2020


  Cash flows from operating activities:
      Cash received from customers                                                    $   3,328,692
      Cash paid to suppliers                                                              (2,520,223)
      Cash paid to employees                                                               (435,644)
      Cash paid to customers                                                                (18,498)
      Cash received from insurance companies                                                 74,375

            Net cash flows provided by operating activities                                 428,702

  Cash flows from noncapital financing activities:
      Proceeds received from U.S. Federal Government                                         29,207
      Expenses paid and claimed to insurance companies                                           (93)
      Proceeds from notes payable                                                             1,611
      Principal paid on notes payable                                                          (660)

            Net cash flows provided for noncapital financing activities                      30,065


  Cash flows from capital and related financing activities:
      Construction expenditures                                                            (258,073)
      Proceeds received from contributed capital                                                846
      Interest received from Loan Payable under Paycheck Protection Program                     451
      Interests paid                                                                           (758)
      Power revenue bonds:                                                                         -
         Proceeds from insurance companies to pay insured revenue bonds                     139,165
         Principal paid on insured revenue bonds maturities                                (139,165)
         Proceeds from insurance companies to pay interest on insured revenue bonds          87,243
         Interest paid on insured revenue bonds                                             (87,243)

            Net cash flows used for capital and related financing activities               (257,534)
  Cash flow from investing activities:
  Investment in Certificates of Deposits                                                    (21,311)


         Net cash flows used by investing activities                                        (21,311)

  Net decrease in cash and cash equivalents                                                 179,922
  Cash and cash equivalents at beginning of year                                            418,984

  Cash and cash equivalents at end of year                                            $     598,906


  Cash and cash equivalents:
      Unrestricted                                                                    $     435,603
      Restricted                                                                            163,303

                                                                                      $     598,906




                                                       - 26 -
Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                Desc:
                          Exhibit J Page 31 of 131

                               Puerto Rico Electric Power Authority
                       (A Component Unit of the Commonwealth of Puerto Rico)

                                  Statement of Cash Flows - (continued)
                                              (In thousands)
                                  For the fiscal year ended June 30, 2020

 Reconciliation of operating loss to net cash provided
 by operating activities:
   Operating loss                                                              $   (553,528)
   Adjustments to reconcile operating loss to net cash
   provided by operating activities:
     Depreciation                                                                  350,259
     Provision for uncollectible accounts and others                               138,713
     Asset retirement obligation expense                                              3,921
     Other miscellaneous                                                            28,672
    Changes in operating assets and liabilities:                                          -
      Receivables                                                                   (80,391)
      Fuel inventory                                                                 53,574
      Materials and supplies                                                          1,711
      Prepayments and other assets                                                    7,777
      Deferred outflows of resources                                                51,583
      Accounts payable and other accrued liabilities                               199,384
      Net pension liability                                                        314,940
      Customer deposits and others                                                  14,884
      Other post-employment benefits liability                                      20,153
      Claims and judgement                                                          11,564
      Compensated absences to be liquidated after one year                            6,188
      Deferred inflow of resources                                                 (142,639)
      Unearned revenues                                                               1,937
        Total adjustments                                                          982,230

       Net cash flows provided by operating activities                         $   428,702

 Supplemental cash flows information:
 Noncash transactions:
  Capital contributions                                                        $      6,692
   Contributions in lieu of taxes, billings and offset effect                  $    (69,986)
   Change in fair value of derivative instruments                              $    (12,562)
   Changes in deferred loss resulting from debt refunding                      $      5,440
   Unpaid construction expenditures                                            $   348,850




The accompanying notes are an integral part of these financial statements




                                                    - 27 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                              Desc:
                            Exhibit J Page 32 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                                       Notes to the Financial Statements

                                     For the fiscal year ended June 30, 2020



Note 1 -   Organization

           The Puerto Rico Electric Power Authority (the “Authority”) is a public corporation and component
           unit of the Commonwealth of Puerto Rico (the “Commonwealth”) created on May 2, 1941, pursuant
           to Act No. 83, as amended (the “Act”). The Authority produces, buys, transmits, and distributes,
           substantially, all of the electric power consumed in Puerto Rico. The Authority has broad powers
           including, among others, to issue bonds for any of its corporate purposes, subject to the limitations
           set forth in a Trust Agreement, dated as of January 1, 1974, as amended (the “1974 Agreement”). As
           a public corporation and an instrumentality of the Commonwealth, the Authority is exempt from
           the payment of income, property, municipal, and federal taxes.

           On May 27, 2014, the Commonwealth approved Act No. 57 (“Act 57-2014”), which authorizes the
           Puerto Rico Energy Bureau (the “PREB”) (then known as the Puerto Rico Energy Commission) to
           approve electric rates proposed by the Authority, among other matters. On February 16, 2016, the
           Commonwealth approved Act No. 4, also known as the Puerto Rico Electric Power Authority
           Revitalization Act (“Act No. 4”), which modifies the regulatory framework to establish electric rates
           and code of conduct matters and establishes a legal and judiciary framework for the restructuring
           of the Authority’s debt. Act No. 4 also created the Puerto Rico Electric Power Authority
           Revitalization Corporation (“CRAEE”, for its Spanish acronym). The newly created, special purpose
           entity has the power to issue securitization bonds to restructure at a discount the Authority’s
           outstanding long-term debt. Among other activities, as defined by Act No. 4, CRAEE also has the
           power to present before the PREB a proposed restructuring resolution that creates restructuring
           property and provides for the collection of transition charges to repay the bonds and to cover other
           related costs.

           As discussed in Notes 3 and 19, on July 2, 2017, the Financial Oversight and Management Board (the
           “Oversight Board”) filed a petition under Title III of the Puerto Rico Oversight, Management, and
           Economic Stability Act (“PROMESA”) in the United States District Court for the District of Puerto
           Rico (the “Title III Court”), commencing a Title III case for the Authority (the “Title III Petition”) to
           restructure the Authority’s debt and other liabilities. The Title III Petition for relief is under
           evaluation by the Court. The accompanying basic financial statements do not include any
           adjustments that might result from the outcome of the Title III Petition.




                                      This space is intentionally left in blank




                                                       - 28 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                          Desc:
                            Exhibit J Page 33 of 131
                                 Puerto Rico Electric Power Authority
                         (A Component Unit of the Commonwealth of Puerto Rico)

                                      Notes to the Financial Statements

                                    For the fiscal year ended June 30, 2020



Note 2 -   Summary of Significant Accounting Policies

           The following is a summary of the most significant accounting policies followed by the Authority
           in preparing its financial statements:

           Basis of Accounting

           The financial statements are presented as an enterprise entity using the economic resources
           measurement focus and the accrual basis of accounting, in accordance with the accounting
           principles generally accepted in the United States of America (“GAAP”) for governments as
           prescribed by the Governmental Accounting Standards Board (“GASB”). Accordingly, revenues are
           recognized when earned and expenses when incurred, regardless of when cash is received or paid.
           The Authority conducts its activities in a manner similar to private business enterprises; the intent
           is that costs of providing goods or services to the general public on a continuing basis be financed
           or recovered primarily through user charges.

           Reporting Entity

           The financial statements of the Authority include, as a blended component unit, the financial
           position and operations of PREPA Holdings, LLC (“PREPA Holdings”), a wholly-owned
           subsidiary, created as a holding company for PREPA Networks, LLC (now HUB Advanced
           Networks, LLC) (“PREPA Net”), InterAmerican Energy Sources, LLC, Consolidated Telecom of
           Puerto Rico, LLC. And International Network Operations, LLC. These entities are included as part
           of the reporting entity of PREPA Holdings. The basis for the blended presentation is that PREPA
           Holdings, created by the Authority’s Governing Board pursuant to Resolution No. 3661 adopted on
           October 16, 2009, is a single-member, limited liability company, and the Authority is the sole
           member with shared management representatives.




                                     This space is intentionally left in blank




                                                      - 29 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                     Desc:
                            Exhibit J Page 34 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                                       Notes to the Financial Statements

                                     For the fiscal year ended June 30, 2020



Note 2 -   Summary of Significant Accounting Policies – (continued)

           Reporting Entity – (continued)

           Condensed financial information for PREPA Holdings as of and for the fiscal year ended June 30,
           2020 is as follows (in thousands):

           Statement of net position:
            Total assets:
              Current assets                                                           $    9,382
              Non‑current assets                                                              979
              Capital assets, net of depreciation                                          48,715
                 Total assets                                                          $   59,076
           Liabilities:
            Current liabilities                                                        $    4,225
             Non‑current liabilities                                                       28,783
                 Total liabilities                                                         33,008


           Net position
            Net investment in capital assets                                               34,733
            Unrestricted (deficit)                                                         (8,665)
           Net position                                                                $   26,068




                                      This space is intentionally left in blank




                                                       - 30 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                         Desc:
                            Exhibit J Page 35 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                                        Notes to the Financial Statements

                                     For the fiscal year ended June 30, 2020



Note 2 -   Summary of Significant Accounting Policies – (continued)

           Reporting Entity – (continued)

           Statement of revenues, expenses and changes in net position:
             Operating revenues                                                            $ 14,095
              Operating expenses                                                             (12,960)
              Operating loss                                                                   1,135

            Non‑operating expenses                                                               (274)

           Change in net position                                                                861

           Net position, beginning balance                                                     25,207

           Net position, ending balance                                                    $ 26,068

           Statement of cash flows:
             Net cash provided by operating activities                                     $    3,562
             Net cash used in capital and related financing activities                         (2,788)
             Net cash provided from investing activities                                        1,331

           Net increase in cash                                                                 2,105
           Cash, at beginning of year                                                           4,837

           Cash, at end of year                                                            $    6,942

           Complete, separately issued, audited financial statements of PREPA Holdings can be obtained at:
           Condominium Aquablue at the Golden Mile, Commercial Building Fourth Floor, 48 Muñoz Rivera
           Avenue, San Juan, Puerto Rico, 00918.

           Estimates

           The preparation of the basic financial statements requires management to make estimates and
           assumptions that affect the reported amounts of assets and liabilities and disclosure of contingent
           assets and liabilities at the date of the basic financial statements and the reported amounts of
           revenue and expenses during the reporting period. Actual results could differ from those estimates.




                                                        - 31 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                           Desc:
                            Exhibit J Page 36 of 131
                                 Puerto Rico Electric Power Authority
                         (A Component Unit of the Commonwealth of Puerto Rico)

                                      Notes to the Financial Statements

                                    For the fiscal year ended June 30, 2020



Note 2 -   Summary of Significant Accounting Policies – (continued)

           Cash and Cash Equivalents (including Restricted)

           Cash and cash equivalents include cash on hand, deposits in the commercial bank accounts, money
           markets investments, certificates of deposits, and instruments with original maturities of three
           months or less.

           Restricted cash, and cash equivalents are amounts set aside for construction, debt service payments
           or other specific purposes that are limited to the purposes specified in the applicable agreements.
           (See Note 7).

           Restricted investments

           Restricted investments include certificates of deposits with original maturities of six months, set
           aside for construction and other specific purposes as delimited by the applicable agreements. (See
           Note 7).

           Accounts receivable

           Accounts receivable consist of monthly or bi-monthly billings for electric service rendered to
           customers based on meter reads and the accrual of revenues for electric service rendered to
           customers not billed at applicable month-end. The Authority accrues unbilled revenues based on an
           average of unbilled consumption by customer.

           Accounts receivable are stated net of estimated allowances for uncollectible amounts, which are
           determined, after considering the likelihood of subsequent collections and current economic
           conditions, among other factors. The Authority establishes a general or specific allowance for each
           group of customers (i.e., residential, commercial, industrial, and governmental). Because of
           uncertainties inherent in the estimation process, management’s estimate of credit losses in the
           existing accounts receivable and related allowance may change in the future.

           The Authority has significant accounts receivable from the Commonwealth, its components units,
           and municipalities. There is uncertainty regarding to the collection of such receivables due to the
           financial challenges that these entities are facing. The Authority has considered this in its estimate
           of the specific governmental allowance for uncollectible accounts.

           Fuel Inventory

           Fuel inventory represents the value of low sulfur and other liquid fuel that the Authority had on
           hand at fiscal year-end in order to meet the demand requirements of its generating stations. Fuel
                                                     - 32 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                              Desc:
                            Exhibit J Page 37 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                                       Notes to the Financial Statements

                                     For the fiscal year ended June 30, 2020



Note 2 -   Summary of Significant Accounting Policies – (continued)

           inventory is valued using the weighted average cost method. At the time of consumption, an
           expense is recorded at the weighted average cost.

           Materials and Supplies Inventory

           The materials and supplies inventory support the operations and maintenance of the generation,
           transmission and distribution assets. The inventory is accounted for on an average cost basis of
           accounting. As of June 30, 2020, a reserve of approximately $48 million for obsolete inventory is
           included as part of materials and supplies in the accompanying statement of net position (deficit).

           Capital Assets

           Capital Assets are carried at cost, which includes labor, material, services and overhead. Capital
           expenditures of approximately $1,200 or more and a useful life beyond one year are capitalized at
           cost at the date of acquisition. Maintenance, repairs, and the cost of renewals of minor items of
           property units are charged to operating expenses. Composite depreciation assumes that all assets
           are retired at the end of their useful lives, and therefore no gain or loss is recognized upon
           retirement. The cost of the retired assets is removed from both the capital asset account and the
           accumulated depreciation account.

           Capital contributions consist principally of infrastructure assets that are constructed by private
           entities, for residential, commercial, or industrial projects, that are transferred upon completion of
           the projects, for the Authority to connect the facilities to the electric grid. Capital assets donated by
           related parties (i.e., the Commonwealth or other component units of the Commonwealth) are
           recorded at the carrying value existing in the transferor’s records. For the fiscal year ended June 30,
           2020, the Authority received approximately $7.5 million in capital contributions, of which
           approximately $6 million were received from the U.S. Army Corps of Engineers (“USACE”). See
           Note 17.

           Impairment of Capital Assets

           The Authority evaluates significant events or changes in circumstances that may affect its capital
           assets to determine whether impairment of a capital asset occurred. Such events may include
           evidence of physical damage, enactment or approval of laws or regulations, changes in
           environmental factors, technological changes or evidence of obsolescence, changes in the manner or
           duration of use of a capital asset, and construction stoppage, among others, that results in the
           significant and unexpected decline of the asset’s service utility or capacity. Impaired capital assets
           that the Authority will no longer use, are reported at the lower of carrying value or fair value, less
           cost of disposition.
                                                      - 33 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                           Desc:
                            Exhibit J Page 38 of 131
                                 Puerto Rico Electric Power Authority
                         (A Component Unit of the Commonwealth of Puerto Rico)

                                      Notes to the Financial Statements

                                    For the fiscal year ended June 30, 2020



Note 2 -   Summary of Significant Accounting Policies – (continued)

           Impairment of Capital Assets – (continued)

           The Authority follows GASB Statement No. 42, “Accounting and Financial Reporting for Impairment of
           Capital Assets and Insurance Recoveries”. This statement establishes that restoration or replacement
           of an impaired capital asset is reported as a separate transaction from the impairment loss and
           associated insurance recovery. Impairment losses are reported net of the associated insurance
           recovery when the recovery and loss occur in the same year; subsequent years’ recoveries are
           reported as nonoperating revenue. Insurance recoveries are recognized when realized or realizable
           as a reduction to the corresponding loss. For the fiscal year ended June 30, 2020, the Authority did
           not report impairment losses on its capital assets.

           Depreciation and Amortization

           The Authority uses the composite depreciation method for all capital assets. Depreciation expense
           for plant in service results from the application of rates determined by age life studies of assets in
           service. The rates are applied to groups of depreciable properties. Effective November 11, 2021, the
           Authority revised its depreciation rates to reflect the adjusted remaining net book value and useful
           lives of the plant assets resulting in an average composite depreciation rate of approximately 2.90%
           for June 30, 2020.

           Separately, capital lease assets and leasehold improvements are being amortized over the lesser of
           the life of the assets or the term of the lease, using the straight-line method.

           The following are the estimated useful lives by category as determined by the depreciation study:

                                                                     Useful Life
                                        Category                      (in years)

                        Production                                     20 to 80
                        Distribution                                   10 to 50
                        Transmission                                   20 to 55
                        General and administrative                     10 to 40
                        Fiber network                                   5 to 23
                        Irrigation systems                            14 to 100




                                                     - 34 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                            Desc:
                            Exhibit J Page 39 of 131
                                 Puerto Rico Electric Power Authority
                         (A Component Unit of the Commonwealth of Puerto Rico)

                                       Notes to the Financial Statements

                                    For the fiscal year ended June 30, 2020



Note 2 -   Summary of Significant Accounting Policies – (continued)

           Deferred Outflows/Inflows of Resources

           Deferred outflows of resources represent a consumption of net position that applies to a future
           period and so will not be recognized as an outflow of resources (expense) until then. The Authority
           has the following deferred outflows of resources:

               •   Difference between expected and actual experience, changes in assumptions and the
                   Authority’s contribution subsequent to the measurement date for both the pension plan and
                   other post-employment benefits (“OPEB”).

               •   Unamortized deferred loss from debt refunding.

               •   Accumulated decrease in the fair value of hedging derivatives instruments.

               •   For asset retirement obligations, measured at the amount of the corresponding liability.

           Deferred inflows of resources represent inflows of resources during a fiscal year related to future
           periods. The Authority has the following deferred inflows of resources:

               •   Difference between expected and actual experience and changes in assumptions for both the
                   pension plan and OPEB.

               •   Net difference between projected and actual earnings on pension plan investments.

           Debt Issuance Premiums and Discounts

           Debt issuance costs are recorded as expenses when they are incurred. Premium and discounts in the
           issuance of bonds are deferred and amortized using the straight-line method, which approximates
           the interest method, over the term of the related bonds. Bonds payable are reported net of applicable
           amortized bond premium or discount.

           Customer Deposits and Other

           The Authority requires deposits from its customers before an electric service connection is activated.
           Deposits are recorded as a liability in the statement of net position, until termination of service. At
           the moment of termination or cancellation of the electric service, any corresponding deposit is
           applied to the account outstanding balance.



                                                     - 35 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                          Desc:
                            Exhibit J Page 40 of 131
                                 Puerto Rico Electric Power Authority
                         (A Component Unit of the Commonwealth of Puerto Rico)

                                      Notes to the Financial Statements

                                    For the fiscal year ended June 30, 2020



Note 2 -   Summary of Significant Accounting Policies – (continued)

           Customer Deposits and Other – (continued)

           Any excess between outstanding balance and deposit is refunded to the customer. In addition,
           customer overpayments are recorded as a liability in the statement of net position if the
           overpayments cannot be netted against other customer receivables. As of June 30, 2020, the customer
           deposits and customer overpayments of approximately $229 million and $80.5 million are presented
           as liabilities in the statement of net position.

           Compensated Absences

           Employees earn vacation leave at the rate of 15 days per year up to a maximum permissible
           accumulation of 60 days for union employees and management personnel.

           Vested accumulated vacation benefits to employees are accrued by the Authority as a liability and
           as an expense. The amount of accrued vacation that is expected to be paid in the next twelve months
           is classified as current, while amounts expected to be paid after twelve months are classified as
           noncurrent liabilities. See Note 10.

           Employees accumulate sick leave at the rate of 18 days per year up to a maximum permissible
           accumulation of 90 days. Annual sick leave accumulation is limited to 12 days for new hires after
           February 3, 2017, as per Act 8-2017. However, this benefit is not accrued in liabilities because the
           law does not allow for liquidation of accrued sick leave upon separation from employment.

           Unearned Revenue

           Unearned revenue represents a liability that is created when monies are received for services not
           yet provided. Revenue will be recognized, and the unearned revenue liability eliminated, when the
           services are rendered. Cash contributions from clients for specific construction projects and prepaid
           amounts received related to fiber optic communication network not yet amortized are included as
           part of the Authority’s unearned revenues.

           Pensions

           The Authority accounts for pension costs under the provisions of GASB Statement No. 68,
           “Accounting and Financial Reporting for Pensions”, and GASB Statement No. 71, “Pension Transitions
           for Contributions Made Subsequent to the Measurement Date”.




                                                     - 36 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                             Desc:
                            Exhibit J Page 41 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                                       Notes to the Financial Statements

                                    For the fiscal year ended June 30, 2020



Note 2 -   Summary of Significant Accounting Policies – (continued)

           Pensions – (continued)

           The Authority recognizes a net pension liability, which represents the excess of the total pension
           liability over the fiduciary net position of the pension plan, as reflected in the financial statements
           of the pension plan. The net pension liability is measured as of the beginning of the Authority’s
           fiscal year. Changes in the net pension liability are recorded as pension expense or as deferred
           inflows of resources or deferred outflows of resources, depending on the nature of the change. Refer
           to Note 13.

           Other Post-Employment Benefits (OPEB)

           The Authority accounts for other post-employment benefits, (“OPEB”) in accordance with GASB
           Statement No. 75, “Accounting and Financial Reporting for Postemployment Benefits Other Than
           Pensions”. The Authority’s retired employees are eligible to participate in a single-employer,
           defined benefit, healthcare plan called the Authority Retired Employees Healthcare Plan (the OPEB
           Plan), where no assets are accumulated in a trust that meets the criteria in paragraph 4 of GASB
           Statement No. 75; therefore, funding is made on a pay-as-you-go basis. Refer to Note 13.

           Claims and Judgments

           The estimated amount of the liability for claims and judgments is based on the Authority’s
           evaluation of the probability of an unfavorable outcome in the applicable litigation. The Authority
           consults with legal counsel in order to determine whether an unfavorable outcome is expected.
           Because of uncertainties inherent in the estimation process, management’s estimate of the liability
           for claims and judgments may change in the future. However, most legal claims are currently stayed
           because of the filing of the Title III Petition.

           Pollution Remediation Obligation

           The Authority accrues pollution remediation obligations (“PRO”) under GASB No. 49, “Accounting
           and Financial Reporting for Pollution Remediation Obligations”, which requires that the liability should
           be recorded at the current value of the costs the Authority expects to incur to perform the work.
           Estimated remediation costs are subject to change over time and are revised for updated technology,
           changes in potential responsible parties, results of environmental studies, changes in statutes or
           regulations, and other factors.




                                                      - 37 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                             Desc:
                            Exhibit J Page 42 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                                       Notes to the Financial Statements

                                    For the fiscal year ended June 30, 2020



Note 2 -   Summary of Significant Accounting Policies – (continued)

           Asset Retirement Obligations

           Effective July 1, 2019, the Authority accrues asset retirement obligations (“ARO”) under GASB No.
           83, “Accounting and Financial Reporting for Certain Asset Retirement Obligations”, which requires that
           a government that has legal obligations to perform future asset retirement activities related to its
           tangible capital assets recognize a liability and a deferred outflow of resources for such obligations.
           The measurement of such liability is based in the best estimate of the current value of outlays
           expected to be incurred at the end of the current reporting period.

           Fair Value Measurements

           GASB Statement No. 72, “Fair Value Measurement and Application”, establishes general principles for
           measuring fair value and standards of accounting and financial reporting for assets and liabilities
           measured at fair value. Fair value is the price that would be received upon the sale of an asset or
           paid to transfer a liability in an orderly transaction between market participants at the measurement
           date. Fair value is a market-based measurement, not an entity specific measurement. For some assets
           and liabilities, observable market transactions or market information might be available; for others,
           it might not be available.

           The fair value hierarchy categorizes the inputs to valuation techniques used to measure fair value
           into three levels as described below:

           Level 1 – measurements that use quoted prices (unadjusted) for identical assets or liabilities in active
                     markets that the Authority has the ability to access at the measurement date.

           Level 2 – measurements (other than quoted prices included within Level 1) that are observable for
                     an asset or liability, either directly or indirectly.

           Level 3 – measurements that use unobservable inputs for an asset or liability. In some valuations,
                     the inputs used may fall into different levels of hierarchy. In these cases, the financial
                     instrument’s level within the fair value hierarchy is based on the lowest level of input that
                     is significant to the fair value measurement.

           See Note 12 for further discussion of the Authority’s fair value of its interest rate swap agreements.
           The Authority measures at fair value its interest rate swap agreements. Donated capital assets are
           recorded at acquisition value at time of donation.




                                                      - 38 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                            Desc:
                            Exhibit J Page 43 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                                       Notes to the Financial Statements

                                    For the fiscal year ended June 30, 2020



Note 2 -   Summary of Significant Accounting Policies – (continued)

           Net Position

           The Authority classifies its net position as follows:

           Net investment in capital assets – This component of net position consists of capital assets net of
           accumulated depreciation, reduced by the outstanding balances of bonds, notes or other borrowings
           attributable to the acquisition, construction, or improvement of those assets, including related
           deferred outflows.

           Restricted net position – Consists primarily of cash restricted for construction purposes, net of its
           related debt or commitments to pay.

           Unrestricted net position – Consists of the net amount of the assets, deferred outflows of resources,
           liabilities, and deferred inflows of resources that are not included in the determination of net
           investment in capital assets or the restricted component of net position, as defined above.

           When both restricted and unrestricted resources are available for a specific use, it is the Authority’s
           policy to use restricted resources first, then unrestricted resources, as they are needed. However,
           after the Oversight Board filed the Title III Petition on July 2, 2017, the Authority stopped
           withdrawing funds from its restricted resources.

           Classification of Operating and Nonoperating Revenues and Expenses

           Operating revenues include activities that have the characteristics of an exchange transaction, such
           as electric services. Operating expenses also include activities that have the characteristics of an
           exchange transaction, such as employee salaries, benefits, and related expense, utilities, supplies,
           and other services.

           Other revenues include charges related to administrative fines or penalties, irregularities in electric
           energy consumption and late payment penalties.

           Nonoperating revenues include activities that have the characteristics of nonexchange transactions,
           such as federal grants. For the fiscal year ended June 30, 2020, the Authority received federal grants
           from the Federal Emergency Management Agency (“FEMA”) in aid for damage to the Authority’s
           assets caused by Hurricanes Irma and María (the “Hurricanes”), and from an agreement with Puerto
           Rico Infrastructure Financing Authority for environmental and related repair works. The Authority
           has applied the provisions of GASB Statement No. 33, "Accounting and Financial Reporting for
           Nonexchange Transactions", to account for these grants. GASB Statement No. 33 allows revenues to


                                                      - 39 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                            Desc:
                            Exhibit J Page 44 of 131
                                 Puerto Rico Electric Power Authority
                         (A Component Unit of the Commonwealth of Puerto Rico)

                                       Notes to the Financial Statements

                                    For the fiscal year ended June 30, 2020



Note 2 -   Summary of Significant Accounting Policies – (continued)

           Classification of Operating and Nonoperating Revenues and Expenses – (continued)

           be recognized when eligibility requirements are met and the resources are available, whichever
           occurs first. See Note 14.

           Nonoperating expenses include interest on bonds and other related expenses that are defined as
           nonoperating expenses.

           Revenue from Electric Services

           Revenues from electric services are recorded based on services rendered during each accounting
           period, including an estimate for unbilled services, net of discounts and allowances. The billing rates
           for electric services include a fuel and purchased power cost recovery component, which is designed
           to permit full recovery of the fuel and purchased power costs as ordered by the PREB. Beginning
           May 1, 2019, as a result of the new tariff structure approved under Act No. 4, three new cost recovery
           riders were implemented: contribution in lieu of taxes (“CILT”), and two additional riders designed
           to cover costs associated with subsidies, public lighting and other PREB initiatives, as established in
           the PREB’s CEPR-AP_2015-001 of January 10, 2017.

           Fuel costs and purchased power costs are reflected in operating expenses as the fuel and purchased
           power are consumed. Costs related to the new riders implemented are presented as a reduction of
           net revenues and as operating expenses.




                                      This space is intentionally left in blank




                                                       - 40 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                            Desc:
                            Exhibit J Page 45 of 131
                                 Puerto Rico Electric Power Authority
                         (A Component Unit of the Commonwealth of Puerto Rico)

                                       Notes to the Financial Statements

                                    For the fiscal year ended June 30, 2020



Note 2 -   Summary of Significant Accounting Policies – (continued)

           Contributions in Lieu of Taxes

           CILT is an amount that represents the electric power service provided by the Authority to the
           municipalities of Puerto Rico, in exchange of complete exemption from municipal taxes pursuant to
           the provisions of section 22 of the Act.

           Risk Management

           The Authority is subject to certain business risks common to the utility industry. The majority of
           these risks is mitigated by external insurance coverage obtained by the Authority. For other
           business risks, however, the Authority has elected to be self-insured. See Note 16.

           Interest Rate Swap Agreements

           The Authority accounts for its interest rate swap agreements in accordance with GASB Statement
           No. 53, “Accounting and Financial Reporting for Derivative Instruments”. The interest rate swaps are
           used to take advantage of favorable market interest rates and to limit interest rate risk associated
           with variable rate debt exposure.

           The net amount received or paid under the swap agreements is recorded as an adjustment to interest
           expense. The interest rate swaps are reported at fair value in the statement of net position (deficit).
           The changes in fair value for effective hedges are recorded as deferred inflows or outflows of
           resources in the statement of net position. The changes in fair value for ineffective hedges are
           reported in investment income.




                                      This space is intentionally left in blank




                                                       - 41 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                           Desc:
                            Exhibit J Page 46 of 131
                                 Puerto Rico Electric Power Authority
                         (A Component Unit of the Commonwealth of Puerto Rico)

                                      Notes to the Financial Statements

                                    For the fiscal year ended June 30, 2020



Note 2 -   Summary of Significant Accounting Policies – (continued)

           Accounting Pronouncements Issued But Not Yet Effective

           The following new accounting standards have been issued but are not yet effective:

           •   GASB Statement No. 84, Fiduciary Activities. This statement establishes criteria for identifying
               fiduciary activities of state and local governments. The focus of the criteria generally is on (1)
               whether a government is controlling the assets of the fiduciary activity and (2) the beneficiaries
               with whom a fiduciary relationship exists. This statement also provides for recognition of a
               liability to the beneficiaries in a fiduciary fund when an event has occurred that compels the
               government to disburse fiduciary resources. The requirements of this statement were originally
               effective for reporting periods beginning after December 15, 2018, although postponed due to
               COVID-19 pandemic. Refer to GASB Statement No. 95 below.

           •   GASB Statement No. 87, Leases. The objective of this statement is to better meet the information
               needs of financial statement users by improving accounting and financial reporting for leases
               by governments. This statement requires recognition of certain lease assets and liabilities for
               leases that previously were classified as operating leases and recognized as inflows of resources
               or outflows of resources based on the payment provisions of the contract. The requirements of
               this statement were originally effective for reporting periods beginning after December 15, 2019,
               although postponed due to COVID-19 pandemic. Refer to GASB Statement No. 95 below.

           •   GASB Statement No. 88, Certain Disclosures Related to Debt, Including Direct Borrowings and Direct
               Placements. The primary objective of this statement is to improve the information that is
               disclosed in notes to government financial statements related to debt, including direct
               borrowings and direct placements. It also clarifies which liabilities governments should include
               when disclosing information related to debt. The requirements of this statement were originally
               effective for reporting periods beginning after June 15, 2018, although postponed due to the
               COVID-19 pandemic. Refer to GASB Statement No. 95 below.

           •   GASB Statement No. 90, Majority Equity Interest. The primary objectives of this Statement are to
               improve the consistency and comparability of reporting a government’s majority equity interest
               in a legally separate organization and to improve the relevance of financial statement
               information for certain component units. The requirements of this statement were originally
               effective for reporting periods beginning after December 15, 2018, although postponed due to
               the COVID-19 pandemic. Refer to GASB Statement No. 95 below.

           •   GASB Statement No. 91, Conduit Debt Obligations. This Statement requires issuers to disclose
               general information about their conduit debt obligations, organized by type of commitment,

                                                     - 42 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                            Desc:
                            Exhibit J Page 47 of 131
                                 Puerto Rico Electric Power Authority
                         (A Component Unit of the Commonwealth of Puerto Rico)

                                      Notes to the Financial Statements

                                    For the fiscal year ended June 30, 2020



Note 2 -   Summary of Significant Accounting Policies – (continued)

           Accounting Pronouncements Issued But Not Yet Effective – (continued)

               including the aggregate outstanding principal amount of the issuers’ conduit debt obligations
               and a description of each type of commitment. The requirements of this Statement were
               originally effective for reporting periods beginning after December 15, 2020, although
               postponed due to the COVID-19 pandemic. Refer to GASB Statement No. 95 below.

           •   GASB Statement No. 92, Omnibus 2020. This Statement addresses a variety of topics and includes
               specific provisions about the following: The effective date of Statement No. 87, Leases, and
               Implementation Guide No. 2019 3, Leases, for interim financial reports; Reporting of intra entity
               transfers of assets between a primary government employer and a component unit defined
               benefit pension plan or OPEB plan; the applicability of Statements No. 73, Accounting and
               Financial Reporting for Pensions and Related Assets That Are Not within the Scope of GASB Statement
               68, and Amendments to Certain Provisions of GASB Statements 67 and 68, as amended, and No.
               74, Financial Reporting for Postemployment Benefit Plans Other Than Pension Plans, as amended, to
               reporting assets accumulated for postemployment benefits; The applicability of certain
               requirements of Statement No. 84, Fiduciary Activities, to postemployment benefit arrangements;
               measurement of liabilities (and assets, if any) related to ARO in a government acquisition;
               reporting by public entity risk pools for amounts that are recoverable from reinsurers or excess
               insurers; reference to nonrecurring fair value measurements of assets or liabilities in
               authoritative literature; and terminology used to refer to derivative instruments. The portion of
               this Statement that relates to the effective date of Statement 87 and its associated implementation
               guidance is effective upon issuance. Provisions related to intra entity transfers of assets and
               applicability of Statements 73 and 74 are effective for fiscal years beginning after June 15, 2020.
               The remaining requirements related to asset retirement obligations were originally effective for
               government acquisitions occurring in reporting periods beginning after June 15, 2020, although
               postponed due to the COVID-19 pandemic. Refer to GASB Statement No. 95 below. Earlier
               application is encouraged and is permitted by topic.

           •   GASB Statement No. 93, Replacement of Interbank Offered Rates. The objective of this Statement is
               to address those and other accounting and financial reporting implications that result from the
               replacement of the London Interbank Offered Rate (“LIBOR”). LIBOR ceased to exist in its
               current form at the end of 2021, prompting governments to amend or replace financial
               instruments for the purpose of replacing LIBOR with other reference rates, by either changing
               the reference rate or adding or changing fallback provisions related to the reference rate. The
               removal of LIBOR as an appropriate benchmark interest rate is effective for reporting periods
               ending after December 31, 2021, although postponed due to the COVID-19 pandemic. Refer to



                                                     - 43 -
Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                         Desc:
                          Exhibit J Page 48 of 131
                              Puerto Rico Electric Power Authority
                      (A Component Unit of the Commonwealth of Puerto Rico)

                                   Notes to the Financial Statements

                                 For the fiscal year ended June 30, 2020



 Note 2 -   Summary of Significant Accounting Policies – (continued)

            Accounting Pronouncements Issued But Not Yet Effective – (continued)

            GASB Statement No. 95 below. All other requirements of this Statement were originally
            effective for reporting periods beginning after June 15, 2020. Earlier application is encouraged.

        •   GASB Statement No. 94, Public-Private and Public-Public Partnerships and Availability Payments
            Arrangements. The primary objective of this Statement is to improve financial reporting by
            addressing issues related to public-private and public-private partnership arrangements and
            providing guidance for accounting and financial reporting for availability payment
            arrangements. The requirements of this Statement are effective for fiscal years beginning after
            June 15, 2022, and all reporting periods thereafter. Earlier application is encouraged.

        •   GASB Statement No. 95, Postponement of Effective Dates of Certain Authoritative Guidance. The
            primary objective of this Statement is to provide temporary relief to governments and other
            stakeholders in light of the COVID 19 pandemic by postponing the effective dates of certain
            provisions in Statements and Implementation Guides that first became effective or are effective
            immediately.

            The effective dates of certain provisions contained in the following pronouncements are
            postponed by one year after the original implementation date:

            •   GASB Statement No. 84, Fiduciary Activities
            •   GASB Statement No. 89, Accounting for Interest Cost Incurred before the End of a Construction
                Period
            •   GASB Statement No. 90, Majority Equity Interests
            •   GASB Statement No. 91, Conduit Debt Obligations
            •   GASB Statement No. 92, Omnibus 2020
            •   GASB Statement No. 93, Replacement of Interbank Offered Rates
            •   GASB Implementation Guide No. 2017 3, Accounting and Financial Reporting for
                Postemployment Benefits Other Than Pensions (and Certain Issues Related to OPEB Plan
                Reporting)
            •   GASB Implementation Guide No. 2018 1, Implementation Guidance Update—2018
            •   GASB Implementation Guide No. 2019 1, Implementation Guidance Update—2019
            •   GASB Implementation Guide No. 2019 2, Fiduciary Activities.
            •   GASB Implementation Guide No. 2019 3, Leases.




                                                  - 44 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                           Desc:
                            Exhibit J Page 49 of 131
                                 Puerto Rico Electric Power Authority
                         (A Component Unit of the Commonwealth of Puerto Rico)

                                      Notes to the Financial Statements

                                    For the fiscal year ended June 30, 2020



Note 2 -   Summary of Significant Accounting Policies – (continued)

           Accounting Pronouncements Issued But Not Yet Effective – (continued)

               The effective dates of the following pronouncements are postponed by 18 months after the
               original implementation date:

           •   GASB Statement No. 87, Leases

               Earlier application of the provisions addressed in the above Statements is encouraged and is
               permitted to the extent specified in each pronouncement as originally issued.

           •   GASB Statement No. 96, Subscription Based Information Technology Arrangements. The primary
               objective of this Statement is to provide guidance on the accounting and financial reporting for
               subscription-based information technology arrangements (“SBITAs”) for government end users
               (governments). This Statement (1) defines a SBITA; (2) establishes that a SBITA results in a right
               to use a subscription asset—an intangible asset—and a corresponding subscription liability; (3)
               provides the capitalization criteria for outlays other than subscription payments, including
               implementation costs of a SBITA; and (4) requires note disclosures regarding a SBITA. To the
               extent relevant, the standards for SBITAs are based on the standards established in Statement
               No. 87, Leases, as amended. The requirements of this Statement are effective for fiscal years
               beginning after June 15, 2022, and all reporting periods thereafter. Earlier application is
               encouraged.

           •   GASB Statement No. 97, Certain component unit criteria, and Accounting and Financial Reporting for
               Internal Revenue Code Section 457 Deferred Compensation Plans- an amendment of GASB Statement
               No. 14 and No. 84 and a Supersession of GASB Statement No. 32. The primary objectives of this
               Statement are to (1) increase consistency and comparability related to the reporting of fiduciary
               component units in circumstances in which a potential component unit does not have a
               governing board and the primary government performs the duties that a governing board
               typically would perform; (2) mitigate costs associated with the reporting of certain defined
               contribution pension plans, defined contribution OPEB plans, and employee benefit plans other
               than pension plans or OPEB plans (other employee benefit plans) as fiduciary component units
               in fiduciary fund financial statements; and (3) enhance the relevance, consistency, and
               comparability of the accounting and financial reporting for Internal Revenue Code Section 457
               deferred compensation plans (Section 457 plans) that meet the definition of a pension plan and
               for benefits provided through those plans. The requirements in (1) paragraph 4 of this Statement
               as it applies to defined contribution pension plans, defined contribution OPEB plans, and other
               employee benefit plans and (2) paragraph 5 of this Statement are effective immediately. The
               requirements in paragraphs 6–9 of this Statement are effective for fiscal years beginning after

                                                     - 45 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                            Desc:
                            Exhibit J Page 50 of 131
                                 Puerto Rico Electric Power Authority
                         (A Component Unit of the Commonwealth of Puerto Rico)

                                      Notes to the Financial Statements

                                    For the fiscal year ended June 30, 2020



Note 2 -   Summary of Significant Accounting Policies – (continued)

           Accounting Pronouncements Issued But Not Yet Effective – (continued)

               June 15, 2021. All other requirements of this Statement are effective for reporting periods
               beginning after June 15, 2021.

               Management has not yet determined the impact these statements may have on the Authority’s
               basic financial statements.

Note 3 -   Going Concern Uncertainty

           Going Concern Consideration

           Management believes that there is substantial doubt about the Authority’s ability to continue as a
           going concern because:

           •   The Authority does not currently have sufficient funds available to fully repay its various
               obligations as they come due. The Authority has defaulted on various debt obligations.

           •   As of June 30, 2020, the Authority has an accumulated deficit of approximately $8.0 billion.

           •   As noted in Note 1, on July 2, 2017, the Oversight Board filed the Title III Petition. Title III of
               PROMESA establishes an in-court process for restructuring the debts of Puerto Rico and other
               United States territories that is modeled after the process under Chapter 9 of the U.S. Bankruptcy
               Code. Among other things, Title III of PROMESA incorporates the automatic stay provisions of
               the US Bankruptcy Code, made applicable to the Title III cases pursuant to PROMESA section
               301(a). On July 20, 2021, Moody’s Investors Service (“Moody’s) withdrew its rating on the
               Authority’s bonds. On February 9, 2018, Standard & Poor’s (“S&P”) withdrew its rating for the
               Authority’s bonds and now rates them (NR). Fitch Ratings (“Fitch”) currently maintains its “D”
               rating for the Authority’s uninsured bonds.

           •   The Authority’s operational and fiscal condition has been further affected by a series of
               catastrophic events. The Hurricanes caused substantial, island-wide damage to the Authority’s
               Transmission and Distribution System (“T&D System”) and other assets. In January 2020, a
               magnitude 6.4 earthquake located near Puerto Rico’s southwestern coast caused significant
               damage to two units at the Authority’s Costa Sur power plant and left most of Puerto Rico
               without electric service for hours. The effects of the earthquake were quickly followed by the




                                                     - 46 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                          Desc:
                            Exhibit J Page 51 of 131
                                 Puerto Rico Electric Power Authority
                         (A Component Unit of the Commonwealth of Puerto Rico)

                                      Notes to the Financial Statements

                                    For the fiscal year ended June 30, 2020



Note 3 -   Going Concern Uncertainty-(continued)

           Going Concern Consideration-(continued)

              emergence of the COVID-19 pandemic which has had a negative effect on the Authority’s
              collections and revenues, further weakening its liquidity position. And most recently, in
              February 24, 2022, Russia’s invasion of Ukraine placed renewed emphasis on the worldwide
              dependence on fossil fuels, and the resulting supply disruption directly affected the Authority’s
              operations by significantly increasing fuel purchase costs.


           Remediation plan

           Operational Plan

           The Authority’s current focus, as evaluated by its governing board, is on (1) supporting efforts to
           maximize federal funding allocations in order to invest in the repair and strengthening of its T&D
           System and other energy assets; (2) implementing short-term operational and managerial reforms
           that will enhance service quality and operational efficiency; (3) supporting the transfer of the T&D
           System and generation operating and maintenance responsibilities to professional, private
           operators; and (4) supporting efforts to restructure its legacy debt and pension obligations.

           The Authority’s Fiscal Plan

           On March 13, 2017, the Authority presented its first 10-year fiscal plan to the Oversight Board. The
           Authority commits to fiscal responsibility and infrastructure modernization, public private
           partnerships, targeted expenditure reductions/efficiencies (operational and other) and specific
           revenue enhancements.

           The Oversight Board has certified various fiscal plans for the Authority and most recently on June
           28, 2022 (the “Certified 2022 Fiscal Plan”). On January 27, 2022, the Oversight Board also certified
           the 2022 Commonwealth Fiscal Plan (the “Commonwealth Fiscal Plan”). The Authority’s Certified
           2022 Fiscal Plan, the Commonwealth Fiscal Plan, and the energy public policy and legal framework
           established by the Government of Puerto Rico lay out the Authority’s transformation roadmap. If
           successfully implemented, a reformed energy system will lead to a modernized and reliable energy
           service across the Island.

           However, there is no certainty that the Certified 2022 Fiscal Plan or Commonwealth Fiscal Plan will
           be fully implemented, or, if implemented, will ultimately provide the intended results. All these
           plans and measures, and the Authority’s ability to reduce its financial operating deficit, depends on
           a number of factors and risks, some of which are not wholly within the Authority’s control.

                                                     - 47 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                             Desc:
                            Exhibit J Page 52 of 131
                                 Puerto Rico Electric Power Authority
                         (A Component Unit of the Commonwealth of Puerto Rico)

                                      Notes to the Financial Statements

                                    For the fiscal year ended June 30, 2020



Note 3 -   Going Concern Uncertainty-(continued)

           Restructuring Support Agreement and Authority’s Plan of Adjustment of Debts

           After termination of the 2019 Restructuring Support Agreement on March 8, 2022 and as of the date
           of these financial statements, the Oversight Board has not filed a plan of adjustment for the
           Authority with the Title III Court. During the last quarter of fiscal year 2022, by order of the Title
           III Court, the Government Parties and certain Authority stakeholders commenced mediation
           regarding disputes relating to the Authority’s financial obligations, with the intent of developing a
           plan of adjustment for the Authority. The Title III Court set a deadline of August 15, 2022, which is
           subject to automatic extension through September 9, 2022, as needed based on the mediation
           team’s discretion, for the Oversight Board to file the relevant papers for its proposed path forward
           to efficiently conclude the Authority’s Title III (the Mediation Termination Deadline). The Mediation
           Termination deadline was subject to multiple extensions, the last one being until September 16 th,
           2022 with an automatic extension through September 30th, 2022. As of the date of these financial
           statements, the Title III court has not entered an order adjudicating these controversies or
           determining a path forward, and the Oversight Board has not filed a plan of adjustment for the
           Authority. Before the culmination of the extension period through September 30th, 2022, additional
           events took place, for further details refer to Note 20.

Note 4 -   Correction of Immaterial Error and Adoption of New Accounting Pronouncement

           During the fiscal year ended June 30, 2020, the Authority identified a misstatement related to prior
           year financial statements and adopted the provisions of GASB No. 83, “Accounting and Financial
           Reporting for Certain Asset Retirement Obligations”. These actions resulted in restatements of the
           beginning net position of the Authority’s financial statements. The impact of correction of
           immaterial error and adoption of new accounting pronouncements to net position (deficit) were as
           follows (in thousands):

                                                                                          Net
                                                                                        Position
                                                                                        (Deficit)

                       As previously reported                                       $    (6,804,693)
                       Correction of accounts receivables and allowance
                       from U.S. Federal Government's Grants                        $     (232,516)
                       Implementation of GASB 83                                            (78,649)

                       Beginning balances, as restated                              $    (7,115,858)


                                                     - 48 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                           Desc:
                            Exhibit J Page 53 of 131
                                 Puerto Rico Electric Power Authority
                         (A Component Unit of the Commonwealth of Puerto Rico)

                                      Notes to the Financial Statements

                                    For the fiscal year ended June 30, 2020




Note 4 -   Correction of Immaterial Error and Adoption of New Accounting Pronouncement-(continued)


           a) Correction of immaterial error

              The beginning balance of accounts receivable from insurance companies and FEMA, net, was
              overstated. The effect of this correction resulted in an increase of the Authority’s net deficit of
              approximately $232.5 million.

           b) Adoption of new accounting pronouncement GASBS No. 83

              This statement requires the recording of asset retirement liabilities as well as deferred outflows
              of resources, on governments’ legal obligations to perform future asset retirement activities
              related to its tangible capital assets. The Authority restated its beginning net position for
              approximately $78.6 million in order to recognize the effect of this adoption.



Note 5 -   Deposits

           As of June 30, 2020, the carrying amount and bank balance of cash deposits held by the Authority
           in commercial banks is as follows (in thousands):

                                                                   Carrying              Bank
                                                                   Amount               Balance

           Unrestricted cash                                     $    435,603       $    444,117

           Restricted cash and time deposits                     $    163,303       $    163,303

           Restricted investments                                $     21,311       $     21,311




           Custodial Credit Risk – Deposits in Commercial Banks

           Custodial credit risk is the risk that in the event of a bank failure, the bank’s deposits may not be
           returned. The Commonwealth requires that public funds deposited in commercial banks in Puerto
           Rico must be fully collateralized. The Authority’s policy is to deposit funds with institutions that
           provide insurance or securities as collateral. Such collateral is held by the Department of the
           Treasury of the Commonwealth.
                                                     - 49 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                                     Desc:
                            Exhibit J Page 54 of 131
                                 Puerto Rico Electric Power Authority
                         (A Component Unit of the Commonwealth of Puerto Rico)

                                      Notes to the Financial Statements

                                   For the fiscal year ended June 30, 2020



Note 6 -   Accounts Receivable from Services and Accounts Receivable from Insurance Companies and
           FEMA

           Accounts receivable consist of (in thousands):

           Current:
            Electric and related services:
             Commonwealth agencies and component units                                                   $     181,889
             Residential, industrial, and commercial                                                         1,043,833
             Unbilled services                                                                                 187,963
             Municipalities
               Accounts receivable                                                            180,647
               Accounts payable offset (See Note 9)                                          (176,881)           3,766
              Telecommunications and others                                                                    23,436
                                                                                                             1,440,887
              Allowance for uncollectible accounts                                                            (806,274)
                 Total accounts receivable, net                                                          $    634,613


              Insurance companies                                                                               3,415
              Grants from U.S. Federal Government, net                                                        130,940
                 Total accounts receivable from insurance companies and FEMA                             $    134,355


           Noncurrent:
            Electric and related services:
               Governmental agencies and municipalities                                  $   127,427
               Other receivables related to government                                        95,104     $    222,531
               Allowance for uncollectible accounts                                                          (222,531)
                   Total non-current accounts receivables, net                                           $         -




                                             This space is intentionally left in blank




                                                       - 50 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                          Desc:
                            Exhibit J Page 55 of 131
                                 Puerto Rico Electric Power Authority
                         (A Component Unit of the Commonwealth of Puerto Rico)

                                      Notes to the Financial Statements

                                    For the fiscal year ended June 30, 2020



Note 6 -   Accounts Receivable from Services and Accounts Receivable from Insurance Companies and
           FEMA – (continued)

           As of June 30, 2020, receivables from the municipalities amounted to $180.6 million, of which the
           Authority has the right to offset with CILT payable approximately $176.9 million. See Note 9.

           The Authority has recorded Grants receivable from U.S. Government of approximately $157.6
           million, and an allowance of $26.7 million for certain funds that remain under FEMA’s review in the
           accompanying statement of net position (deficit).

           The portion of accounts receivable and other governmental receivables not expected to be collected
           during the next fiscal year is recorded under other noncurrent receivables. The Authority has
           recorded an allowance for uncollectible accounts of $222.3 million for the fiscal year ended June 30,
           2020, of which $127.4 million is in consideration of the financial difficulties of the Commonwealth,
           its component units and municipalities. The remaining $95.1 million represents the allowance for
           the outstanding claim that the Authority had for deposits previously held with Government
           Development Bank for Puerto Rico (“GDB”), which has been restructured and replaced with a claim
           of the Authority in the Public Entity Trust that was established as part of the GDB restructuring
           proceedings under Title VI of PROMESA. See Note 12.




                                           This space is intentionally left in blank




                                                     - 51 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                            Desc:
                            Exhibit J Page 56 of 131
                                 Puerto Rico Electric Power Authority
                         (A Component Unit of the Commonwealth of Puerto Rico)

                                      Notes to the Financial Statements

                                    For the fiscal year ended June 30, 2020



Note 7 -   Restricted Cash, Cash Equivalents and Investments

           As of June 30, 2020, the Authority had the following restricted cash and cash equivalent held by the
           U.S National Bank Association, the trustee under the 1974 Agreement (the “1974 Trustee”) and by
           other commercial financial institutions, consisting primarily of commercial bank deposits, money
           markets, time deposits and certificates of deposit (in thousands):

                                                                         Restricted
                                                                         Cash and
                                                                           Cash               Restricted
                                                                       Equivalents         Investments

           Construction fund                                            $      84,846     $         1,157
           Front-End transition fund for T&D System transfer                   59,379                   -
           Reserve maintenance fund                                                 -              16,829
           Reserve account in the sinking fund                                 17,100                   -
           PREPA client fund                                                        -               3,325
           Other restricted funds                                               1,978                      -


             Total                                                      $     163,303     $        21,311


           All moneys deposited with the 1974 Trustee or any other depository under and as defined in the
           1974 Agreement in excess of the amount guaranteed by the Federal Deposit Insurance Corporation
           or other federal agency are continuously secured with a bank or trust company approved by the
           Authority and by the 1974 Trustee, as custodian, or, if then permitted by law, by setting aside under
           control of the trust department of the bank holding such deposit, as collateral security, Government
           Obligations (as defined in the 1974 Agreement) or other eligible marketable securities.

           Construction Fund – The proceeds of any Power Revenue Bonds issued or insurance proceeds
           received, as stipulated by the 1974 Agreement, for the purpose of paying the cost of acquiring or
           constructing improvements, together with the money received from any other source for such
           purpose, except proceeds which are (i) applied to the repayment of advances, (ii) deposited in the
           1974 Reserve Account, (iii) deposited in the Bond Service Account as capitalized interest or (iv) used
           for the payment of financing expenses, shall be deposited in the 1974 Construction Fund and held
           by the Authority subject to a security interest in favor of the 1974 Trustee (defined in Note 7). For
           fiscal year ended June 30, 2020, the balance held in this fund represents primarily insurance proceeds
           restricted for capital asset investment in accordance with a determination by the Title III Court that
           restricted the use of those funds to repair, replace or reconstruct damaged or destroyed property.



                                                     - 52 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                          Desc:
                            Exhibit J Page 57 of 131
                                 Puerto Rico Electric Power Authority
                         (A Component Unit of the Commonwealth of Puerto Rico)

                                      Notes to the Financial Statements

                                    For the fiscal year ended June 30, 2020



Note 7 -   Restricted Cash, Cash Equivalents and Investments – (continued)

           Front-End Transition Fund – To pay for transition services as stipulated in the newly signed contract
           for the transformation of the Authority’s T&D System, or the T&D Contract (as defined in Note 18).
           These transition services will be paid from the defined contract effective date, up to the service
           commencement date, as stipulated in the T&D Contract.

           Reserve Maintenance Fund – To pay the cost of unusual or extraordinary maintenance or repairs,
           not recurring, and renewals and replacements, including major items of equipment.

           Reserve Account in the Sinking Fund – Current year amounts for principal and interest on Power
           Revenue Bonds.

           PREPA Client Fund – Funds received from PREPA Holdings to help stabilize the price of electric
           power provided to the Authority's clients.

           Other Restricted Funds – Funds deposited under the Land Acquisition Project, a consent decree
           between the Authority and the U.S. Department of Justice, dated March 19, 1999, where the
           Authority agreed to deposit approximately $3.4 million into an interest-bearing escrow account to
           implement an environmental restoration and protection project. The primary purpose of the project
           is the acquisition and preservation of land in or adjacent to the Cucharillas marsh in Cataño.




                                           This space is intentionally left in blank




                                                     - 53 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                                                    Desc:
                            Exhibit J Page 58 of 131
                                        Puerto Rico Electric Power Authority
                                (A Component Unit of the Commonwealth of Puerto Rico)

                                                 Notes to the Financial Statements

                                             For the fiscal year ended June 30, 2020



Note 8 -   Capital Assets

           The Authority had the following activities in capital assets (in thousands):


                                                        Balance                           Retirements     Transfers and     Balance
                                                      June 30, 2019      Additions       and Disposals     adjustments    June 30, 2020

           Non-depreciable capital assets:

            Land and land improvements                $     158,844      $         -     $           -    $         56    $      158,900
            Construction work in process                    186,384          151,422                 -          (8,256)          329,550


              Total non-depreciable capital assets          345,228          151,422                 -          (8,200)          488,450


           Depreciable capital assets:
            Production                                     4,928,469          65,407                 -          (8,769)         4,985,107

            Distribution                                   4,852,478            3,030            (425)          16,132          4,871,215

            Transmission                                   2,442,893            6,768            (223)         (34,111)         2,415,327

            General and administrative                     1,595,633                -                -           7,032          1,602,665

            Fiber network                                    73,359             1,196           (1,296)              -            73,259

            Irrigation systems                               35,505                 -                -               -            35,505


              Total depreciable capital assets            13,928,337          76,401            (1,944)        (19,716)        13,983,078


           Accumulated depreciation:

           Production                                     (2,588,072)         (99,300)               -          (3,749)        (2,691,121)

           Distribution                                   (1,925,434)        (142,779)            425              905         (2,066,883)

           Transmission                                     (666,882)         (55,585)            223            2,487           (719,757)

           General and administrative                       (972,095)         (49,090)               -            (244)        (1,021,429)

           Irrigation systems                                (23,358)            (468)               -               -            (23,826)

           Fiber network                                     (29,347)          (3,037)          1,398             (260)           (31,246)


           Total accumulated depreciation                 (6,205,188)        (350,259)          2,046             (861)        (6,554,262)


           Total depreciable capital assets, net           7,723,149         (273,858)            102          (20,577)         7,428,816


           Total capital assets                       $    8,068,377     $ (122,436)     $        102     $    (28,777)   $     7,917,266




                                                                - 54 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                                        Desc:
                            Exhibit J Page 59 of 131
                                     Puerto Rico Electric Power Authority
                             (A Component Unit of the Commonwealth of Puerto Rico)

                                            Notes to the Financial Statements

                                          For the fiscal year ended June 30, 2020



Note 8 -    Capital Assets – (continued)

            Construction work in progress on June 30, 2020, consists principally of expansions and upgrades to
            the electric generation, transmission, and distribution systems. Depreciation and amortization
            expense during fiscal year 2020 was approximately $350.3 million. As of June 30, 2020, the Authority
            did not report impairment losses on its capital assets.



Note 9 -    Accounts Payable and Accrued Liabilities

            Accounts payable and accrued liabilities at June 30, 2020, were as follows (in thousands):

            Accounts payable, accrued expenses, and withholdings                                               $ 1,032,800
            Contribution in lieu of taxes
              Accounts payable                                                                     176,881
               Accounts receivable offset (See Note 6)                                             (176,881)           -
            Accrued pension plan contribution and withholding from employees                                       479,028
            Other post employment benefit obligations                                                                7,937
            Accrued compensation and other                                                                           2,460


             Total                                                                                             $ 1,522,225


Note 10 -   Long-Term Liabilities

            Long term debt activity for the fiscal year ended June 30, 2020, was as follows (in thousands):



                                             Balance at                                         Balance at   Due within
                                            June 30, 2019     Increases        Decreases       June 30, 2020  one year

            Bonds payable                   $   8,338,448    $       139,165   $   (146,882)   $   8,330,731   $ 1,666,169
            Notes payable                         722,770              1,611           (660)         723,721       696,652
            Loans payable                               -                451              -              451             -
            Compensated absences                   30,266             19,814        (13,626)          36,454        19,030
            Claims and judgments                  276,667             11,564              -          288,231             -
            Net pension liability               4,567,321            594,280       (279,340)       4,882,261             -
            OPEB liability                        360,877             27,878        (12,570)         376,185         7,937


            Total long‑term liabilities     $ 14,296,349     $       794,763   $   (453,078)   $ 14,638,034    $ 2,389,788

                                                            - 55 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                                              Desc:
                            Exhibit J Page 60 of 131
                                            Puerto Rico Electric Power Authority
                                    (A Component Unit of the Commonwealth of Puerto Rico)

                                               Notes to the Financial Statements

                                             For the fiscal year ended June 30, 2020



Note 10 -   Long-Term Liabilities – (continued)

            Commencing with the filing of the Title III Petition, the Authority has not made any payments
            (whether for interest or principal) on bonds payable and some notes payable. As such, the current
            portion of the long-term liabilities is expected to increase as they become due, subject to Authority’s
            rights in the Title III case, until new terms for the Authority’s long-term debt are negotiated in the
            Authority’s Title III cases.



Note 11 -   Notes and Loan Payable

            Notes Payable

            The following is a summary of notes payable as of June 30, 2020 (in thousands):

                                                                         Effective
                                                                         Interest            Current       Long-Term
                                                       Maturity Date        Rate             portion          Debt           Total


            Notes payable, unrestricted:
              Revolving line of credit of $250
              million to finance working capital       January 2015          8.32% (V)   $     146,042     $        -    $    146,042

                Revolving line of credit of $550
                million to finance working capital      August 2014          7.25% (V)         549,950              -         549,950

                                                          20 years
                Revolving line of credit of $27          following
                million to finance improvements in     completion of
                Aguirre and San Juan                  the construction       2.00% (V)                 -       14,230          14,230

                Note Payable of $16 million
                (PREPA Holdings) to finance the
                general working capital and capital
                expenditures                           February 2023         5.00% (V)            660          12,839          13,499

            Total notes payable                                                          $     696,652     $   27,069    $    723,721

            (V) - variable interest rate




                                                                - 56 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                             Desc:
                            Exhibit J Page 61 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                                       Notes to the Financial Statements

                                     For the fiscal year ended June 30, 2020



Note 11 -   Notes and Loan Payable– (continued)

            Notes Payable – (continued)

            The schedule of maturities of notes payable with interest thereon as of June 30, 2020, is as follows
            (in thousands):

                Fiscal Year Ending June 30,                    Principal           Interest            Total


                             2021                         $       696,652      $       51,945      $   748,597
                             2022                                     660                 907             1,567
                             2023                                  12,179                 577           12,756
                             2024                                          -              271              271
                             2025                                          -              271              271
                          2026-2030                                        -            1,355             1,355
                          2031-2035                                        -            1,355             1,355
                          2036-2040                                14,230               1,355           15,585
            Total notes payable                                   723,721      $       58,036      $   781,757
            Less amount due within one year                      (696,652)

            Notes payable, less amount due
            within one year                               $        27,069



            The above schedule has been presented in accordance with original terms of the notes payable and
            does not reflect the effect, if any, that may result from the Authority’s Title III case. Accordingly,
            subsequent events related to the Title III case may affect the carrying amounts, interest rates and
            repayment terms. See Note 3 for additional information on the Authority’s Title III case and status.

            In July 2012, the Authority entered into a revolving line of credit agreement with Citibank not to
            exceed approximately $250 million for the purpose of providing the Authority with funds to (a)
            purchase power or fuel oil or (b) construction of a liquified natural gas (“LNG”) facility in
            connection with the Authority’s business operations, and to pay costs related to the agreement. As
            of June 30, 2020, this line of credit is under the lead of Solus Alternative Asset Management; and its
            outstanding balance is approximately $146.0 million, subject to Authority’s rights in the Title III
            case.




                                                      - 57 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                            Desc:
                            Exhibit J Page 62 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                                       Notes to the Financial Statements

                                     For the fiscal year ended June 30, 2020



Note 11 -   Notes and Loan Payable – (continued)

            Notes Payable – (continued)

            In April 2012, the Authority entered into a revolving line of credit agreement with a group of
            commercial banks, under the lead of Scotiabank, for the amount of approximately $500 million. The
            purpose of this line of credit was covering the Authority’s operational deficits for fiscal years 2012
            and 2013, through the payment of certain existing lines of credit and to comply with the terms and
            conditions of the contracts held for the purchase of fuel oil. This agreement’s original maturity date
            was May 3, 2013, but was extended to August 15, 2014; and its amount was increased by an
            additional $50 million. As of June 30, 2020, this line of credit is under the lead of Cortland Capital
            Market Services, LLC; and its outstanding balance is approximately $550.0 million, subject to
            Authority’s rights in the Title III case.

            During fiscal year 2020, the Authority borrowed from PR Infrastructure Financing Authority an
            additional $1.6 million under a revolving line of credit of approximately $27 million to finance
            improvements to the Aguirre Power Complex Water Supply and the San Juan Waste Water
            Treatment Plant, with a maturity date of 20 years after the construction completion date, and an
            effective interest of 2%. As of the date of these financial statements, the projects’ construction
            completion date is estimated to be March of 2024; the outstanding balance of the revolving line of
            credit as of June 30, 2020, is approximately $14.2 million and its estimated maturity date is March of
            2044. The increase in the loan amount resulted from the reimbursement of costs incurred by the
            Authority during prior and current fiscal years.

            On December 31, 2015, PREPA Net converted a former non-revolving, senior secured, construction
            credit facility to a term loan bearing interest at the higher of 5% per annum or 350 basis points over
            3-month LIBOR (5% as of June 30, 2020), and payable in eighty-three (83) monthly principal plus
            interest payments, with a final balloon payment for the entire outstanding principal plus accrued
            interest at the maturity date of February 1, 2023. As of June 30, 2020, the outstanding principal
            amount due is approximately $13.5 million. This note payable is collateralized by a first mortgage
            on the real property, and an assignment of all insurance policies, an assignment of all material
            contracts with both related and third parties, and a pledge of all cash, equipment, receivables, and
            personal property of PREPA Net.

            Loan Payable under Paycheck Protection Program


            On April 22, 2020, PREPA Net applied for and was approved a $450,554 loan under the Paycheck
            Protection Program created as part of the relief efforts related to COVID-19 pandemic and
            administered by the Small Business Administration. The loan accrues interest at 1% and will be


                                                      - 58 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                            Desc:
                            Exhibit J Page 63 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                                       Notes to the Financial Statements

                                     For the fiscal year ended June 30, 2020



Note 11 -   Notes and Loan Payable – (continued)

            Loan Payable under Paycheck Protection Program – (continued)
            payable on each payment date. The principal amount of the loan of $25,031 shall be payable in
            eighteen (18) consecutive monthly installments commencing on November 1, 2020. PREPA Net has
            ten (10) months after the last day of the loan forgiveness covered period to apply to the loan
            forgiveness and it will not be required to make any payments until the forgiveness amount is
            remitted to the lender by Small Business Administration. PREPA Net is eligible for loan
            forgiveness of up to 100% of the loan, upon meeting certain requirements. PREPA Net submitted
            the loan forgiveness, but it is still waiting for the lender's response. The loan is uncollateralized
            and is fully guaranteed by the Federal government.


Note 12 -   Bonds Payable

            Power Revenue Bonds Payable

            The Authority has issued Power Revenue Bonds to finance the cost of improvements and
            enhancements of its capital assets. Net revenues, solely to the extent they are deposited in the
            “Sinking Fund” or certain other designated funds under the 1974 Agreement, are subject to a
            security interest, if any, in favor of the 1974 Trustee to repay Power Revenue Bonds principal and
            interest. The 1974 Agreement provides for certain affirmative and negative covenants, among other
            requirements; however, on June 30, 2020, the Authority was not in compliance with some of these
            debt covenants. On July 2, 2017, the Oversight Board filed the Title III Petition and the Authority’s
            repayment obligation relating to its Power Revenue Bonds has been stayed as a result, and are
            subject to Authority’s rights in the Title III case.




                                      This space is intentionally left in blank




                                                       - 59 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                                            Desc:
                            Exhibit J Page 64 of 131
                                          Puerto Rico Electric Power Authority
                                  (A Component Unit of the Commonwealth of Puerto Rico)

                                             Notes to the Financial Statements

                                           For the fiscal year ended June 30, 2020



Note 12 -   Bonds Payable – (continued)

            Power Revenue Bonds Payable – (continued)

            On June 30, 2020, power revenue bonds payable consisted of (in thousands):

                                                                                                     Fiscal Year of
                                                                      Effective Interest            Last Scheduled       Principal
                       Bond Issues                   Date of Issue           Rate                      Maturity        Outstanding
            Issue of 2002, Series JJ               January 3, 2002           5.4%           (F)           2018         $     42,315
            Issue of 2002, Series LL                July 2, 2002           5.5%             (F)        2019                    77,905
            Issue of 2002, Series MM               October 3, 2002         5.0%             (F)        2023                    56,200
            Issue of 2003, Series NN               August 19, 2003         5.2%             (F)        2033                   171,525
            Issue of 2004, Series PP               August 26, 2004         5.0%             (F)        2025                    84,765
                                                                        From 5.0% to                From 2018 to
            Issue of 2005, Series QQ, RR and SS     April 4, 2005          5.5%             (F)        2030                   603,810
                                                                        From 3.4% to                From 2031 to
            Issue of 2007, Series TT, UU and VV      May 3, 2007           5.3%            (F)(V)      2037               1,946,010

            Issue of 2008, Series WW                June 26, 2008          5.3%             (F)        2038                   610,140
            Issue of 2010, Series XX                April 7, 2010          5.3%             (F)        2040                   822,210
            Issue of 2010, Series YY                April 29, 2010         6.1%             (F)        2040                   320,175
            Issue of 2010, Series ZZ and AAA         May 5, 2010        From 5.1% to        (F)     From 2028 to
                                                                            5.3%                       2031                   877,975
                                                                        From 5.1% to
            Issue of 2010, Series BBB and CCC       May 26, 2010            5.4%            (F)        2028                   393,720
            Issue of 2010, Series DDD             October 14, 2010         4.5%             (F)        2024                   218,225
            Issue of 2010, Series EEE             December 29, 2010        6.1%             (F)        2040                   355,730
            Issue of 2012, Series A                  May 1, 2012           5.0%             (F)        2042                   630,110
            Issue of 2013, Series A                August 21, 2013         6.9%             (F)        2043                   673,145
            Issue of 2016, Series A                 May 19, 2016           10.0%            (F)        2019                    55,640
            Issue of 2016, Series B                 June 22, 2016          10.0%            (F)        2019                    55,211
            Issue of 2016, Series C, D and E        June 30, 2016       From 5.4% to        (F)     From 2020 to
                                                                           10.0%                       2022
                                                                                                                              263,803
              Total principal amount face value                                                                           8,258,614
            Unamortized premiums and discounts                                                                                 72,117

            Power revenue bonds, net                                                                                      8,330,731
            Amount due within one year                                                                                    (1,666,169)
              Long‑term portion of bonds payable                                                                        $ 6,664,562


            (V) - variable interest rate
            (F) - fixed interest rate


                                                            - 60 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                              Desc:
                            Exhibit J Page 65 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                                       Notes to the Financial Statements

                                     For the fiscal year ended June 30, 2020



Note 12 - Bonds Payable – (continued)

          Power Revenue Bonds Payable – (continued)

          The schedule of maturities of bonds payable with interest thereon as of June 30, 2020, is as follows
          (in thousands):

                   Fiscal Year Ending June 30,                 Principal           Interest        Total

                              2021                         $    1,666,169      $     371,477    $ 2,037,646
                              2022                                322,937            351,095        674,032
                              2023                                317,030            334,113        651,143
                              2024                                332,580            318,557        651,137
                              2025                                294,575            301,957        596,532
                           2026-2030                            1,859,845           1,264,224      3,124,069
                           2031-2035                            1,472,875             802,533      2,275,408
                           2036-2040                            1,429,730            404,335       1,834,065
                           2041-2043                              562,873              60,643       623,516
           Total                                                8,258,614      $    4,208,934   $ 12,467,548
           Plus or less: unamortized discount or
           premium                                                 72,117
           Interest                                                        -
           Total bonds payable                                  8,330,731
           Total current
           Bonds  payable,
                         portion
                           excluding
                                 of bonds
                                     current
                                          payable              (1,666,169)
           portion                                         $    6,664,562

          The above schedule has been presented in accordance with original terms of the bonds payable and
          does not reflect the effect, if any, that may result from the Authority’s Title III case. Accordingly, the
          effects of the Authority’s Title III case may affect the carrying amounts, interest rates and repayment
          terms. See Note 3 for additional information on the Authority’s Title III case and status.

          From the total of approximately $8.3 billion of bonds outstanding, approximately $2.2 billion are
          insured by certain monoline insurance companies. During fiscal year 2020, these insurance
          companies made payments of approximately $139 million in principal and approximately $87
          million in interest as the amounts owed became due. After the monoline insurers make the insured
          payments, they become subrogated to the rights of the original bondholders. As a result, the
          Authority presents amounts owed to the insurance companies as Bonds Payable and Accrued
          Interest until such rights are resolved by payment or by the Authority’s Title III case. As such,
          payments of principal and interest made by the monoline insurance companies are not recorded or
          presented as debt service.


                                                      - 61 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                            Desc:
                            Exhibit J Page 66 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                                        Notes to the Financial Statements

                                      For the fiscal year ended June 30, 2020



Note 12 -   Bonds Payable – (continued)

            Securities and Exchange Commission Investigation

            The United States Securities and Exchange Commission (“SEC”) requested the Authority’s
            information about bond issuances series 2012A, 2012B and 2013A in fiscal years 2012 and 2013. The
            Authority has cooperated in the inquiry, including providing the SEC with documents and
            information. As of the date of the financial statements, it cannot be predicted when the SEC’s
            investigation will conclude or what the ultimate outcome will be.

            U.S. Internal Revenue Service Examinations

            The United States Internal Revenue Service (the “IRS”) issued to the Authority several investigation
            letters from February 7, 2019, to September 6, 2019 related (i) to certain Forms 8038CP Return for
            Credit Payments to Issuers of Qualified Bonds, as defined by the IRS, and Series YY and EEE bond
            issuances and (ii) to Form 8038B Information Return for Build America Bonds and Recovery Zone
            Economic Development Bonds with respect to the Series EEE bond issuance, regarding its
            qualification as Build America Bonds. The investigations resulted in contingencies of approximately
            $16.9 million that are accrued in the accompanying financial statements. As of June 30, 2020, the
            appeals with the IRS are still pending. See Note 20.

            Interest Rate Swap Agreements

            The Authority entered into pay fixed and receive variable interest rate swap agreements as a cash
            flow hedge of interest rate risk on certain of the Series UU Bonds. On June 30, 2020, the following is
            the information on the derivative instruments outstanding (in thousands):

                                        Maturity                                   Counterparty    Notional
             Item    Effective Date      Date                 Terms                Credit Rating   Amount
                                                      Pay 4.08%; receive 67%
              A       May 3, 2007     July 1, 2029      3M LIBOR + 0.52%            A2/A-/AA-      $ 169,532

                                                      Pay 4.08%; receive 67%
              B       May 3, 2007     July 1, 2029      3M LIBOR + 0.52%           Aa2/A-/AA-         83,343
                                                                                                   $ 252,875



                                       This space is intentionally left in blank




                                                        - 62 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                           Desc:
                            Exhibit J Page 67 of 131
                                   Puerto Rico Electric Power Authority
                           (A Component Unit of the Commonwealth of Puerto Rico)

                                      Notes to the Financial Statements

                                    For the fiscal year ended June 30, 2020



Note 12 -   Bonds Payable – (continued)

            Interest Rate Swap Agreements- (continued)

            Derivative instruments A and B hedge changes in cash flows of the underlying floating bonds with
            coupons based on 5-year SIFMA or 67% of 3-month LIBOR index, and maturities equal to the
            maturities of the corresponding swaps. As such, instruments A and B are considered hedging
            derivative instruments. As of June 30, 2020, the combined negative fair value of the derivative
            instruments was $53.9 million.

            The following tables include summary information for the Authority’s effective hedges related to
            the outstanding interest rate swap agreements for fiscal year ended June 30, 2020 (in thousands):

                                   Change in Fair Value                   Fair Value
            Associate Power
                                Classification   Amount          Classification        Amount      Notional
             Revenue Bonds

            Libor Bonds,          Deferred                      FV of derivative
            Series UU             Outflows       $    (8,421)   instruments        $ (36,135)      $ 169,532

            Mini-BMS              Deferred                      FV of derivative
            Bonds, Series UU      Outflows            (4,141)   instruments             (17,767)      83,343
                                                 $   (12,562)                      $ (53,902)      $ 252,875

            The notional amounts of the swaps match the principal amounts of the associated Power Revenue
            Bonds.

            The valuation methodology used to determine the Fair Value of the interest rate Swap agreements
            as of June 30, 2020, consists of a present value equivalent using a risk-adjusted discount rate.

               •   Based the discount rate for each settlement amount on the LIBOR spot rate curve as of the
                   Valuation Date, plus a credit spread, applicable when in a liability position. The credit
                   spread was added to reflect credit risk.

               •   Estimated the credit spread using the following sources of information: (1) Credit default
                   swaps and (2) LIBOR spreads for comparable bonds.

               •   Applied the estimated credit spread in the determination of an appropriate discount rate for
                   the settlement amount.

                                                     - 63 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                                Desc:
                            Exhibit J Page 68 of 131
                                    Puerto Rico Electric Power Authority
                            (A Component Unit of the Commonwealth of Puerto Rico)

                                        Notes to the Financial Statements

                                      For the fiscal year ended June 30, 2020



Note 12 -   Bonds Payable – (continued)

            Interest Rate Swap Agreements – (continued)

            Credit Risk

            As of June 30, 2020, the swaps had a negative fair value. However, should interest rates change and
            the fair value of the swaps become positive, the Authority would be exposed to counterparty credit
            risk in the amount of the derivatives positive fair value. As of the date of the issuance of the financial
            statements one of the swap counterparties, was rated A2 by Moody’s, A- by S&P, AA- by Fitch and
            AAL by DBRS Morningstar. The other counterparty was rated A3u by Moody’s, rated A- by S&P,
            A+ by Fitch and AH by DBRS Morningstar.

            Termination Risk

            The swap agreements use the International Swaps and Derivatives Association, Inc. Master Swap
            Agreement, which includes standard termination events, such as failure to pay and bankruptcy. The
            Authority or the counterparties may terminate the swaps if the other party fails to perform under
            the terms of the contracts. Also, the swaps may be terminated by the Authority if the counterparties’
            credit rating falls below Baa1 as determined by Moody’s or BBB+ as determined by S&P. If at the
            time of termination, the swaps have a negative fair value, the Authority would be liable to the
            counterparties for a payment equal to the swaps’ total fair value.

            The Authority used level 2 inputs to determine the fair value of the interest-rate swap instruments.

            Basis Risk

            During fiscal year 2020, the payments of fixed rate interest from the Authority would have exceeded
            the amount received as variable interest from swap counterparties by approximately $5.7 million.
            Due to the stay imposed by the Title III Petition, this amount has been accrued in the accompanying
            financial statements.

            Rollover Risk

            Using rates as of June 30, 2020, debt service amounts of the variable rate debt and net swap
            payments, assuming current interest rates remain the same for their term are set forth in the table
            below (in thousands). Currently, the maturity dates of the interest rate swaps, and the associated
            debt are coterminous. As rates vary, variable rate bond interest payments and net swap payments
            will vary.



                                                        - 64 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                                   Desc:
                            Exhibit J Page 69 of 131
                                   Puerto Rico Electric Power Authority
                           (A Component Unit of the Commonwealth of Puerto Rico)

                                          Notes to the Financial Statements

                                        For the fiscal year ended June 30, 2020



Note 12 -   Bonds Payable – (continued)

            Interest Rate Swap Agreements – (continued)

            Rollover Risk (continued)

                        Fiscal Year                                                  Interest-Rate
                      Ending June 30,               Principal           Interest      Swap, net          Total

                             2021                  $          -     $      1,826     $      8,491    $    10,317
                             2022                            -             1,826            8,491         10,317
                             2023                            -             1,826            8,491         10,317
                             2024                            -             1,826            8,491         10,317
                             2025                            -             1,826            8,491         10,317
                          2026-2029                    252,875             7,307           33,963        294,145
                            Total                  $ 252,875        $     16,437     $     76,418    $   345,730



            Defeasance of debt

            In prior years, the Authority has refunded in advance certain Power Revenue Bonds and other
            obligations by placing the proceeds of new debt in an irrevocable trust to provide for future debt
            service payments on such bonds through their maturity or earlier redemption dates. Accordingly,
            the trust accounts, assets, and liabilities for the defeased bonds were not included in the Authority’s
            financial statements. As of June 30, 2020, the Authority’s Trustee’s records indicate no defeased
            bonds.




                                         This space is intentionally left in blank




                                                          - 65 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                             Desc:
                            Exhibit J Page 70 of 131
                                   Puerto Rico Electric Power Authority
                           (A Component Unit of the Commonwealth of Puerto Rico)

                                       Notes to the Financial Statements

                                     For the fiscal year ended June 30, 2020



Note 13 -   Employees’ Retirement Benefits

            Pension Plan

            A. General Information about the Pension Plan

               Plan Description

               All of the Authority’s permanent, full-time employees are currently eligible to participate in the
               Authority’s Pension Plan, a single employer, defined benefit pension plan (the “Pension Plan”)
               administered by the Employees’ Retirement System of the Puerto Rico Electric Power Authority
               (the “Authority ERS”). The Authority ERS issues annually a publicly available financial report
               that includes financial statements and required supplementary information for the Pension
               Plan.

               If a member’s employment is terminated before he becomes eligible for any benefits under this
               Pension Plan, he may receive a refund of his member contribution plus interest compounded
               annually. The Pension Plan is not subject to the requirements of the Employees Retirement
               Income Security Act of 1974.

               Benefits Provided

               Benefit provisions under the Pension Plan are established and may be amended by the
               Authority ERS’s Board of Trustees with the ratification from the Authority’s Governing Board.

               Retirement Benefits

               Service Retirement Allowance

               Any member is eligible for pension benefits of 75% of the member’s final average pay if the
               member retires with 30 years of creditable service. Members hired before January 1, 1993, are
               eligible for pension benefits from 62.5% to 72.5% of their final average pay if they retire with 25
               to 29 years of credited service. Effective January 1, 2015, active members who began working
               with the Authority on or after January 1, 1993, with age not less than 55 years and 30 years of
               creditable service, will be eligible for pension benefits from 62.5% to 72.5% of their final average
               pay if they retire at age of 50 to 54 years.




                                                      - 66 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                              Desc:
                            Exhibit J Page 71 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                                         Notes to the Financial Statements

                                    For the fiscal year ended June 30, 2020



Note 13 -   Employees’ Retirement Benefits – (continued)

            Pension Plan – (continued)

               Disability Retirement Allowance

               Any active member that has five years or more of credited service, or ten years or more, if he/she
               started to work at the Authority as of January 1, 1993, and his/her disability is not related to a
               labor accident, as certified by the State Insurance Fund Corporation of Puerto Rico, may retire
               with a disability pension requested by the Authority or by the member.

               Cost-of-Living Adjustment

               Cost of living increases in pension benefits are provided for retirees as of June 30, 1992, and
               automatic future cost of living increases every three years for current and future retirees.
               Increases effective July 1, 1992, to all pensions granted on or before June 30, 1990, are as follows:

               •   8% increase for the monthly pension up to $300.
               •   4% increase for the monthly pension between $300 and $600.
               •   2% increase for the monthly pension in excess of $600.

               The minimum monthly increase is $25, and the maximum is $50. Actuarial pensions are granted
               the minimum increase of $25 per month if they were granted on or before June 30, 1990. These
               increases are granted automatically every three years beginning July 1, 1992, or from the
               retirement date for all those who retired after June 30, 1990.

               Annual Salary Benefit (Retired or Death Benefit)

               A lump sum payment is available, equal to the salary earned during the last year at the time of
               retirement from active service or death in active service. The lump sum payment may be
               reduced in certain situations.

               Survivor Benefit

               The surviving spouses of retired members receiving a pension benefit will receive a life annuity
               equal to 30% of the annual pension payable to the members at the time of death subject to certain
               conditions.

               Retirees' Christmas Bonus

               Annual Christmas bonus of $400 is payable to all retirees.
                                                       - 67 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                               Desc:
                            Exhibit J Page 72 of 131
                                 Puerto Rico Electric Power Authority
                         (A Component Unit of the Commonwealth of Puerto Rico)

                                         Notes to the Financial Statements

                                    For the fiscal year ended June 30, 2020



Note 13 -   Employees’ Retirement Benefits – (continued)

            Pension Plan – (continued)

               Retirees' Summer Bonus

               A Summer bonus of $100 is payable to all current retirees.

               Funeral Benefit

               Up to $1,000 in funeral benefit.

               The Pension Plan’s provisions and benefits in effect as of June 30, 2020, are summarized as
               follows:

                  Hire date                       Prior to January 1, 1993       On or after January 1, 1993

                                                                                 75% is limited to $50,000 @
                                                  75% @ 30 years of service      30 years of service at full
                  Benefit formula                 at full retirement             retirement
                  Benefit vesting schedule        10 years’ service              10 years’ service
                  Benefit payments                Monthly for life               Monthly for life
                  Retirement age                  N/A                            55
                  Monthly benefits, as a % of     Varies by age                  Varies by age
                   eligible compensation          and years of service           and years of service
                  Required employee
                   contribution rates             9.06%                          11.00%
                  Required Authority
                   contribution rates             34.54%                         34.54%




                                     This space is intentionally left in blank




                                                       - 68 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                           Desc:
                            Exhibit J Page 73 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                                         Notes to the Financial Statements

                                      For the fiscal year ended June 30, 2020



Note 13 -   Employees’ Retirement Benefits – (continued)

            Pension Plan – (continued)

               Employees Covered

               As of the June 30, 2019 valuation date, the following members were covered by the benefit terms
               for the Pension Plan:

                                                                                                Number

                Retired participants and beneficiaries currently receiving benefits                12,568
                Terminated participants and beneficiaries entitled to benefits but not yet
                receiving benefits                                                                    124

                Active participants                                                                 5,542
                 Total                                                                             18,234


               Contributions

               The Authority's contribution rates are determined on an annual basis by the actuarial valuation
               and shall be effective on July 1, following notice of a change in the rate. Funding contributions
               for the Pension Plan are determined annually on an actuarial basis as of June 30 by the Authority
               ERS. The actuarially determined rate is the estimated amount necessary to finance the costs of
               benefits earned by employees during the year, with an additional amount to finance any
               unfunded accrued liability. The Authority’s contribution is calculated as the difference between
               the actuarial determined rate and the contribution rate of employees. For the fiscal year ended
               June 30, 2020, the Authority’s annual contribution was $241.9 million.

            B. Net Pension Liability

               The net pension liability as of June 30, 2020, was measured as of June 30, 2019, and the actuarial
               valuation date was June 30, 2019.

               Actuarial Assumptions

               The actuarial assumptions are based on recommended assumptions in the actuarial experience
               study conducted for the five-year period ended June 30, 2016. A summary of principal
               assumptions and methods used to determine the net pension liability is shown below.


                                                       - 69 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                               Desc:
                            Exhibit J Page 74 of 131
                                     Puerto Rico Electric Power Authority
                             (A Component Unit of the Commonwealth of Puerto Rico)

                                         Notes to the Financial Statements

                                      For the fiscal year ended June 30, 2020



Note 13 -   Employees’ Retirement Benefits – (continued)

            Pension Plan – (continued)

               The total pension liability was determined using the following actuarial assumptions:

                Valuation Date                                                          June 30, 2019
                Measurement Date                                                        June 30, 2019
                Reporting date                                                          June 30, 2020
                Single Equivalent Interest Rate
                 Long‑term expected rate of return                                              5.75%
                 Municipal Bond Index Rate                                                      2.79%
                Fiscal year in which Pension Plan’s
                 Fiduciary net position is projected to be
                 depleted from future benefits payments for
                 current members                                                                 2023


                Actuarial Assumptions:
                 Discount Rate                                                                  2.84%
                 Inflation                                                                      2.25%
                 Payroll Growth                                                                 0.00%
                 Salary Increase                                    2.5% to 7.25%, including inflation
                 Investment Rate of Return                           5.75%, net of expenses, including
                                                                                             inflation
                                                                    100% of employees, and wives are
                                                                       assumed to be 4 years younger
                 Percentage Married                                              than their husbands


               Projections of benefits for financial reporting purposes are based on the substantive plan (the
               plan as understood by the Authority and plan members) and include the types of benefits
               provided at the time of each valuation and the historical pattern of sharing of benefit costs
               between the Authority and plan members to that point. The methods and assumptions used
               include techniques that are designed to reduce the effects of short-term volatility in actuarial
               accrued liabilities and the actuarial value of assets, consistent with the long-term perspective of
               the calculations. The projection of future benefits for an ongoing plan involves estimates of the
               value of reported amounts and assumptions about the probability of occurrence of future events
               far into the future.




                                                       - 70 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                          Desc:
                            Exhibit J Page 75 of 131
                                 Puerto Rico Electric Power Authority
                         (A Component Unit of the Commonwealth of Puerto Rico)

                                         Notes to the Financial Statements

                                    For the fiscal year ended June 30, 2020



Note 13 -   Employees’ Retirement Benefits – (continued)

            Pension Plan – (continued)

               Mortality Assumptions

               The mortality rates were based on PUB 2010 Headcount-Weighted Median Mortality Table
               projected generationally using Scale MP-2019. This assumption measures the probabilities of
               each benefit payment being made after retirement.

               Changes of Benefit Terms

               The Pension Plan had no changes in benefit terms since the previous valuation.

               Discount Rate

               The discount rate used to measure the total pension liability was 2.84%. The projection of cash
               flows used to determine the discount rate assumed that members contribute the mandatory
               contribution rate, and the Authority will contribute 34.54% of closed group compensation. Based
               on those assumptions, the pension plan’s fiduciary net position was projected to be available to
               make all projected future benefit payments of current plan members until the plan year ending
               June 30, 2023. Therefore, the long term expected rate of return on pension plan investments of
               5.75% was applied to all periods of projected benefit payments through June 30, 2023, and the
               applicable municipal bond index rate of 2.79%, based on the S&P Municipal Bond 20 Year High
               Grade Rate Index as of June 30, 2019, was applied to all periods of projected benefit payments
               after June 30, 2023. The Single Equivalent Interest Rate (“SEIR”) of 2.84% that discounts the
               entire projected benefit stream to the same amount as the sum of the present values of the two
               separate benefit payments streams was used to determine the total pension liability as of June
               30, 2019.

               The long-term expected rate of return on the Authority ERS investments was determined using
               a log-normal distribution analysis in which best estimate ranges of expected future real rates of
               return (expected returns, net of the Authority ERS investment expense and inflation) are
               developed for each major asset class. These ranges are combined to produce the long-term
               expected rate of return by weighting the expected future real rates of return by the target asset
               allocation percentage and by adding expected inflation.




                                                       - 71 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                                      Desc:
                            Exhibit J Page 76 of 131
                                   Puerto Rico Electric Power Authority
                           (A Component Unit of the Commonwealth of Puerto Rico)

                                          Notes to the Financial Statements

                                        For the fiscal year ended June 30, 2020



Note 13 -   Employees’ Retirement Benefits – (continued)

            Pension Plan – (continued)

               The target asset allocation and best estimates of arithmetic real rates of return for each major
               asset class are summarized in the following table:



                                                                     Target              Long‑Term Expected
                              Asset Class                          Allocation             Real Rate of Return


               Core Bonds                                                30.00%                   1.45%
               U.S. Large Cap Equity                                     70.00%                   4.97%
                      Total                                             100.00%


            C. Changes in the Net Pension Liability

               The changes in the net pension liability for the Pension Plan follows (in thousands):

                                                                                      Increase/(Decrease)
                                                                                         Pension Plan
                                                                    Total Pension       Fiduciary Net       Net Pension
                                                                      Liability            Position          Liability

                Balance as of reporting period June 30, 2019         $ 5,765,887         $   1,198,566          4,567,321
                Changes for the year:
                 Service cost                                              82,860                    -            82,860
                 Interest                                                 171,460                    -           171,460
                Differences between expected                                                                           -
                 and actual experience                                     (1,958)                   -            (1,958)
                Changes in assumptions                                    339,551                   -             339,551
                Contributions ‑ employer                                        -             224,436            (224,436)
                Contributions ‑ employee                                        -              18,203             (18,203)
                Net investment income                                             -            34,440             (34,440)
                Benefit payments, including refunds                                                                     -
                 of employee contributions                               (288,482)           (288,482)                  -
                Administrative expenses                                           -              (409)                409
                Other changes                                                     -               303                (303)

                Net changes                                               303,431              (11,509)          314,940

                Balance as of reporing period June 30, 2020          $ 6,069,318         $   1,187,057      $   4,882,261

                                                         - 72 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                           Desc:
                            Exhibit J Page 77 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                                         Notes to the Financial Statements

                                     For the fiscal year ended June 30, 2020



Note 13 -   Employees’ Retirement Benefits – (continued)

            Pension Plan – (continued)

               Sensitivity of the Net Pension Liability to Changes in the Discount Rate

               The following presents the net pension liability of the Authority ERS, calculated using the
               discount rate of 2.84 percent, as well as what the Authority ERS net pension liability would be
               if it were calculated using a discount rate that is 1-percentage point lower (1.84 percent) or 1
               percentage point higher (3.84 percent) than the current rate (in thousands):

                                                   1% Decrease               Current         1% Increase
                     Discount Rate                        1.84%                    2.84%             3.84%
                     Net Pension Liability       $    5,814,624          $     4,882,261   $     4,133,299


               Pension Plan Fiduciary Net Position – Detailed information about pension plan’s fiduciary net
               position is available in the separately issued financial report of the Authority ERS.

            D. Changes in Assumptions

               The following were the changes in assumptions for the period ended June 30, 2019 (the
               “Measurement Date”):

                •   The discount rate used to determine the total pension liability was decreased from 3.05% to
                    2.84%.
                •   The municipal bond index rate decreased from 2.98% to 2.79%.
                •   The mortality rates assumptions were changed from PUB 2010 Head-Weighted Below-
                    Median Mortality Table projected generationally using Scale MP-2019 to PUB 2010
                    Headcount-Weighted Median Mortality Table projected generationally using Scale MP-
                    2019.

               For any change in total pension liability due to changes in actuarial assumptions, recognition of
               the change would be spread over the remaining life of the Authority ERS members.




                                               This space is intentionally left in blank




                                                       - 73 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                             Desc:
                            Exhibit J Page 78 of 131
                                 Puerto Rico Electric Power Authority
                         (A Component Unit of the Commonwealth of Puerto Rico)

                                         Notes to the Financial Statements

                                    For the fiscal year ended June 30, 2020



Note 13 -   Employees’ Retirement Benefits – (continued)

            Pension Plan – (continued)

            E. Pension Expense, Deferred Outflows of Resources and Deferred Inflows of Resources Related
               to Pensions

               For the fiscal year ended June 30, 2020, the Authority recognized pension expense of
               approximately $480.3 million, subject to Authority’s rights in the Title III case. On June 30, 2020,
               the Authority reported deferred outflows of resources and deferred inflows of resources related
               to pensions from the following sources (in thousands):

                Deferred outflows of resources:
                 Differences between expected and actual experience        $                      -
                 Employer contributions subsequent to the measurement date                  241,829
                 Changes of assumptions                                                     346,556
                   Total deferred outflows of resources                               $     588,385


                Deferred inflows of resources:
                 Changes in assumptions                                               $      58,020
                 Differences between expected and actual experience                          27,023
                 Net difference between projected and actual earnings
                  on pension plan investments                                                 6,623
                   Total deferred inflows of resources                                $      91,666


               Contributions of approximately $241.8 million were reported as deferred outflows of resources
               resulting from contributions made subsequent to the Measurement Date. Such contributions
               will reduce the net pension liability in fiscal year 2021. The amounts reported as deferred
               outflows of resources (other than the contributions after the measurement date and before year
               end) and deferred inflows of resources related to pensions will be recognized in pension expense
               as follows (in thousands):

                                   Year Ending June 30,                              Amount

                                              2021                               $      94,398
                                              2022                                     115,690
                                              2023                                        38,171
                                              2024                                         6,631
                                                                                 $    254,890

                                                       - 74 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                            Desc:
                            Exhibit J Page 79 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                                       Notes to the Financial Statements

                                     For the fiscal year ended June 30, 2020



Note 13 -   Employees’ Retirement Benefits – (continued)

            Other Post- Employment Benefits (“OPEB”)

            A. General Information about the OPEB Plan

               OPEB Plan Description

               The OPEB Plan is a single employer, defined benefit, healthcare plan where no assets are
               accumulated in a trust that meets the criteria in paragraph 4 of GASB Statement No. 75,
               “Accounting and Financial Reporting for Postemployment Benefits Other Than Pensions” and which
               is administered by the Authority.

               Benefits Provided

               Benefit provisions under the OPEB Plan are established and may be amended by the Authority’s
               Governing Board. The OPEB Plan for all retirees is capped at $300 per member per month for
               retirees under age 65 and $200 per member per month for retirees aged 65 and over. In the event
               the retiree dies, the OPEB Plan will revert to contributing $300 per month for surviving spouses
               under age 65 and $200 per month for surviving spouses aged 65 and over. The effective
               contribution made for surviving spouses under and over age 65 is effectively $0, since the OPEB
               Plan is reimbursed for its contribution to spouse coverage from the retiree’s pension.

               Membership

               Employees retiring on or after September 1, 2009, having accumulated at least 30 years of service
               and all retired employees that retired before September 1, 2009, regardless of length of
               employment, are eligible to participate in the OPEB Plan. To remain eligible for participation,
               Medicare eligible retired participants and their spouses must enroll in Medicare Part B at age
               65, or whenever eligible, at their own expense. The benefit provisions to retired employees are
               established and may be amended by the Authority.

               As of the valuation date, the following members were covered by the OPEB Plan:

                                                                                            Number
                Inactive members or beneficiaries currently receiving benefits                  8,135
                Inactive members entitled to but not yet receiving benefits                       -
                Active members                                                                  5,739
                 Total                                                                         13,874


                                                      - 75 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                               Desc:
                            Exhibit J Page 80 of 131
                                 Puerto Rico Electric Power Authority
                         (A Component Unit of the Commonwealth of Puerto Rico)

                                        Notes to the Financial Statements

                                      For the fiscal year ended June 30, 2020



Note 13 -   Employees’ Retirement Benefits – (continued)

            Other Post- Employment Benefits (“OPEB”) – (continued)

               Funding Policy and Annual OPEB Cost

               The OPEB Plan is funded on a “pay-as-you-go” basis. The contribution requirements of OPEB
               Plan members and the Authority are established and may be amended by the Authority.

            B. Total OPEB Liability

               The Authority’s total OPEB liability (“TOL”) as of June 30, 2020, was measured as of June 30,
               2019, and was determined by an actuarial valuation as of that date.

               Actuarial Assumptions and other inputs

               The TOL was determined using the following actuarial assumptions and other inputs:

                Valuation Date                                                                    June 30, 2019
                Measurement Date (MD)                                                             June 30, 2019
                Reporting date                                                                    June 30, 2020
                Actuarial Assumptions
                 Inflation                                                                                2.25%
                 Real wage growth                                                                         0.25%
                 Wage inflation                                                                          2.50%
                 Salary Increase                                             2.5% to 7.25%, including inflation
                 Discount rate:
                   Municipal Bond Index rate at MD                                                        2.79%
                                                                             100% of employees, and wives are
                                                                                assumed to be 4 years younger
                 Percentage Married                                                        than their husbands
                                                                              All future retirees are assumed to
                 Future participation and coverage elections                       participate in the OPEB Plan
                 Future retirees spouse coverage after death                                               75%




                                               This space is intentionally left in blank



                                                        - 76 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                                Desc:
                            Exhibit J Page 81 of 131
                                    Puerto Rico Electric Power Authority
                            (A Component Unit of the Commonwealth of Puerto Rico)

                                        Notes to the Financial Statements

                                     For the fiscal year ended June 30, 2020



Note 13 -   Employees’ Retirement Benefits – (continued)

            Other Post- Employment Benefits (“OPEB”) – (continued)

               The discount rate was based on the S&P Municipal Bond 20 Year High Grade Rate Index as of
               June 30, 2019.

               Mortality rates were based on PUB 2010 Headcount-Weighted Median Mortality Table projected
               generationally using Scale MP-2019.

               The Authority’s OPEB Plan has no health care trends.

               The remaining actuarial assumptions used in the valuation for the reporting period ended June
               30, 2020, were based on the results of an actuarial experience study conducted for the five-year
               period ended June 30, 2016.

               The OPEB Plan had no changes in benefit terms since the previous valuation.

            C. Changes in the Total OPEB liability

               The changes in TOL are as follows (in thousands):

                Total OPEB liability as of reporting period June 30, 2019                  $   360,877
                Changes for the year:
                 Service cost                                                                    3,059
                 Interest                                                                       10,567
                 Difference between expected and actual experience                                   -
                 Changes of assumptions or other inputs                                         14,252
                 Benefits payments                                                             (12,570)
                 Net changes                                                                    15,308
                 Total OPEB liability as of reporting period June 30, 2020                 $   376,185


               Changes of assumptions and other inputs reflect a change in the discount rate from 2.98% to
               2.79%. The mortality rate assumptions were changed from PUB 2010 Head-Weighted Below-
               Median Mortality Table projected generationally using Scale MP-2019 to PUB 2010 Head-
               Weighted Median Mortality Table projected generationally using Scale MP-2019.

                                               This space is intentionally left in blank


                                                       - 77 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                               Desc:
                            Exhibit J Page 82 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                                       Notes to the Financial Statements

                                     For the fiscal year ended June 30, 2020



Note 13 -   Employees’ Retirement Benefits – (continued)

            Other Post- Employment Benefits (“OPEB”) – (continued)

               Sensitivity of the Total OPEB Liability to Changes in the Discount Rate

               The following presents the TOL of the OPEB Plan, calculated using the discount rate of 2.79
               percent, as well as what the OPEB Plan’s TOL would be if it were calculated using a discount
               rate that is 1 percentage point lower (1.79 percent) or 1 percentage point higher (3.79 percent)
               than the current rate (in thousands):

                                                    1% Decrease             Current            1% Increase
                        Discount Rate                      1.79%                 2.79%                3.79%
                        Total OPEB Liability      $      426,560        $      376,185       $      335,147


            D. OPEB Expense, Deferred Outflows of Resources and Deferred Inflows of Resources Related to
               OPEB

               For the fiscal year ended June 30, 2020, the Authority recognized an OPEB expense of
               approximately $8.5 million. On June 30, 2020, the Authority reported deferred outflows of
               resources and deferred inflows of resources related to OPEB from the following sources (in
               thousands):

                Deferred outflows of resources:
                 Benefit payments made subsequent to the measurement date                $       7,937
                 Changes of assumptions                                                         13,582
                   Total deferred outflows of resources                                  $      21,519


                Deferred inflows of resources:
                 Differences between expected and actual experience                      $       9,018
                 Changes of assumptions                                                          3,870
                   Total deferred inflows of resources                                   $      12,888




                                      This space is intentionally left in blank




                                                       - 78 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                          Desc:
                            Exhibit J Page 83 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                                       Notes to the Financial Statements

                                    For the fiscal year ended June 30, 2020



Note 13 -   Employees’ Retirement Benefits – (continued)

            Other Post- Employment Benefits (“OPEB”) – (continued)

               Benefit payments of approximately $7.9 million were reported as deferred outflows of resources
               resulting from payments made subsequent to June 30, 2019, the Measurement Date. Such benefit
               payments will reduce the total OPEB liability in fiscal year 2021. The amounts reported as
               deferred outflows of resources (other than the benefits paid after the measurement date and
               before year end) and deferred inflows of resources related to OPEB will be recognized in OPEB
               expense as follows (in thousands):

                            Measurement period
                               ended June 30,                                     Amount
                                    2020                                      $     (3,678)
                                    2021                                             2,808
                                    2022                                             1,564
                                                                              $        694

Note 14 -   Revenues

            PREB Orders

            Act 57-2014 authorizes the PREB to approve electric rates proposed by the Authority, among other
            matters. The Authority has the obligation to maintain balancing accounts to record differences
            between certain costs incurred and amounts billed through certain rates and riders approved to
            recover such costs. These balancing accounts are later reviewed and evaluated by the PREB to adjust
            the current rates with balancing adjustments that will allow the Authority to collect or reimburse
            clients for such overages/shortages.

            On June 27, 2019, the PREB ordered the Authority to prospectively implement a total rate reduction
            of approximately $15.3 million, net of several rider adjustments, related to charges collected from
            its clients during each of the years ended June 2017, 2018, and 2019, to be recovered/paid during
            fiscal year 2020. This order included, among other reconciling charges, the differential between the
            Provisional Rate of $1.299 cents/kWh approved on June 24, 2016, and the Permanent Rate of $0.9948
            cents/kWh implemented on May 1, 2019, as part of the new tariff structure. In addition to the
            implementation of the Permanent Rate, this new tariff structure includes the implementation of new
            riders to recover the cost of several subsidies and the CILT. These amounts receivable/payable are
            recognized when billed.

                                                     - 79 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                            Desc:
                            Exhibit J Page 84 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                                       Notes to the Financial Statements

                                     For the fiscal year ended June 30, 2020



Note 14 -   Revenues – (continued)

            Major Clients and Related Parties

            Net operating revenues from major clients and related parties during the fiscal year ended June 30,
            2020, are as follows (in thousands):

            Commonwealth of Puerto Rico and components units                   $ 459,477
            Municipalities                                                        69,986

            Total                                                              $ 529,463

            Financial Assistance Agreement between Puerto Rico Infrastructure Financing Authority and the
            Authority

            On July 29, 2018, the Authority and Puerto Rico Infrastructure Financing Authority, acting on behalf
            of the Government, entered into a Financial Assistance Agreement under which the Authority
            received a grant award notification of $20.8 million to finance the cost of certain specified projects
            under the Government’s Water Pollution Control Revolving Fund Program, established in
            accordance with the Clean Water Act.

            The Authority will apply the proceeds of the grant to reimburse itself for allowable costs of the
            approved projects. Per GASB Statement No. 33, "Accounting and Financial Reporting for Nonexchange
            Transactions", assets and revenues are recognized by the Authority when allowable costs are
            incurred or resources are received, whichever is first. As of June 30, 2020, no grant funds had yet
            been received by the Authority.

Note 15 -   Leases

            Operating Lease Agreement

            On April 8, 2016, PREPA Net entered into a lease agreement covering certain space in one of its
            buildings for a term of 20 years. The lease agreement calls for PREPA Net to receive monthly rental
            payments of approximately $27.9 thousand. The agreement provides for a rent-free period of 150
            days, commencing on the date of tenant shall accept the possession of the premises. Effective date
            of the operating lease is November 4, 2016.

            PREPA Net and the Authority had other lease agreements for periods of less than one year. Rental
            income for the fiscal year ended June 30, 2020, amount to approximately $636 thousands.


                                                      - 80 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                          Desc:
                            Exhibit J Page 85 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                                       Notes to the Financial Statements

                                    For the fiscal year ended June 30, 2020



Note 15 -   Leases – (continued)

            Operating Lease Agreement – (continued)

            The schedule of the future minimum annual rental income thereon as of June 30, 2020, are as follows
            (in thousands):

                                     Year Ending
                                        June 30,                               Amount

                                          2021                                        335
                                          2022                                        335
                                          2023                                        335
                                          2024                                        335
                                          2025                                        335
                                      Thereafter                                    3,883
                                         Total                                 $    5,558


            Operating Lease Commitments

            The Authority has entered in rental lease commitments for the use of local buildings and land. These
            agreements are scheduled to expire from 2021 to 2025. The Authority also has a long-term terminal
            service agreement which includes the rental of six (6) bunker C tanks. The tanks are for the use of
            the Authority and for the use of the Authority's fuel suppliers through the inception of rental
            agreements entered into as subleases. The contract term is for nineteen months, starting on June 10,
            2020, and ending in December 2021. The contract is a non-cancelable lease with future minimum
            lease payments. All fees remain in effect for the entire term of the agreement. For the fiscal year
            2020, the minimum lease payment is $22.7 million and $11.3 million for 2021. From the total of six
            (6) bunker C tanks, three are subleased under a noncancellable one year contract, with an option to
            renew. There are no minimum rentals to be received in the future under these subleases, since their
            lease agreements are cancelable within a one-year period.

            PREPA Net leases a communication station under a non-cancelable lease agreement payable by
            PREPA Net in monthly installments of approximately $36.5 thousand. On September 11, 2020, this
            lease agreement was amended in order to increase PREPA Net’s lease payments by 10% beginning
            January 1, 2022, and to extend the lease term to December 31, 2022.




                                                     - 81 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                            Desc:
                            Exhibit J Page 86 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                                       Notes to the Financial Statements

                                     For the fiscal year ended June 30, 2020



Note 15 -   Leases – (continued)

            Operating Lease Commitments – (continued)

            For the fiscal year ended June 30, 2020, consolidated rent expense amounted to approximately $3.8
            million and is included as general and administrative expenses in the accompanying statement of
            revenues, expenses, and changes in net position (deficit).

            Minimum annual rental expenses for the five fiscal years subsequent to June 30, 2020, are as follows
            (in thousands):

                               Year Ending June
                                      30,                              Amount

                                      2021                            $    24,432
                                      2022                                 12,601
                                      2023                                    788
                                      2024                                    544
                                      2025                                    250
                                      Total                           $    38,615

Note 16 -   Risk Management

            General

            The Authority purchases commercial insurance covering all risk property (including catastrophic
            risks), business interruption and extra expense (excluding transmission and distribution lines),
            boiler and machinery, general liability, aviation, and financial lines programs. Commercial
            insurance for the Authority’s T&D System is not available. The insurance program structure and
            coverage for the fiscal year 2020 remain similar to those from prior years for the major categories of
            risk. During fiscal year 2021, the Authority’s property policy structure and coverage related to the
            Authority’s commercial property insurance changed. Coverage now consists of a sixty percent
            indemnity (based on the amount (subject to deductibles and limits) to restore the insured assets to
            their pre-damage state) and a forty percent parametric under which the fixed amount of the payout
            is determined by a measure of the occurrence (such as, for example, a category 3 or greater hurricane
            occurring during the term of the policy), instead of the actual damage sustained by such occurrence.
            The Authority will also have a higher retention in the upper tier limits of the property insurance
            program.


                                                      - 82 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                           Desc:
                            Exhibit J Page 87 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                                       Notes to the Financial Statements

                                    For the fiscal year ended June 30, 2020



Note 16 -   Risk Management – (continued)

            Self-Insurance Health Program

            The self-funded health care program provides benefits coverage for all active Authority employees
            regarding dental, pharmacy, and physical/mental health care needs. Changes in the balances of the
            health insurance program (self-insurance risk) incurred but not recorded were as follows (in
            thousands):

                     Year Ended        Beginning                                          Ending
                      June 30,          Balance         Expense         Payments          Balance

                         2019           $ 3,652          $ 36,290          $ (36,984)      $ 2,958


                         2020           $ 2,958          $ 27,153          $ (27,881)      $ 2,230

            This amount is included in accounts payable and accrued liabilities in the statement of net position
            (deficit).


Note 17 -   Natural Disasters and Global Pandemic

            September 2017 Hurricane María’s Impact on Electric System

            On September 20, 2017, Hurricane María made landfall in Puerto Rico, bringing sustained winds of
            155 miles per hour and significant rainfall over a 30-hour period. Hurricane María crossed Puerto
            Rico diagonally, entering through the Southeast and exiting through the Northwest. The hurricane
            caused catastrophic destruction in Puerto Rico, including severe damage to the electric power
            system. Two weeks earlier, Hurricane Irma passed just north of Puerto Rico, substantially impairing
            portions of the Authority’s already weak infrastructure.

            January 2020’s Earthquakes Impact on Electric System and Costa Sur Power Plant

            On December 28, 2019, the first of many earthquakes shook Puerto Rico. On January 8, 2020,
            President Trump issued an Emergency Declaration for Puerto Rico, wherein direct federal assistance
            was granted to aid Puerto Rico in the preliminary damage assessments, after Puerto Rico
            experienced a 5.8 magnitude earthquake on January 6, 2020, and a 6.4 magnitude earthquake on the
            following day.




                                                     - 83 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                             Desc:
                            Exhibit J Page 88 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                                        Notes to the Financial Statements

                                     For the fiscal year ended June 30, 2020



Note 17 -   Natural Disasters and Global Pandemic – (continued)

            This seismic activity caused significant damage in the southern region of the Island. Since then, there
            have been more than 500 earthquakes of magnitude 2 or greater, primarily in the same region. A
            disaster declaration for federal individual assistance covering Guánica, Guayanilla, Peñuelas,
            Ponce, Utuado and a federal public assistance declaration covering Guánica, Guayanilla, Peñuelas,
            Ponce, San Germán and Yauco were issued on January 16, 2020. Since then, 9 additional
            municipalities have been added to the individual assistance program and 8 additional
            municipalities to the public assistance program.

            Two units of the Costa Sur power plant in Guayanilla were severely damaged in the early January
            2020’s earthquakes. The damaged units provide approximately 25% of the Authority’s baseload
            generation capacity. Damage claims are currently being prepared with the support of the insurance
            company.


            COVID-19 Effects on the Authority’s Operations

            On March 11, 2020, the World Health Organization declared the COVID-19 as a global pandemic.
            The COVID-19 outbreak started disrupting supply chains and affecting production and sales across
            a range of industries and businesses in Puerto Rico and has contributed to significant price inflation.
            While the disruption was expected to be temporary, there is considerable uncertainty around the
            duration of the impact. Therefore, the extent of the impact of COVID-19 on the Authority’s
            operational and financial performance will depend on certain developments, including the duration
            and spread of the outbreak and the supply chain, inflation and other impacts on the Authority’s
            customers, employees and vendors all of which are uncertain and still cannot be predicted. See
            Note 20.



            Financial impact of the Natural Disasters and Global Pandemic

            The 2017’s Hurricanes and the January 2020’s Earthquakes caused significant infrastructure damage
            and losses to the Authority’s power grid and other assets.

            During the fiscal year ended June 30, 2020, the Authority recognized revenues of approximately
            $40.9 million, in approved grant awards from FEMA, in accordance with guidance established by
            GASB Statement No. 33, “Accounting and Financial Reporting for Non-Exchange Transactions”. In
            addition, a total amount of approximately $29.2 million were collected from FEMA from claims
            recognized during previous fiscal years. Approximately $157.6 million of accounts receivable from




                                                      - 84 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                          Desc:
                            Exhibit J Page 89 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                                      Notes to the Financial Statements

                                    For the fiscal year ended June 30, 2020



Note 17 -   Natural Disasters and Global Pandemic – (continued)

            Financial impact of the Natural Disasters and Global Pandemic

            FEMA, as well as a restated allowance of $26.7 million are presented in the accompanying statement
            of net position (deficit). Also, the Authority capitalized approximately $16.1 million in new
            infrastructure repairs.

            Emergency repairs post the Hurricanes and the January 2020’s Earthquakes of approximately $286.6
            million were incurred and are presented net of insurance recoveries of $74 million in the
            accompanying statement of revenues, expenses, and changes in net position (deficit).

            In addition, during the fiscal year ended June 30, 2020, out of the total capital contributions of
            approximately $7.5 million presented in the accompanying statement of revenues, expenses and
            changes in net position (deficit), approximately $6 million represented donations received from the
            USACE related to the natural disasters.

            On May 22, 2020, PREB approved the Authority’s expenditure of $25.2 million to repair the Costa
            Sur damaged units. PREB also allowed the Authority to obligate an additional $15 million for the
            repairs. See Note 20.


Note 18 -   Transformation of the Authority’s System

            Transformation of the Transmission and Distribution (“T&D”) System of the Authority

            On May 15, 2020, the Partnership Committee (the “Partnership Committee”) established by the
            Puerto Rico Public-Private Partnership Authority (the “P3 Authority”) pursuant to Act 120-2018, as
            amended, recommended to the board of directors of the P3 Authority that the contract (the “T&D
            Contract”) for the management, operation, maintenance, repair, restoration, and replacement of the
            T&D System (the “Project”) be awarded to LUMA Energy, LLC (“LUMA”).

            On June 22, 2020, the Governing Board and the Government of Puerto Rico each approved the T&D
            Contract, and the T&D Contract was signed by the Authority, the P3 Authority and LUMA. On
            June 1, 2021, pursuant to the T&D Contract, LUMA took over the management and operation of the
            T&D System. Refer to Note 20.



                                           This space is intentionally left in blank



                                                     - 85 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                           Desc:
                            Exhibit J Page 90 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                                       Notes to the Financial Statements

                                     For the fiscal year ended June 30, 2020



Note 18 -   Transformation of the Authority’s System-(continued)

            Transformation of the Generation System of the Authority

            On April 16, 2019, the P3 Authority, in collaboration with the Authority, requested statements of
            qualifications (“SOQs”) from companies and consortia interested in developing, constructing,
            managing and operating new mobile or fixed, flexible, distributed generation units (or a
            combination thereof) to be located at various locations across Puerto Rico (the “Generation Units”),
            pursuant to a twenty-five-year power purchase and operating agreement.

            In addition, on July 12, 2019, P3 Authority, in collaboration with the Authority, solicited SOQs from
            companies and consortia interested in providing generation capacity to replace existing generation
            through a new facility at or adjacent to the existing Palo Seco power plant, pursuant to a long-term
            public-private partnership contract. On June 10, 2020, the P3 Authority selected the shortlisted
            respondents qualified to participate as proponents in the request for proposals. See section
            "Transformation of the Authority's Generation" in Note 20.




                                            This space is intentionally left in blank




                                                      - 86 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                                     Desc:
                            Exhibit J Page 91 of 131
                                      Puerto Rico Electric Power Authority
                              (A Component Unit of the Commonwealth of Puerto Rico)

                                             Notes to the Financial Statements

                                           For the fiscal year ended June 30, 2020



Note 19 -   Commitments, Contingencies and Other Obligations

            Commitments

            Power Purchase Agreements

            Power purchase agreements as of June 30, 2020, were as follows (in thousands):

                                                                   Authority                Capacity   Outstanding
                                                                       Shares     Type      (MWs)      Commitment
            AES Puerto Rico                                            100%       Coal       454.3     $   2,165,885
            EcoEléctrica                                               100%       Gas         507           383,518
            Humacao Solar Project, LLC                                 100%     Renewable     40            284,710
            Pattern Santa Isabel, LLC                                  100%     Renewable     95            356,286
            Oriana Energy, LLC (Yarotek)                               100%     Renewable     45            341,425
            San Fermín Solar Farm, LLC                                 100%     Renewable     20            124,699
            AES Ilumina, LLC                                           100%     Renewable     20            111,211
            Punta Lima Wind Farm, LLC                                  100%     Renewable     26            101,394
            Horizon Energy, LLC                                        100%     Renewable     10            105,244
            Coto Laurel Solar Farm, Inc.                               100%     Renewable     10             62,681
            Landfill Gas Technologies of Fajardo, LLC (Toa Baja)       100%     Renewable      2             13,501
            Windmar Renewable Energy, Inc.                             100%     Renewable      2             12,413
            Landfill Gas Technologies of Fajardo, LLC (Fajardo)        100%     Renewable      2              7,338


            Total                                                                                      $   4,070,305



            The Authority does not have ownership of any assets related to these agreements. As costs are
            incurred each year, they are recorded as purchased power expense. During the fiscal year ended
            June 30, 2020, the Authority recorded as expense $732.9 million for its purchased power
            commitments. Renewable Energy projects usually include a pricing component related to the energy
            exported to the grid, and a pricing component related to the renewable energy credits (“RECs”)
            associated with the exported energy. Only the two Landfill Gas projects include the REC transfer
            without an additional charge. The purchase power agreements are scheduled to expire from 2022
            to 2045. The outstanding commitment in the table above is a projected cost based on the different
            variables included in the agreed upon terms throughout the remaining duration of the power
            purchase agreements. In accordance with the Authority's current Fiscal Plan, the Authority has
            renegotiated several of the power purchase operating agreements ("PPOAs") to procure a reduction
            in their current prices and to assume or reject agreements in the Authority’s Title III case. See Note
            20.




                                                              - 87 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                             Desc:
                            Exhibit J Page 92 of 131
                                    Puerto Rico Electric Power Authority
                            (A Component Unit of the Commonwealth of Puerto Rico)

                                        Notes to the Financial Statements

                                     For the fiscal year ended June 30, 2020



Note 19 -   Commitments, Contingencies and Other Obligations-(continued)

            Commitments-(continued)

            Construction and Other Commitments

            As of June 30, 2020, the Authority has commitments of approximately $823 million in active
            construction, maintenance, and engineering services contracts.

            Contingencies

            Legal Contingencies

            General

            The Authority is a defendant or codefendant in numerous legal proceedings, including labor related
            claims, claims for damages due to electrified wires, failure to supply power and fluctuations in the
            power supply. An accrued liability of approximately $264 million to cover such exposure is included
            in the accompanying statement of net position (deficit).

            As disclosed in Note 3, on July 2, 2017, the Oversight Board filed the Title III Petition. Accordingly,
            claims against the Authority for the period prior to July 2, 2017, have been stayed until the Title III
            stay is lifted pursuant to PROMESA. Most of these claims will be subject to objection in the Title III
            case and will likely be deemed a pre-petition unsecured claim subject to impairment in the
            Authority’s Title III case.

            Under certain circumstances, as provided in Act No. 104 of June 29, 1955, as amended (“Act No.
            104”), the Commonwealth may provide its officers and employees, including directors, executive
            directors, and employees of public corporations and government component units and mayors of
            the municipalities of the Commonwealth, with legal representation, as well as assume the payment
            of any judgment that may be entered against them. There is no limitation on the amount of the
            judgment that may be paid under the provisions of Act No. 104 in cases before federal court, but in
            all other cases the Secretary of Justice of the Commonwealth may determine whether, and to what
            extent, the Commonwealth will assume payment of such judgment. Although the Authority’s
            directors, executive director, and employees are covered by Act No. 104’s provisions Act No. 104’s
            Article 19 requires the Authority to cover the costs associated with judgments, expenses, and



                                             This space is intentionally left in blank



                                                       - 88 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                           Desc:
                            Exhibit J Page 93 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                                       Notes to the Financial Statements

                                     For the fiscal year ended June 30, 2020



Note 19 -   Commitments, Contingencies and Other Obligations – (continued)

            Contingencies – (continued)

            Legal Contingencies – (continued)

            attorneys’ fees incurred by the Commonwealth in the legal representation of the Authority’s
            directors, executive director, and employees. To the extent the Authority is unable to cover these
            costs and expenses, the Authority would be required to reimburse the Commonwealth from future
            revenues, as provided by the Secretary of the Treasury of the Commonwealth in consultation with
            the Authority’s board of directors.

            Labor Related Claims

            •   Excess Vacation License Claim
                In 1999, Unión de Trabajadores de la Industria Eléctrica y Riego (“UTIER”) filed a claim against
                the Authority with the Bureau of Conciliation and Arbitrage of the Puerto Rico Department of
                Labor and Human Resources (“PRDLegLHR”) for the accrued vacation balances over 450 hours
                based on the ten-year period beginning July 24, 1989. On September 26, 2012, a PRDLegLHR
                arbitrator resolved that the claim was applicable to all of UTIER’s membership and ordered the
                Authority to pay the following:

                a) Two times the corresponding salary for the vacation day balances in excess of 60 days that
                   the union member employees had or have since August 1, 1995, until the date of the decision
                   based on Act No. 84 of 1995 and Act 180 of 1998;

                b) One-half of the aforementioned amount as a penalty, plus the legal interest since the day of
                   the decision; and

                c) 10% of the total amount for attorneys’ fees.

                On May 18, 2015, the Authority filed a suit to vacate PRDLegLHR’s arbitration award in the San
                Juan Court of First Instance. On April 18, 2016, the Court ruled against the Authority and
                dismissed the Authority’s case. On May 20, 2016, the Authority appealed the dismissal to the
                Puerto Rico Court of Appeals. The appeal was automatically stayed as a result of the filing of
                the Title III Petition, and on November 17, 2017, the Court of Appeals issued a ruling confirming
                the stay of the proceedings. Management’s estimate of loss contingency is accounted for in the
                accompanying financial statements.




                                                      - 89 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                           Desc:
                            Exhibit J Page 94 of 131
                                   Puerto Rico Electric Power Authority
                           (A Component Unit of the Commonwealth of Puerto Rico)

                                        Notes to the Financial Statements

                                     For the fiscal year ended June 30, 2020



Note 19 -   Commitments, Contingencies and Other Obligations – (continued)

            Contingencies – (continued)

            Legal Contingencies – (continued)

            Labor Related Claims – (continued)

            •   Christmas Bonus

                On December 17, 2014, UTIER filed a claim against the Authority with the Puerto Rico Labor
                Relations Board (“PRLRB”) due to the Authority's decision to reduce employee Christmas
                bonuses due in December 2014 to approximately $600, in accordance with Article 11 of Act 66
                of June 14, 2014. UTIER claimed that, as of June 30, 2014, the December 2014 Christmas bonus
                was already earned. On May 31, 2017, the Hearing Officer issued a recommendation to the
                PRLRB that the Authority should be ordered to pay the amount by which the Christmas bonus
                was reduced in December 2014.

                On July 31, 2017, the Authority informed PRLRB that the Title III stay was in effect due to the
                filing of the Title III Petition. Thereafter, the Puerto Rico Supreme Court ordered PRLRB to
                evaluate, on a case-by-case basis, all monetary claims where the Authority is the defendant, to
                determine whether or not the cases are stayed under PROMESA. After the Title III stay is lifted,
                should the Authority not succeed in its defense, management has estimated a probable loss,
                including penalties, which is recorded as a liability in the statement of net position (deficit).

                In 2014, a group of the Authority’s management employees filed with the Public Service Appeals
                Commission (“PSAC”) a claim against the Authority related to the December 2014 Christmas
                bonus, which was reduced to $600, in accordance with Article 11 of Act 66 of June 14, 2014. The
                Commission has not issued a resolution regarding this matter.

                Some of these cases have been consolidated by the PSAC on the basis of the year in which the
                bonus is claimed. The respective motions to assume legal representation for the Authority have
                been filed, but the PSAC has not yet ruled on all of them. The respective motions to stay because
                of the Title III Petition have been filed, but the PSAC has not yet ruled on all of them.




                                                 This space is intentionally left in blank




                                                         - 90 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                           Desc:
                            Exhibit J Page 95 of 131
                                   Puerto Rico Electric Power Authority
                           (A Component Unit of the Commonwealth of Puerto Rico)

                                        Notes to the Financial Statements

                                     For the fiscal year ended June 30, 2020



Note 19 -   Commitments, Contingencies and Other Obligations – (continued)

            Contingencies – (continued)

            Legal Contingencies – (continued)

            Labor Related Claims – (continued)



            •   Re Employment Bargaining Agreement Violations

                In May 2010, UTIER submitted to the PRDLHR a total of 171 claims against the Authority, for
                violations of the collective bargaining agreement. Around this time, the Authority recruited new
                employees, and previously displaced emergency employees were not considered for these roles,
                pursuant to the UTIER collective bargaining agreement. The arbitration hearing was held on
                May 14, 2010. On June 18, 2013, the Arbitrator concluded that the Authority violated the
                collective bargaining agreement, because it did not give priority to displaced employees before
                hiring new employees. The Authority was ordered to pay all of the salaries that would have
                been earned by the previously displaced employees from the date the new employees were
                hired. Management’s estimate of loss contingency has been accounted for in the accompanying
                financial statements. The case has been stayed due to the Title III Petition.

            •   Mealtime Penalty Claim

                On December 31, 1997, Unión Insular de Trabajadores Industriales y Construcciones Eléctricas
                (“UITICE”) and the Authority signed a stipulation in accordance with Act 41 of 1990. Through
                this stipulation, the Authority would pay a penalty for work performed during an agreed upon
                mealtime period from the time Act 41 of 1990 became effective until the date of the stipulation.
                After the agreement, the Puerto Rico Supreme Court resolved another case in which it stated
                that workers’ right to a mealtime period existed since 1974. Thereafter, UITICE requested an
                Arbitrator with jurisdiction over the case provide retroactive relief in accordance with the
                Supreme Court's decision.



                On July 7, 2000, the PRDLHR issued a new decision in which it determined that the stipulation
                signed on December 31, 1997, was not final, and determined that the payment should be
                retroactive, as per Supreme Court’s decision. On June 30, 2017, the parties signed a new
                stipulation to comply with the court order. The case has been stayed as a result of the filing of
                the Title III Petition. Management’s estimate of loss contingency has been accounted for in the
                accompanying financial statements.

                                                      - 91 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                            Desc:
                            Exhibit J Page 96 of 131
                                   Puerto Rico Electric Power Authority
                           (A Component Unit of the Commonwealth of Puerto Rico)

                                        Notes to the Financial Statements

                                     For the fiscal year ended June 30, 2020



Note 19 -   Commitments, Contingencies and Other Obligations – (continued)

            Contingencies – (continued)

            Legal Contingencies – (continued)

            Labor Related Claims – (continued)

            •   Other Cases Related to Collective Bargaining Agreement Matters

                In 2007, UTIER filed with PRLRB a claim against the Authority because of multiple alleged
                violations to collective bargaining agreement provisions by the Authority from December 11,
                2006, through August 23, 2008. These alleged violations include issues regarding work
                schedules, daily relief time for on-duty employees, and publication of available job positions
                within the Authority.

                On April 23, 2014, PRLRB resolved that the relevant collective bargain agreement provisions at
                issue should have been implemented during the period at issue. On July 16, 2014, the Authority
                appealed this decision to Puerto Rico Court of Appeals. The process to determine payment
                amount was stayed as a result of the filing of the Title III Petition. Management’s estimate of
                loss contingency has been accounted for in the accompanying financial statements.

            CAPECO Litigation

            In 2009, a large fire at an industrial facility for the storage of fuel and diesel products owned by
            CAPECO caused major damage to surrounding areas. The Authority stored some of its fuel at this
            facility. In the aftermath of the fire, numerous claims were filed against CAPECO. Some of the
            plaintiffs included the Authority as a defendant in these suits, alleging that the Authority failed in
            its duty (as the owner of fuel stored at the site) to properly monitor CAPECO’s operations in the
            storage facility. On August 12, 2010, CAPECO filed for bankruptcy. Claims against the Authority
            have been stayed due to the Title III Petition. This loss contingency does not meet the probable
            criteria, and no liability has been recorded in the accompanying statement of net position (deficit)
            related to this contingency.




                                             This space is intentionally left in blank




                                                       - 92 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                              Desc:
                            Exhibit J Page 97 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                                          Notes to the Financial Statements

                                     For the fiscal year ended June 30, 2020



Note 19 -   Commitments, Contingencies and Other Obligations – (continued)

            Contingencies – (continued)

            Legal Contingencies – (continued)

            Consumer Billing Litigation

            •   Ismael Marrero, ET AL. V. The Authority, ET AL.

                This is a class action lawsuit against the Authority, William A. Clark, Edwin Rodríguez, and
                César Torres, as well as several laboratories, and oil supply companies. The plaintiffs claim that
                the defendants entered into a RICO conspiracy whereby the Authority paid for noncompliant
                fuel oil at compliant fuel oil prices, in exchange for kickbacks to the individual defendants.
                Plaintiffs further alleged that they were overcharged under monthly electricity invoices as a
                result of the alleged RICO conspiracy.

                The District Court bifurcated the case and, subsequently, certified the class. Defendants
                appealed the decision. Class certification was affirmed by the U.S Court of Appeals for the First
                Circuit, but the appeal petition was denied. The case is currently stayed. The Oversight Board’s
                special claims committee (“SCC”) and the unsecured creditors committee (“UCC”) as co-
                plaintiff trustees on behalf of the Authority filed an avoidance action with the Title III Court and
                are currently in the avoidance action. The SCC, UCC and the vendor defendants stipulated to
                the stay being lifted for the limited purpose of briefing and determination of motions to dismiss
                or judgment on the pleadings. Those motions are being briefed. Discovery in the avoidance
                action remains stayed. On February 8, 2019 , plaintiffs filed a motion in the District Court to lift
                stay as to all defendants except the Authority. On May 9, 2019, the petition was denied.

                The Authority will litigate the case vigorously, defending the merits phase of the case and
                denying all allegations against it. Plaintiffs are not claiming at this time a specific amount of
                damages from the Authority. Management’s estimate of loss contingency has been accounted
                for in the accompanying financial statements.




                                              This space is intentionally left in blank




                                                        - 93 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                                Desc:
                            Exhibit J Page 98 of 131
                                   Puerto Rico Electric Power Authority
                           (A Component Unit of the Commonwealth of Puerto Rico)

                                        Notes to the Financial Statements

                                      For the fiscal year ended June 30, 2020



Note 19 -   Commitments, Contingencies and Other Obligations – (continued)

            Contingencies – (continued)

            Legal Contingencies – (continued)

            Consumer Billing Litigation – (continued)

            •   Pedro Santiago V. AEE, ET AL.

                The case of Pedro Santiago v. AEE, et al., Civil No. KPE20160618, is a consumer class action
                against the Authority under 32 L.P.R.A. § 3341. A proposed class of plaintiffs, all of whom are
                residential energy consumers, are challenging the fuel adjustment charge and the purchase of
                energy charge on various grounds, including breach of contract claims. Plaintiffs also claim
                unjust enrichment, damages of up to approximately $600 million, antitrust violations, and
                requests permanent injunction. The case is stayed as a result of the Title III Petition’s filing. Once
                the stay is lifted, the Authority will vigorously defend the case and maintains that there is no
                cause of action against the Authority. Management’s estimate of loss contingency has been
                accounted for in the accompanying financial statements.

            PREPA v. Vitol Inc.

            In 2009, the Authority filed suit in the San Juan Court of First Instance against Vitol, Inc. and Vitol
            S.A. (collectively, “Vitol”) seeking declaratory judgment as to the nullity of two fuel supply
            agreements due to Vitol’s failure to disclose (a) certain corruption criminal charges to which Vitol
            S.A. pled guilty and (b) various other investigations. Vitol removed this suit to the U.S. District
            Court for the District of Puerto Rico (“District Court”) and filed a counterclaim alleging that the
            Authority owed Vitol, Inc. approximately $45 million, consisting of approximately $28 million in
            fuel that was delivered to, and used and not paid for by, the Authority and approximately $17
            million for reimbursement of excise taxes, plus interests, costs, and attorneys’ fees. The Authority
            sought the matter’s remand to the Court of First Instance.

            On November 28, 2012, the Authority filed a second complaint against Vitol in the Court of First
            Instance seeking essentially the same remedies sought in the first action but as to four other
            contracts, after discovery revealed the date in which Vitol learned of the investigations in the
            corruption cases. Vitol also removed this action to the District Court. The Authority requested
            remand back to the Court of First Instance. The two cases were consolidated by the District Court.
            The Authority claims approximately $3.89 billion in the aggregate.




                                                        - 94 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                                Desc:
                            Exhibit J Page 99 of 131
                                 Puerto Rico Electric Power Authority
                         (A Component Unit of the Commonwealth of Puerto Rico)

                                       Notes to the Financial Statements

                                     For the fiscal year ended June 30, 2020



Note 19 - Commitments, Contingencies and Other Obligations – (continued)

          Contingencies – (continued)

          Legal Contingencies – (continued)

          PREPA v. Vitol Inc. – (continued)

          Vitol, Inc. has resolved an Authority claim for approximately $17 million in excise taxes and has
          stated that it will amend its counterclaim to dismiss that claim. The case was remanded to the Court
          of First Instance, and that forum set November 15, 2019, as the date for the Authority and Vitol to
          file simultaneous motions for summary judgment. On November 14, 2019, Vitol removed the case
          again to the District Court in the Authority’s Title III case, due to the SCC in the Title III cases having
          filed an amended complaint in an adversary proceeding alleging claims against Vitol under the
          contracts in question in the Court of First Instance. The Authority moved for remand to the Court
          of First Instance once again, but the District Court denied the Authority’s motion on March 13, 2020.
          The case is currently before the District Court as an adversary proceeding in the Authority’s Title III
          case. After hearing cross summary judgment motions by the parties, on September 27, 2021, the
          District Court granted, in part, and denied, in part, each cross motion. It ruled against the Authority
          on its claim for $3.89 billion and for Vitol on its counterclaim for $28.4 million plus interest. The
          District Court ordered the parties to identify any issues remaining to be resolved in the adversary
          proceeding and file a (i) stipulation resolving any such issues, including but not limited to (a) the
          relevant period and rate for calculating any pre-judgment interest, (b) the total amount of any pre-
          judgment interest payable, (c) Vitol’s claim for attorney’s fees, and (d) whether the judgment may
          properly be entered upon the resolution of the outstanding issues, or (ii) a status report including a
          proposed briefing schedule for any outstanding legal issues.

          On November 1, 2021, the parties filed a joint status report on the remaining legal issues, and agreed
          to the Court entering a final judgment regarding a sum certain in pre-judgment interest, and
          withdrawal of Vitol’s claims for attorneys’ fees and post-judgment interest. On November 2, 2021,
          the Court issued a final judgment, which: (i) denies any monetary recovery by the Authority; (ii)
          orders a final judgment against the Authority in the amount of $41.5 million on Vitol Inc.’s
          counterclaim, which amount includes prejudgment interest accrued through July 2, 2017, the date
          the Title III Petition; (iii) taxes all allowable costs against the Authority under Fed. R. Civ. P. 54(d)(1);
          and (iv) denies all relief not granted in the judgment. On December 2, 2021, the Authority appealed
          the Court’s final judgment to the U.S. Court of Appeals for the First Circuit, where the matter is
          currently pending. On May 2, 2022, the Authority filed its opening brief. On July 20, 2022, the parties
          informed the First Circuit that they have reached an agreement in principle to settle their dispute.
          Accordingly, the parties jointly request that the Court hold the appeal in abeyance and stay all
          deadlines to allow the parties to finalize their settlement agreement. The parties will inform the

                                                       - 95 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                           Desc:
                            Exhibit J Page 100 of 131
                                Puerto Rico Electric Power Authority
                        (A Component Unit of the Commonwealth of Puerto Rico)

                                      Notes to the Financial Statements

                                   For the fiscal year ended June 30, 2020



Note 19 - Commitments, Contingencies and Other Obligations – (continued)

          Contingencies – (continued)

          Legal Contingencies – (continued)

          PREPA v. Vitol Inc. – (continued)

          Court of the status of their settlement discussions on or before August 18, 2022. Management’s
          estimate of loss contingency has been accrued in the accompanying financial statements.

          Tradewinds Energy Barceloneta LLC and Tradewinds Energy Vega Baja Arbitration

          The Authority and Tradewinds Energy LLC entered into two Power Purchase and Operating
          Agreements (“Tradewinds PPOAs”) to develop wind energy facilities, which were assigned to
          Tradewinds Energy Barceloneta and Tradewinds Energy Vega Baja (collectively, “Tradewinds”).
          On January 18, 2016, Tradewinds filed a demand for arbitration under the two Tradewinds PPOAs
          claiming approximately $30 million in damages. The parties have selected the arbitrator but have
          yet to execute the arbitration submission agreement so that the Authority may proceed to answer
          the claim for arbitration. The Authority will deny any and all liability to Tradewinds and denies
          having breached any obligations under the Tradewinds PPOAs. The case has been stayed as a result
          of the filing of the Title III Petition. Since this contingency does not meet the probable criteria, no
          liability has been recorded in the accompanying statement of net position (deficit) related to this
          contingency.

          ReSun (Barceloneta) LLC Litigation and Arbitration

          ReSun (Barceloneta) LLC (“ReSun”) and the Authority entered into a Power Purchase and
          Operating Agreement (“ReSun PPOA”). ReSun claims that the Authority breached its obligations
          under the ReSun PPOA and demanded arbitration. The Authority asserted that it did not have to
          submit to arbitration and, on December 30, 2015, ReSun filed a complaint before the San Juan Court
          of First Instance to compel the Authority to submit to arbitration.

          Thereafter, the Authority filed a motion for summary judgment, and, on April 20, 2016, the Court
          granted the Authority’s motion and dismissed the complaint to compel arbitration. On June 23, 2016,
          ReSun appealed the summary judgment. The Court of Appeals affirmed the summary judgment.
          ReSun filed a petition for certiorari before the Puerto Rico Supreme Court, which has been stayed
          as a result of the filing of the Title III Petition.




                                                    - 96 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                              Desc:
                            Exhibit J Page 101 of 131
                                   Puerto Rico Electric Power Authority
                           (A Component Unit of the Commonwealth of Puerto Rico)

                                        Notes to the Financial Statements

                                     For the fiscal year ended June 30, 2020



Note 19 -   Commitments, Contingencies and Other Obligations – (continued)

            Contingencies – (continued)

            Legal Contingencies – (continued)

            PBJL Energy Corporation Litigation v. The Authority

            On December 20, 2011, the Authority and PBJL Energy Corporation (“PBJL”) entered into a Master
            Renewable Power Purchase and Operating Agreement (“PBJL MPPOA”) pursuant to which PBJL,
            in its discretion, could propose to the Authority solar photovoltaic (“PV”) energy projects pursuant
            to which, if the Authority’s system could interconnect the proposed projects, and the Authority
            accepted a proposed site and interconnection point, the Authority and PBJL could enter into a Power
            Purchase and Operating Agreement (“PBJL PPOA”). On May 5, 2015, PBJL filed a complaint against
            the Authority and various employees in their official and personal capacities, claiming that the
            Authority had an obligation to award PBJL PPOAs to PBJL and that the Authority breached its
            obligations under the PBJL MPPOA by refusing to award PBJL PPOAs to PBJL under the PBJL
            MPPOA.

            PBJL claims damages in the amount of approximately $210 million. The Authority has denied any
            liability to PBJL and has asserted that the Authority did not have any obligation to award a PBJL
            PPOA to PBJL under the PBJL MPPOA because the same is not a contract, and that, to the extent
            that the PBJL MPPOA is a contract, the same is null and void for lack of consideration and due to
            PBJL’s failure to provide the Authority the sworn statement required by Act 458 of 2000, as
            amended, among other defenses raised by the Authority in its answer to the complaint. The case
            was in the discovery stage when, on August 30, 2017, the Puerto Rico Court of First Instance stayed
            this case due to the Title III Petition’s filing. Since this contingency does not meet the probable
            criteria, no liability has been recorded in the accompanying statement of net position (deficit) related
            to this contingency.




                                             This space is intentionally left in blank




                                                       - 97 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                          Desc:
                            Exhibit J Page 102 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                                       Notes to the Financial Statements

                                    For the fiscal year ended June 30, 2020



Note 19 -   Commitments, Contingencies and Other Obligations – (continued)

            Contingencies – (continued)

            Legal Contingencies – (continued)

            Whitefish

            On October 30, 2020, Whitefish Energy Holdings, LLC (“Whitefish”) filed an Administrative
            Expense Motion against the Authority in the Title III case, seeking allowance of an administrative
            expense claim based on services rendered to the Authority consisting of repairs in the aftermath of
            the Hurricanes. Whitefish alleged an entitlement to said administrative claim based on outstanding
            invoiced amounts and interest that continued to accrue at 1% monthly. On March 1, 2022, the
            Authority filed a motion to approve a settlement (the “Settlement Agreement”) with Whitefish. On
            March 21, 2022, the Title III Court issued an Order (the “March 21 Order”) approving such
            settlement. The Settlement Agreement resolves all matters in dispute arising under or in any way
            related to the Whitefish’s contract, invoices, and finance charges including interests and penalties
            asserted by Whitefish as an administrative claim. Part of the agreements approved by the Title III
            Court include that no further interest will accrue from the date of execution to the Settlement
            Agreement provided all payments by the Authority under the Settlement Agreement are timely and
            fully made. Management’s estimate of loss contingency has been accrued in the accompanying
            financial statements.

            Cobra

            On September 30, 2019, Cobra Acquisitions LLC (“Cobra”) filed an Administrative Expense Motion
            against the Authority with the Title III Court, seeking allowance of an administrative expenses
            claim, for amounts arising from various services provided by Cobra to the Authority to assist in the
            rebuilding of the Authority’s power grid in the aftermath of the Hurricanes. The case is currently
            stayed pending the resolution of the ongoing criminal charges brought against Cobra’s former
            president and two FEMA officials who have been criminally indicted and arrested for fraud and
            conspiracy to commit bribery in connection with Cobra’s work on the Authority’s electric grid,
            under the contracts Cobra seeks to enforce. See U.S.A. v. Tribble, Case No. 19-CR-541-FAB, ECF No.
            3 (D.P.R. Sep. 3, 2019) (the “Criminal Case”). On May 18, 2022, the officials each entered into a
            conditional guilty plea on lesser charges. The Criminal Case is still pending, and no judgement has
            been issued accepting the plea, sentencing hearing is pending court order.




                                                     - 98 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                              Desc:
                            Exhibit J Page 103 of 131
                                   Puerto Rico Electric Power Authority
                           (A Component Unit of the Commonwealth of Puerto Rico)

                                        Notes to the Financial Statements

                                     For the fiscal year ended June 30, 2020



Note 19 -   Commitments, Contingencies and Other Obligations – (continued)

            Contingencies – (continued)

            Legal Contingencies – (continued)

            As to the Authority’s first contract with Cobra, FEMA had issued a formal determination denying
            approximately $46 million for three reasons. FEMA found about $24 million was not authorized by
            the contract, because Cobra had more than the maximum number of line workers allowed on the
            job without written authorization from the Authority. About $22 million was denied as charges
            unsupported by the terms of the contract. The Authority filed a first-level administration appeal of
            FEMA’s determination, providing proof of the written authorization with respect to the $24 million
            denial. On May 31, 2022, FEMA issued its First Appeal decision, granting the appeal in part and
            denied it in part. FEMA approved $24 million and will amend PW 251 to re-obligate this funding.
            The Authority had previously received this funding from FEMA (through COR3), so the re-
            obligation will not result in a cash payment, but instead the Authority will not be required to return
            the funds previously disbursed to it. FEMA denied the remaining amounts under appeal. The
            Authority may file a Second Appeal to FEMA Headquarters (through COR3) or a Request for
            Arbitration with the U.S. Civilian Board of Contract Appeals within 60 days of the decision (July 30,
            2022). FEMA is also working to determine the eligibility for reimbursement under the agency’s
            Public Assistance program of the fees charged by Cobra for its work on the Authority’s electric grid
            under the Authority’s second contract with Cobra.

            On January 19, 2022, the parties filed with the Title III Court a status report regarding the status of
            the criminal proceedings and FEMA’s eligibility review, in which the Authority asserts the litigation
            stay should remain in effect and Cobra asserts the stay should be lifted. On January 26, 2022, the
            Title III Court entered an Order with respect to the January 19, 2022 status report leaving the stay in
            place and directing the parties to file a further status report addressing the status of FEMA’s review
            of Cobra’s contracts with the Authority, the status of any administrative appeals in connection with
            FEMA’s determinations regarding the contracts, and the status of the Criminal Case. On June 7,
            2022, Cobra filed a motion to lift the litigation stay on this contested matter. On June 14, 2022, the
            Oversight Board and FAFAA, on the Authority’s behalf, filed an objection to Cobra’s motion, to
            which Cobra replied on June 21, 2022. After a hearing on the matter, on June 29, 2022, the Court
            entered an order denying Cobra’s motion to lift the litigation stay. The Court further ordered the
            parties to file a status report on the matter by January 6, 2023. If FEMA’s review of the Cobra contract
            is completed before January 6, 2023, the parties must file a status report within 30 days of FEMA’s
            ruling. Due to the circumstances, this case did not meet the probability criteria.




                                                       - 99 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                            Desc:
                            Exhibit J Page 104 of 131
                                 Puerto Rico Electric Power Authority
                         (A Component Unit of the Commonwealth of Puerto Rico)

                                      Notes to the Financial Statements

                                    For the fiscal year ended June 30, 2020



Note 19 -   Commitments, Contingencies and Other Obligations – (continued)

            Contingencies – (continued)

            Legal Contingencies – (continued)

            Key Contested Motions and Adversary Proceedings in the Title III Cases

            •   Current Expense Litigation

                   a. Fuel Line Lenders

                       On July 9, 2019, the successor administrative agent for Authority lenders under the
                       Credit Agreement, dated as of May 4, 2012, and certain lenders to the Authority under
                       a Trade Finance Facility Agreement, dated as of July 20, 2012 (collectively, the “Fuel Line
                       Lenders”), filed a complaint against the Authority and other parties. The Fuel Line
                       Lenders requested the Title III Court to enter judgment declaring that all amounts
                       allegedly owed to them are current expenses under the 1974 Agreement and assert they
                       must be paid before any further payments are made to the 1974 Trustee or bondholders.
                       The Authority, Oversight Board, and FAFAA jointly filed motions to dismiss the
                       amended complaint on November 11, 2019, and, on December 5, 2019, Fuel Line Lenders
                       replied. However, pursuant to the Title III Court order, the hearing regarding the
                       pending motions to dismiss is adjourned without date.

                   b. PREPA ERS

                       On October 30, 2019, the Employees’ Retirement System of the Puerto Rico Electric
                       Power Authority (the “PREPA ERS”) filed an amended complaint against the Authority
                       and other parties. PREPA ERS requested the Title III Court to determine that all amounts
                       owed to the PREPA ERS are Current Expenses as defined in the 1974 Agreement because
                       contributions made to pensions and the retirement system allegedly qualify as Current
                       Expenses under the 1974 Agreement. The PREPA ERS asserts these “Current Expenses”
                       must be paid before any further payments are made to the 1974 Trustee or the
                       Authority’s bondholders.

                       The Authority, Oversight Board, and FAFAA jointly filed a motion to dismiss the
                       amended complaint, which the PREPA ERS opposed. Thereafter, the Title III Court
                       adjourned the hearing on this matter without date.




                                                     - 100 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                                Desc:
                            Exhibit J Page 105 of 131
                                   Puerto Rico Electric Power Authority
                           (A Component Unit of the Commonwealth of Puerto Rico)

                                        Notes to the Financial Statements

                                      For the fiscal year ended June 30, 2020



Note 19 -   Commitments, Contingencies and Other Obligations – (continued)

            Contingencies – (continued)

            Legal Contingencies – (continued)

            Key Contested Motions and Adversary Proceedings in the Title III Cases – (continued)

            •   Lien Challenge

                On July 1, 2019, the Authority, the Oversight Board, and FAFAA filed a complaint against the
                1974 Trustee asking the Title III Court to (a)(i) declare that the 1974 Trustee’s security interest in
                the Authority’s property is limited to funds deposited to the credit of the “Sinking Fund” and
                certain other funds under the 1974 Agreement; (ii) declare the 1974 Trustee has not perfected
                any security interest in any of the Authority’s property other than cash deposited to the credit
                of the Sinking Fund; (iii) avoid any security interest granted to the 1974 Trustee in any of the
                Authority’s property other than cash deposited to the credit of the Sinking Fund, preserving all
                avoided liens for the benefit of the Authority; (b)(i) declare that contractual covenants and
                remedies set forth in the 1974 Agreement are obligations of the Authority, not the Authority’s
                property, and do not and cannot constitute collateral in which the Authority has granted a
                security interest to secure the Authority’s bonds; (ii) declare the 1974 Trustee has not perfected
                any security interest in any such covenants and remedies and that the Authority’s interest in
                such is entitled to priority over any interest of the 1974 Trustee under Puerto Rico law; (iii) avoid
                any security interest in such covenants and remedies, preserving all avoided liens for the benefit
                of the Authority; and (c) disallow all claims asserting security interests either not granted under
                the 1974 Agreement or that are unperfected.

                On July 16, 2019, the Title III Court entered an order staying this proceeding until the earlier of:
                (i) 60 days after the Court denies the 9019 Motion; (ii) the consummation of a plan of adjustment;
                (iii) 60 days after plaintiffs file a notice to resume litigation; or (iv) a further Court order.




                                             This space is intentionally left in blank




                                                       - 101 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                             Desc:
                            Exhibit J Page 106 of 131
                                   Puerto Rico Electric Power Authority
                           (A Component Unit of the Commonwealth of Puerto Rico)

                                        Notes to the Financial Statements

                                     For the fiscal year ended June 30, 2020



Note 19 -   Commitments, Contingencies and Other Obligations – (continued)

            Contingencies – (continued)

            Legal Contingencies – (continued)

            Bodily Injuries Claims

            The Authority is a defendant in several legal actions claiming physical bodily injuries suffered by
            individuals coming into contact with wires and similar accidents and events. Aggregate claims
            amount to approximately $203 million.

            Management’s estimate of loss contingency has been accrued in the accompanying financial
            statements as a contingent liability to settle these legal claims but intends to continue to defend the
            cases vigorously. These claims are stayed as a result of the filing of the Title III Petition.

            Environmental Contingencies

            Facilities and operations of the Authority are subject to regulations under federal and
            Commonwealth environmental laws, including the Clean Air Act, Clean Water Act, Oil Pollution
            Act, Resource Conservation and Recovery Act, Safe Drinking Water Act, Emergency Planning and
            Community Right-to-Know Act, and Comprehensive Environmental Response, Compensation and
            Liability Act (“CERCLA”). The Authority monitors its compliance with laws and regulations and
            reviews its remediation obligations on an ongoing basis.

            1999 Consent Decree

            In 1993, the United States of America (“United States”), through the United States Department of
            Justice (“DOJ”) and the United States Environmental Protection Agency (“EPA”), filed a complaint
            against the Authority in the United States District Court for the District of Puerto Rico (the “court”)
            (Civil Action No. 93-2527 CCC). The complaint alleged environmental violations by the Authority
            under multiple federal environmental statutes, including those relating to air, water, and waste at
            the Palo Seco, San Juan, Aguirre, and Costa Sur generation facilities, and the Monacillos
            Transmission Center. In 1999, the court entered a consent decree in the case (“Consent Decree”). The
            Consent Decree requires that the Authority improve and implement programs and operations to
            ensure compliance with environmental laws and regulations.

            In 2004, the court entered a Consent Decree modification (“2004 Modification”). The 2004
            Modification required the Authority to reduce the sulfur content in the No. 6 fuel oil used in certain



                                                      - 102 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                          Desc:
                            Exhibit J Page 107 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                                       Notes to the Financial Statements

                                    For the fiscal year ended June 30, 2020



Note 19 -   Commitments, Contingencies and Other Obligations – (continued)

            Contingencies – (continued)

            1999 Consent Decree – (continued)

            generating units at its Costa Sur, Aguirre, Palo Seco, and San Juan Power Plants. Additionally, the
            2004 Modification required the Authority to implement a nitrogen oxide emissions reduction
            program at certain units and to modify the optimal operating ranges for units subject to the Consent
            Decree.

            In 2014, representatives from the Authority and the United States met to discuss terminating certain
            compliance programs/provisions under the Consent Decree and 2004 Modification. As a result, the
            United States requested that the Authority submit information regarding the Authority’s
            compliance with the programs for its review and evaluation. In September 2014, the Authority
            submitted the information requested, and submitted a written partial termination request to the
            United States covering those programs/provisions.

            As of the issuance of these financial statements, a draft modified Consent Decree is under review by
            the United States. After such negotiations conclude, the modified Consent Decree would need to be
            lodged with the court and must go through a public notice and comment process prior to approval.

            The Authority has not been informed about any related costs that would be considered accruable as
            a contingent liability, therefore, there is no amount recorded in the accompanying financial
            statements.

            Air and Water Quality Compliance

            The Authority is required to maintain compliance with air quality (including opacity) and water
            quality requirements. Under the Consent Decree, the Authority is subject to stipulated penalties for
            deviations. The Authority had paid stipulated penalties of approximately $37 thousand in fiscal year
            2020.




                                      This space is intentionally left in blank




                                                      - 103 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                             Desc:
                            Exhibit J Page 108 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                                        Notes to the Financial Statements

                                     For the fiscal year ended June 30, 2020



Note 19 -   Commitments, Contingencies and Other Obligations – (continued)

            Contingencies – (continued)

            Compliance Programs

            The Authority continues to develop and implement a comprehensive program to improve
            environmental compliance. This program has been, and continues to be, updated to conform to new
            regulatory requirements.

            Mercury and Air Toxics Standards

            The Mercury and Air Toxics Standard (“MATS”) establishes national emission standards for
            hazardous air pollutants, including emission limits and work practice standards, that apply to coal
            and oil fired electric utility steam generating units (“EGU”) in continental and non-continental areas.
            The Authority owns and operates fourteen (14) oil fired EGUs that are affected by the regulation.

            Since MATS went into effect on April 16, 2015 (for Aguirre, April 16, 2016), the Authority’s units
            have experienced various periods of noncompliance with the standard.

            Should the Authority reach a settlement with the United States regarding MATS noncompliance,
            the resulting consent decree will almost certainly require the Authority to make various compliance
            related expenditures and may require the payment of civil penalties.

            On August 24, 2020, PREB issued its final order on the Authority’s Integrated Resource Plan (“IRP”),
            approving in part of what was proposed by the Authority, and making certain modifications. The
            approved IRP is expected to inform the basis of a potential MATS compliance plan. The state
            implementation plan for sulfur dioxide (SO2) being developed by the Department of Environmental
            and Natural Resources (“DNER”), described below, is also expected to inform any such consent
            decree.

            The Authority has not identified any contingent losses that would be considered probable of
            occurrence in relation to MATS noncompliance and the Authority’s IRP; therefore, no amount has
            been recorded in the accompanying financial statements.




                                       This space is intentionally left in blank




                                                       - 104 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                              Desc:
                            Exhibit J Page 109 of 131
                                   Puerto Rico Electric Power Authority
                           (A Component Unit of the Commonwealth of Puerto Rico)

                                        Notes to the Financial Statements

                                     For the fiscal year ended June 30, 2020



Note 19 -   Commitments, Contingencies and Other Obligations – (continued)

            Contingencies – (continued)

            Compliance Programs – (continued)

            SO2 National Ambient Air Quality Standard Compliance

            On January 9, 2018, EPA published in the Federal Register the third round of final area designations
            under the 2010 sulfur dioxide (“SO2”) national ambient air quality standards (“NAAQS”). The non-
            attainment designations took effect on April 9, 2018. EPA identified two (2) SO2 non-attainment
            areas located in Puerto Rico, the San Juan Area, and the Guayama-Salinas Area. The Clean Air Act
            requires air agencies to take steps to control air pollution in SO2 non-attainment areas. Those steps
            may include stricter controls on industrial facilities. State and local governments detail these steps
            in plans that demonstrate how they will meet the SO2 standard. Those plans are known as state
            implementation plans (“SIPs”). States have 18 months after the effective date of final designations
            to develop and submit their SIPs to EPA. Puerto Rico’s SIP was due to EPA by October 9, 2019. The
            SIP is required to show how affected areas would meet the standard as expeditiously as practicable
            but no later than April 9, 2023. Puerto Rico did not meet the October 9, 2019 deadline for filing its
            SIP.

            DNER has been working with EPA on submitting a qualifying SIP by May 2022, in order to avoid
            sanctions, including the loss of certain federal funding for Puerto Rico. DNER issued a proposed
            SIP for public comment and hearing on March 11, 2022, and held a public hearing on the proposed
            SIP on April 11, 2022. According to DNER and EPA, the Authority’s power plants are principal
            emitters of SO2 in the identified areas. The Authority’s affected facilities in the non-attainment areas
            are the San Juan, Palo Seco and Aguirre Power Plants. Since the non-attainment designation, the
            Authority and DNER have been in communication so that the approved SIP considers the status of
            the implementation of the Authority’s IRP and projects, approved by PREB in August 2020, as well
            as reliability considerations. DNER has not advised the Authority as to the expected submission to
            EPA of DNER’s qualifying SIP.

            The Authority has not identified any contingent losses that would be considered probable of
            occurrence regarding this matter; therefore, no amount has been recorded in the accompanying
            financial statements.



                                       This space is intentionally left in blank




                                                       - 105 -
   Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                                                      Desc:
                             Exhibit J Page 110 of 131
                                         Puerto Rico Electric Power Authority
                                 (A Component Unit of the Commonwealth of Puerto Rico)

                                                  Notes to the Financial Statements

                                               For the fiscal year ended June 30, 2020



Note 19 -      Commitments, Contingencies and Other Obligations – (continued)

               Pollution Remediation Obligation (PRO)

               Pollution remediation obligations (“PRO”) are recorded by the Authority when an obligating event
               occurs, as defined in GASB Statement No. 49, “Accounting and Financial Reporting for Pollution
               Remediation Obligations”, and if a reasonable estimate of the remediation costs can be made. Three
               different locations require the analysis of pollution remediation obligations, including the
               Protección técnica Ecológica Superfund site in Peñuelas (the “Proteco Site”), the Vega Baja Solid
               Waste Disposal Superfund Site (the “Vega Baja Site”), and the Palo Seco site.

               The Proteco Site

               On March 28, 2019, EPA issued a notice of potential liability and request for information to the
               Authority under CERCLA in relation to the Proteco Site. EPA alleges that the Authority is a
               potentially responsible party (“PRP”) for the Proteco Site as an arranger, who by contractor or
               arrangement, arranged for the disposal or treatment of hazardous substances at the Proteco Site. On
               June 28, 2019, the Authority received a special notice letter from EPA requesting that the Authority
               enter into an administrative settlement agreement and order on consent (“ASAOC”) to conduct a
               remedial investigation and feasibility study (“RI/FS”) 1 of the Proteco Site (hereinafter, the “June 28,
               2019, Special Notice Letter”). The Authority believes that a similar special notice letter was sent to
               other PRPs.

               In September 2020, the Authority and other PRPs (“PRP Group”) entered into an ASAOC (CERCLA-
               02-2020-2010) with the EPA to conduct the RI/FS. The ASAOC requires payment from the PRP
               Group to EPA in the amount of approximately $444,708 for past response costs. The agreement also
               requires that the PRP Group provide financial assurance, initially in the amount of approximately
               $5 million (based on the estimated cost of work), for EPA’s benefit.

               The Authority share will be applied to any payment of RI/FS work to be carried out at the landfill
               and considered part of the liability, as well as to pay and absorb any future liability that may be
               imposed for noncompliance with the ASAOC.



                                                 This space is intentionally left in blank




1 An RI/FS is the regulatory-mandated process for collecting data to characterize site conditions, determining the nature of wastes at the site,

assessing risk to human health and the environment (if any), and identifying and evaluating potential remediation options based on the collected
data. See Superfund Remedial Investigation/Feasibility Study (Site Characterization) | US EPA.
                                                                    - 106 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                            Desc:
                            Exhibit J Page 111 of 131
                                   Puerto Rico Electric Power Authority
                           (A Component Unit of the Commonwealth of Puerto Rico)

                                         Notes to the Financial Statements

                                      For the fiscal year ended June 30, 2020



Note 19 -   Commitments, Contingencies and Other Obligations – (continued)

            Pollution Remediation Obligation – (continued)

            PROTECO – (continued)

            The RI/FS is in the earliest stages.

            As of the date of the issuance of these financial statements, the Authority’s Governing Board
            authorized an initial expenditure of up to approximately $1.5 million (included as part of Claims
            and Judgments in the accompanying financial statements) to pay for the Authority’s share of the
            RI/FS total costs. The $1.5 million is the only cost estimable at this time, and therefore that is the
            amount accrued by the Authority.

            The Vega Baja Site

            In 2002, the Authority received a Special Notice Concerning Remedial Investigation/Feasibility
            Study for Soil at the Vega Baja Site. EPA has identified the Authority and six other entities as PRPs.

            On April 25, 2013, the Consent Decree civil action (No. 12 1988 (ADC)) was filed in the U.S. Court
            for the District of Puerto Rico. An Environmental Escrow Agreement (“EEA”) was entered into by
            and among the GDB, as the escrow agent, the Puerto Rico Land Authority (“PRLA”), the Puerto
            Rico Housing Department (“PRHD”), the Authority and the United State of America. The EEA
            serves as financial assurance for the performance of the obligation under the Consent Decree. On
            June 24, 2013, the Authority deposited approximately $400 thousand into an escrow account as
            provided in the Consent Decree and the EEA. If the escrow account balance is reduced below $250
            thousand, the Authority, PRLA, and PRHD must establish and maintain a performance guarantee
            for the benefit of EPA equal to the difference between the escrow account balance and $250
            thousand. Public agencies may elect to satisfy this performance guarantee requirement by
            providing separate performance guarantees which total the amount required to be maintained as
            set forth above, either individually or collectively. The main corrective action of removing the lead
            from the residential area to a nonresidential site was completed in 2015. The costs that will be
            incurred in the future are restricted to operational annual assessments, and if any corrective action
            is deemed necessary in nonresidential and residential areas, the Authority, PRLA and PRHD will
            be responsible. At the time of the issuance of these financial statements, no corrective actions have
            been identified.



                                              This space is intentionally left in blank



                                                        - 107 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                          Desc:
                            Exhibit J Page 112 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                                      Notes to the Financial Statements

                                    For the fiscal year ended June 30, 2020



Note 19 -   Commitments, Contingencies and Other Obligations – (continued)

            Pollution Remediation Obligation – (continued)

            The Vega Baja Site – (continued)

            The Authority, on behalf of PRLA and PRHD, has requested disbursements be charged against the
            escrow account, and such payments have been processed. All payments required to be charged
            against the escrow account is to cover projects required by the Consent Decree. If payments are not
            fulfilled, services can be suspended by the contractors resulting in the application of fines for
            noncompliance as stipulated in the Consent Decree.

            This Consent Decree can be terminated upon motion by any party, provided that all public
            defendants have satisfied their obligations of payments of certain “Response Cost and Stipulated
            Penalties.” Termination of the Consent Decree shall not affect certain “Covenants Not to Sue”
            including all reservations pertaining to those covenants and shall not affect any continuing
            obligation of the Authority, PRLA and the PRDH (all referred in the Consent Decree as the Settling
            Defendants).

            Currently, the appointment of a Supervisory Contractor is in progress. The inspection and reporting
            work required in the Environmental Escrow Agreement is being carried out by a project coordinator
            appointed by the Authority, in coordination with the representatives appointed by the PRLA and
            the PRDH. In September 2020, EPA conducted a 5-year review of whether the remedial action is
            protective of human health and the environment. As part of this review, the EPA contractor
            inspected a number of properties that were not remedied because the lead concentration detected
            in the field was below 450 ppm. The information collected was evaluated by EPA, and it determined
            that the Authority, PRLA, and PRHD have not failed to operate and maintain the remedial action
            as required and no further response actions for the Site have to be undertaken at the moment. The
            Authority shall pay to EPA all future costs not inconsistent with the required contingency plan for
            the Vega Baja Site.

            As of the time of this issuance of these financial statements, the Authority has not identified any
            PRO that would be considered probable of occurrence, therefore no amount has been recorded in
            the accompanying financial statements.




                                           This space is intentionally left in blank




                                                     - 108 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                                  Desc:
                            Exhibit J Page 113 of 131
                                   Puerto Rico Electric Power Authority
                           (A Component Unit of the Commonwealth of Puerto Rico)

                                         Notes to the Financial Statements

                                       For the fiscal year ended June 30, 2020



Note 19 -   Commitments, Contingencies and Other Obligations – (continued)

            Pollution Remediation Obligation – (continued)

            The Palo Seco Site

            The Palo Seco Site is located in Toa Baja, Puerto Rico (near San Juan), and includes the Palo Seco
            Power Plant, a depot area, and the former Bayamón river channel.

            In 1997, as a result of an inspection by EPA and the Puerto Rico Environmental Quality Board (the
            “EQB”) at the Authority’s Palo Seco Power Plant, EPA issued an Administrative Order (CERCLA-
            97-0302) for the investigation and possible remediation of seven areas of interest identified by EPA
            at the Palo Seco Site. The Administrative Order required the Authority to carry out a RI/FS.

            Following the RI/FS, additional action was taken to address separate phase hydrocarbons at two of
            the areas of interest. On November 6, 2008, EPA and the Authority entered into an Administrative
            Order on Consent (“AOC”) to address the separate phase hydrocarbons (No. CERCLA-02-2008-
            2022). Subsequently, the Authority completed a removal action at one of the areas of interest to
            remove separate phase hydrocarbons. In July 2012, EPA issued for public comment its proposed
            plan for no further action at the site. In September 2012, EPA issued its Record of Decision for the
            site, which selected the “No Further Action” remedy.

            The AOC included various conditions for the Authority to reimburse EPA for costs incurred by EPA
            in connection with the site. On December 4, 2015 and on May 11, 2016, EPA sent the Authority a
            cost package for response costs. The cost package included two components: (i) $62,077.31 that EPA
            had incurred in connection with the oversight of the removal action performed under the AOC; and
            (ii) $1,473,061.62 in costs that did not fall in that category (i.e., those not directly related to the AOC),
            including investigative and other response costs that, as of July 31, 2015, had been paid by EPA
            pursuant to CERCLA with respect to the site.

            With respect to the first category of costs, on March 7, 2016, EPA sent the Authority a bill collection
            notice for the $62,077.31 incurred by EPA in connection with the AOC. The Authority paid this
            amount on March 8, 2016.

            With respect to the second category of costs, on July 10, 2017, a settlement agreement (CERCLA-02-
            2017-2014) was signed requiring the Authority to pay EPA the principal sum of $1 million, plus
            interest, in three annual installments. First installment was paid on August 9, 2017, for the amount
            of $333,333.33. Second installment was paid on May 29, 2018, for the amount of $337,838.01. The
            third and final installment was paid on July 19, 2019, for the amount of $339,779.36. The third
            payment completed the Authority’s financial commitments under the settlement agreement.

                                                        - 109 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                             Desc:
                            Exhibit J Page 114 of 131
                                   Puerto Rico Electric Power Authority
                           (A Component Unit of the Commonwealth of Puerto Rico)

                                         Notes to the Financial Statements

                                      For the fiscal year ended June 30, 2020



Note 19 -   Commitments, Contingencies and Other Obligations – (continued)

            Pollution Remediation Obligation – (continued)

            The Palo Seco Site – (continued)

            In September 2020, the Authority prepared a request for proposals for the installation of a system to
            recover free product from groundwater monitoring wells constructed during the aforementioned
            RI/FS for $100,000.00. The installation work was completed in April 2021. This project was financed
            as a Necessary Maintenance Expense.

            Asset Retirement Obligations

            As described in Note 2, effective July 1, 2019, the Authority adopted GASB Statement No. 83, Certain
            Asset Retirement Obligations. This standard requires the Authority to record a liability and
            deferred outflows associated with the retirement of tangible capital assets that it has an enforceable
            legal obligation to retire. GASB 83 requires governmental entitles to record a liability and a
            corresponding deferred outflow at the time there is an external obligating event such as a federal or
            state regulation, a legally binding contract or court judgment and when there is an internal
            obligating event which exits at the time an asset is acquired or if constructed placed in service. In
            accordance with GASB 83, the Authority estimated and recorded its asset retirement obligations at
            the current value of outlays expected to be incurred using site specific cost studies performed by
            third-party consultants or published cost studies of similar sites. Current value is the amount that
            would be paid, if all equipment, facilities, and services included in the estimate were acquired at the
            end of the current reporting period. This approach includes probability weighting of potential
            outcomes when this information can be obtained at a reasonable cost.

            The Authority recorded asset retirement obligations of applicable tangible assets such as thermal
            generation sites, hydroelectric power facilities, select transmission and distribution (T&D) system
            components, and other assets, following the requirements of GASB 83. The estimated remaining
            useful life of the associated tangible capital assets is up to 49 years. Federal energy laws and
            regulations, federal environmental laws and regulations, and Puerto Rico (Commonwealth)
            environmental laws and regulations issued by the Puerto Rico Department of Natural
            Environmental Resources (DNER) were reviewed to determine asset retirement obligations. The
            methodology used for developing ARO estimates included a combination of stochastic and
            deterministic methods. The Authority does not have assets restricted for payment of these liabilities.




                                                      - 110 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                            Desc:
                            Exhibit J Page 115 of 131
                                 Puerto Rico Electric Power Authority
                         (A Component Unit of the Commonwealth of Puerto Rico)

                                      Notes to the Financial Statements

                                   For the fiscal year ended June 30, 2020



Note 19 - Commitments, Contingencies and Other Obligations – (continued)

          Asset Retirement Obligations – (continued)

          The Authority had the following asset retirement obligations at June 30, 2020 (in thousands):

                       Asset retirement obligation:                            2020
                             Balance at July 1, 2019                       $143,130
                             Additions                                           5,463
                             Payments                                              -
                             Balance at June 30, 2020                      $ 148,593




          The Authority amortizes its deferred outflows using the straight-line method over the remaining
          useful life of the asset or lease term, if leased. The liability is reduced as actual decommissioning
          costs are paid. Amortization of the deferred outflow is recorded as operating and maintenance
          expense in the statements of revenue, expenses, and changes in net position (deficit).

          Deferred outflows related to the Authority’s assets retirement obligations are as follows for the fiscal
          year ended June 30, 2020 (in thousands):

                         Deferred outflows - ARO                               2020

                             Balance at July 1, 2019                       $      64,481
                             Additions                                             5,464
                             Amortizations                                        (3,922)
                             Balance at June 30, 2020                      $      66,023




                                           This space is intentionally left in blank




                                                     - 111 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                            Desc:
                            Exhibit J Page 116 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                                       Notes to the Financial Statements

                                     For the fiscal year ended June 30, 2020



Note 20 -   Subsequent Events

            Subsequent events were evaluated through September 30, 2022 to determine if any such events
            should either be recognized or disclosed in the 2020 basic financial statements.

            The Authority’s Fiscal Plan

            On May 27, 2021, the Oversight Board approved the Certified 2022 Fiscal Plan for the Authority. On
            January 27, 2022, Oversight Board certified the Commonwealth Fiscal Plan. Even though the
            Authority has its own Fiscal Plan, the Commonwealth Fiscal Plan includes a discussion of energy
            reform and the Authority’s transformation. The Commonwealth Fiscal Plan provides that, over the
            next five years, the power sector in Puerto Rico must continue its transformation and modernization
            to support the delivery of reliable, clean, and affordable power. The Commonwealth must continue
            to implement a comprehensive energy sector reform to enable a successful transformation and
            unlock the resulting growth from Fiscal Plan projects. Pursuant to the Commonwealth Fiscal Plan,
            the successful transformation of Puerto Rico’s power sector depends on: (1) implementing
            regulatory reform supported by PREB, (2) transitioning the Authority’s electricity grid operation
            and generation assets to private operators through private public partnerships, while moving the
            energy system to 100% renewables, and (3) restructuring the Authority’s legacy debt obligations to
            be able to access capital markets and support the modernization of the power grid.

            Key Contested Motions and Adversary Proceedings in the Title III Cases

            •   The Authority’s Plan of Adjustment Mediation

            On May 3, 2019, the Oversight Board, FAFAA, and the Authority (the “Government Parties”),
            entered into the 2019 RSA with a substantial portion of the Authority's bondholders and Assured
            Guaranty Corp. and Assured Guaranty Municipal Corp (the “Ad Hoc Group”). On May 10, 2019,
            the Oversight Board and FAFAA filed a motion seeking approval of certain settlements embodied
            in the 2019 RSA (the “9019 Motion”). Certain parties filed objections to the 9019 Motion on October
            30, 2019. However, in response to the COVID-19 pandemic, on March 27, 2020, the Oversight Board
            and FAFAA asked the Title III Court to adjourn all hearing and briefing deadlines in connection
            with the 9019 Motion. The Court granted the motion, and the 9019 Motion was stayed. On March 8,
            2022, FAFAA exercised its right to terminate the RSA with the support of the Oversight Board.
            FAFAA’s termination results in the RSA being void and of no further force or effect as to all parties.
            On March 8, 2022, the Title III Court issued an Order (the “March 8 Order”) directing the Oversight
            Board and FAFAA to file a joint status report regarding its efforts to progress negotiations or
            formulation regarding the parameters of a plan of adjustment for the Authority by March 18, 2022.
            The March 8 Order also directed the Oversight Board to inform the Court by May 2, 2022 of its
            proposed path forward to conclude the Authority’s Title III case. On March 17, 2022, the

                                                     - 112 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                              Desc:
                            Exhibit J Page 117 of 131
                                   Puerto Rico Electric Power Authority
                           (A Component Unit of the Commonwealth of Puerto Rico)

                                        Notes to the Financial Statements

                                     For the fiscal year ended June 30, 2020



Note 20 -   Subsequent Events – (continued)

            Key Contested Motions and Adversary Proceedings in the Title III Cases-(continued)

            •   The Authority’s Plan of Adjustment Mediation-(continued)

            Government Parties informed the Title III Court that the optimal next step is to enter mediation with
            the Authority’s stakeholders.

            On April 8, 2022, the Title III Court entered an order appointing three sitting bankruptcy judges as
            mediators for the Authority’s Title III Case and related proceedings on the terms set forth in a
            contemporaneously issued order establishing the terms and conditions of mediation. No party
            objected to the appointment of the mediation team. The Court also formally designated the
            following mediation parties: (a) the Oversight Board, (b) FAFAA, (c) the Ad Hoc Group of Authority
            Bondholders, (d) National Public Finance Guarantee Corporation, (e) Assured Guaranty Corp. and
            Assured Guaranty Municipal Corp., (f) Syncora Guarantee, Inc., (g) UTIER, (h) PREPA ERS, (i) the
            Official Committee of Unsecured Creditors, and (j) the Authority’s fuel line lenders.. The Title III
            Court had set a deadline of August 15, 2022 for the Oversight Board to file a pleading identifying its
            proposed path forward to efficiently conclude the Authority’s Title III case (the Mediation
            Termination Deadline).

            The Mediation Termination deadline was subject to multiple extensions, the last one being until
            September 16th, 2022 with an automatic extension through September 30th, 2022. However, on
            September 19 2022, the mediation team filed its notice and report stating that the mediation had
            ended and informing that no consensus was reached in mediation between the parties, but that a
            settlement is still achievable if the terms and conditions of mediation are revised. Its noteworthy
            that on September 19 2022, the bondholders filed a Motion to Dismiss the Authority’s Title III case
            or for relief of the Automatic Stay. On September 20, 2022 the Oversight Board on behalf of the
            Authority filed a motion requesting the Title III court to establish a schedule to continue negotiations
            during litigation embracing solely the fundamental disputes over the claims the plan must
            restructure. On this same date, the Title III Court ordered the mediation team to submit a proposed
            continued mediation order that identifies an appropriate time period for the next phase of mediation
            and additional provisions necessary to address the obstacles that the Mediation Team identified in
            the Mediation Report. As such, on September 22, 2022, the mediation team proposed an amended
            order establishing terms and conditions of mediation which proposes a revised schedule for the
            Mediation that proceeds in parallel with the Court’s schedule for the consideration of various
            litigation issues that had been stayed pending the prior conduct of the Mediation. On September 22,
            2022, the Title III Court ordered the parties to submit any objections or responses to the Mediation
            Team’s proposed amended terms and conditions. On September 23, 2022 the Oversight Board filed
            a response to the proposed mediation amendment agreeing in part and also proposing some
            changes.
                                                      - 113 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                            Desc:
                            Exhibit J Page 118 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                                       Notes to the Financial Statements

                                     For the fiscal year ended June 30, 2020




Note 20 -   Subsequent Events – (continued)

            Key Contested Motions and Adversary Proceedings in the Title III Cases-(continued)

            The Authority’s Plan of Adjustment Mediation-(continued)

            On September 29th 2022, the Title III Court entered an Order amending the terms and conditions of
            mediation and establishing a new deadline until December 31 st 2022, to terminate mediation, with
            an automatic extension until January 31st 2023. On that same date, the Title III court issued an Order
            directing the Oversight Board to file a proposed plan of adjustment for the Authority by December
            1st 2022, that it believes could be confirmable, taking into account the litigation risk and economic
            issues that are in dispute, it must also include a disclosure statement and proposed confirmation
            schedule contemplating a June 2023 confirmation hearing.

            •   UTIER’s Challenge to Local Fiscal Laws

                On August 7, 2017, UTIER filed an adversary proceeding—against the Authority, the
                Commonwealth, and certain individual plaintiffs—with the Title III Court challenging several
                Puerto Rico laws enacted to deal with the fiscal crisis, and certain Authority and Commonwealth
                fiscal plans and budgets. On April 26, 2021, the Authority moved to dismiss the matter. After
                the matter was fully briefed, on February 4, 2022, the Title III Court entered an order granting
                the Authority’s motion to dismiss UTIER’s adversary complaint for failure to state a claim upon
                which a relief can be granted. The dismissal is with prejudice, and it leaves the Commonwealth
                as the only named defendant. On March 2, 2022, UTIER appealed this decision to the U.S Court
                of Appeals for the First Circuit. However, on March 18, 2022, upon UTIER’s request, the First
                Circuit voluntarily dismissed the appeal.

            Transformation of the Authority

            •   Transformation of the T&D System of the Authority

                On April 20, 2021, UTIER filed an adversary proceeding against the Authority, among others,
                with the Title III Court challenging the implementation of the T&D Contract. In its complaint,
                UTIER asserts multiple causes of action with the ultimate goal of enjoining the Authority’s
                transition of management, operation, maintenance, repairs, and restoration responsibilities to
                LUMA and LUMA’s replacement of the T&D System. On April 26, 2021, UTIER filed a motion
                for a preliminary injunction to enjoin LUMA from taking over operations of the Authority’s
                T&D System. The Authority and other defendants opposed UTIER’s preliminary objection
                motion on May 5, 2021. After a hearing on the matter, on May 21, 2021, the Title III Court issued

                                                     - 114 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                                Desc:
                            Exhibit J Page 119 of 131
                                   Puerto Rico Electric Power Authority
                           (A Component Unit of the Commonwealth of Puerto Rico)

                                        Notes to the Financial Statements

                                      For the fiscal year ended June 30, 2020



Note 20 -   Subsequent Events – (continued)

            Transformation of the Authority – (continued)

            •   Transformation of the T&D System of the Authority-(continued)

                an order denying UTIER’s motion for preliminary injunction. On July 19, 2021, the Authority
                filed a motion to dismiss UTIER’s complaint. UTIER filed a response to the motion to dismiss
                on September 7, 2021, and the Authority filed a reply in support of its motion to dismiss on
                October 4, 2021. The motion to dismiss is fully briefed and pending adjudication.

                On May 6, 2021, PREPA ERS filed a complaint with the Title III Court against the Authority with
                substantially similar causes of action as in the UTIER adversary proceeding. On July 19, 2021,
                the Authority filed a motion to dismiss PREPA ERS’ complaint, to which PREPA ERS responded
                to on September 7, 2021. On October 4, 2021, the Authority filed a reply in support of its motion
                to dismiss. The motion to dismiss is fully briefed and pending adjudication.

            •   Transformation of the Authority’s Generation

                On August 10, 2020, the P3 Authority, in collaboration with the Authority, issued a Request for
                Qualifications to identify, qualify and select one or more private operators to manage, operate
                and maintain the Authority’s legacy generation assets in order to achieve the following
                objectives: (i) introduce private sector operational expertise; (ii) increase the safety, reliability,
                resiliency and efficiency of legacy generation asset operations; (iii) increase cost efficiency in
                coordination with LUMA; and (iv) implement industry best practices and operational
                excellence, including compliance with environmental requirements. On October 22, 2020, the P3
                Authority selected the shortlisted respondents qualified to participate as proponents (the
                “Proponents”) in the request for proposals (“RFP”) process. Subsequently, the P3 Authority
                issued the RFP, and the same was distributed to the Proponents. Proposals were received on
                December 22, 2021. The P3 Authority is evaluating the proposals, and no determination has been
                announced as of the date of these financial statements.

            Approval of $9.6 Billion to Repair Grid

            In October 2020, FEMA approved approximately $9.6 billion in federal grants for approximately
            $10.5 billion in total project costs to enable the Authority to repair damage to its electric grid caused
            by the Hurricanes. The federal funding is targeted to repair and replace thousands of miles of
            transmission and distribution lines, electrical substations, power generation systems, and other grid
            improvements. The federal funding is subject to the Authority contributing a 10% cost share. The
            FEMA funding will help protect the electrical system from future catastrophic events.

                                                       - 115 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                           Desc:
                            Exhibit J Page 120 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                                       Notes to the Financial Statements

                                     For the fiscal year ended June 30, 2020



Note 20 -   Subsequent Events – (continued)

            Supply of Natural Gas and Conversion of Units 5 and 6 of the San Juan Combined Cycle Power
            Plant

            On March 5, 2019, after a competitive RFP bid process, the Authority entered into a contract with
            NFEnergía LLC (“NFEnergía”), the Puerto Rico subsidiary of New Fortress Energy LLC (“New
            Fortress”), for the supply of natural gas and conversion of Units 5 and 6 of the San Juan Power Plant
            to dual fuel (natural gras and diesel) capacity. Construction of LNG receiving and vaporization
            facility opposite the San Juan Power Plant commenced in early summer 2019, and conversion of San
            Juan Units 5 and 6 to dual fuel capability commenced during fall 2019. The construction and
            conversion project were substantially completed during the first quarter of 2020, and LNG receiving
            and vaporization facilities and San Juan Units 5 and 6 became capable of supporting sustained full
            load operation of the Units on natural gas in June 2020. LNG has now been received into the
            NFEnergía facility from vessels calling upon San Juan Harbor, and natural gas has been made
            available for commissioning both Units 5 and 6 on natural gas. San Juan Units 5 and 6 have run
            primarily on natural gas since that time.

            On June 18, 2020, the U.S. Federal Energy Regulatory Commission (“FERC”) issued an “Order to
            Show Cause” directing New Fortress to show cause why the NFEnergía LNG handling facility is
            not subject to FERC’s jurisdiction under section 3 of the Natural Gas Act. The Authority entered
            into its agreement with NFEnergía on the assumption that FERC approval for the siting and
            construction of the LNG handling facility would not be required. After considering arguments
            which New Fortress Energy LLC and the Authority presented as to why the NFEnergía LNG
            handling facility should not be deemed to be subject to the Commission’s jurisdiction and stressing
            the environmental and economic benefits associated with the use of natural gas in place of diesel
            fuel in San Juan Units 5 and 6, FERC concluded in an order issued on March 19, 2021 that the facility
            is an “LNG terminal” subject to its jurisdiction under Section 3 of the Natural Gas Act. The order
            was up held on appeal by the Federal Court of Appeals for the District of Columbia Circuit on June
            14, 2022. FERC directed NFEnergía to submit an Application for authorization under Natural Gas
            Act Section 3 to operate its San Juan Harbor LNG receiving facility but declined to order the
            suspension of facility operations. NFEnergía submitted the required application to FERC on
            September 15, 2021 in Docket No. CP21-496-000. FERC issued a notice that motions to intervene in
            the proceeding and comments on the Application were to be filed by October 20, 2021. Since then,
            FERC has issued several data requests to NFEEnergía, filing the last supplemental responses in
            February 2022. The Application currently before FERC is pending consideration, and the Authority
            cannot predict when FERC may act on it. In the meantime, the NFEnergía LNG receiving facility
            continues to operate and to supply natural gas to the Authority’s San Juan Units 5 and 6.

            On November 11, 2020, environmental advocacy organizations the Sierra Club and El Puente de
            Williamsburg Inc. (the “Environmental Groups”) filed a complaint against the Authority in the
                                                     - 116 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                              Desc:
                            Exhibit J Page 121 of 131
                                   Puerto Rico Electric Power Authority
                           (A Component Unit of the Commonwealth of Puerto Rico)

                                        Notes to the Financial Statements

                                     For the fiscal year ended June 30, 2020



Note 20 -   Subsequent Events – (continued)

            Supply of Natural Gas and Conversion of Units 5 and 6 of the San Juan Combined Cycle Power
            Plant – (continued)

            Court of First Instance in San Juan seeking preliminary and permanent injunctions and a declaratory
            judgment suspending the operation of the NFEnergía LNG handling facility. In their complaint, the
            environmental groups assert that the NFEnergía LNG handling facility was constructed unlawfully.

            General Permits Office of Puerto Rico filed a response to the complaint on November 25, 2020.
            NFEnergía filed a motion to dismiss the complaint on November 27, 2020 and filed an opposition to
            the requests for preliminary and permanent injunctions on December 1, 2020. The Court of First
            Instance held a preliminary hearing on December 1 and took the arguments under advisement. On
            December 2, 2020, the Court of First Instance dismissed the action for lack of standing.

            On December 16, 2020, the Environmental Groups moved for reconsideration of the judgment
            dismissing the case. The Court denied the motion on January 12, 2021. On February 1, 2021, the
            Environmental Groups appealed the judgment dismissing the case with the Puerto Rico Court of
            Appeals. On May 20, 2021, the Court of Appeals affirmed the Court of First Instance’s judgment.
            No appeal to the Supreme Court of Puerto Rico was taken.

            U.S. Internal Revenue Service Examinations

            The IRS notified the Authority in letters dated from February 7, 2019 to September 6, 2019 that the
            IRS is conducting investigations related to (i) certain Form 8038-CP Returns for Credit Payments to
            Issuers of Qualified Bonds, as defined by the IRS, and Series YY and EEE bond issuances and (ii) the
            Form 8038-B Information Return for Build America Bonds and Recovery Zone Economic
            Development Bonds with respect to the Series EEE bond issuance, regarding its qualification as
            Build America Bonds (“BAB”). On August 11, 2020, the Authority received a letter closing the
            examination of the Form 8038-B and Build America Bond qualification of the Series EEE bond
            issuance in (ii) of the preceding sentence without change.

            In respect of the investigation in (i) of the preceding paragraph, on July 10, 2020, the IRS also issued
            “30-day” letters to the Authority, requesting disgorgement of BAB Subsidy Payments received for
            the July 1, 2017, October 1, 2017, January 1, 2018, April 1, 2018, and January 1, 2020 interest payment
            dates, in the total amount of $18.9 million, and denying the Authority’s request for BAB Subsidy
            Payments for July 1, 2018, October 1, 2018, January 1, 2019, April 1, 2019, July 1, 2019, October 1,
            2019, and April 1, 2020 the interest payment dates, in the total amount of $23.7 million. Since that
            date and until July 2022, the Authority has continued to file for BAB Subsidy Payments, and the IRS
            has continued to deny such requests; the aggregate amount of those additional requests for BAB
            Subsidy Payments which have been filed with the IRS by the Authority is $30.6 million.
                                                      - 117 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                            Desc:
                            Exhibit J Page 122 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                                       Notes to the Financial Statements

                                     For the fiscal year ended June 30, 2020



Note 20 -   Subsequent Events – (continued)

            U.S. Internal Revenue Service Examinations-(continued)

            The Authority has appealed all of these IRS determinations; the appeals are still pending.

            Natural Disasters and Global Pandemic

            In August 2020, the first Costa Sur unit damaged in the January 2020’s earthquakes was returned to
            service and the second unit came online in January 2021. As of the issuance of these financial
            statements, the Authority had received a total of approximately $1.9 billion from FEMA and
            approximately $198 million from several insurance companies in respect of damages resulting from
            the hurricanes, the January 2020’s earthquakes and the COVID-19 pandemic.

            Allocation of $76 million for Pandemic Mitigation

            On October 23, 2021, the Governor announced that he had authorized the allocation to the Authority
            of $76 million from the American Rescue Plan Act funds to help mitigate the effects of the pandemic.
            The moneys will be used to purchase of fuel and cover a portion of the maintenance of the
            Authority’s generation assets.

            Renegotiation of Power Purchase Operating Agreements “PPOAs”

            To better align the Authority’s finances with the objectives of the Authority’s Certified 2022 Fiscal
            Plan (and prior certified fiscal plans for the Authority) pursuant to the Title III process, beginning
            in late 2019 the Authority negotiated with nine (9) counterparties to amend existing PPOAs relating
            to operating renewable energy projects to provide a targeted 10% savings over the remainder of the
            PPOAs’ terms. The Authority reached agreement with seven (7) of the nine (9) counterparties. The
            Oversight Board approved the agreements on September 30, 2020; (ii) PREB approved them on
            October 16, 2020, and October 19, 2020; and (iii) the P3 Authority approved them on November 5,
            2020. The amended agreements became effective during January and February 2021.

            The Authority also negotiated amendments to several other PPOAs to procure a reduction in their
            current prices. The Authority reached agreement on amendments with six (6) of the eleven (11)
            counterparties. The revised cost estimate (inclusive of savings) for the amended contracts in the
            aggregate is $1.4 billion. The effective dates of the amended contracts range from late January 2021
            to late March 2021. Most of these transactions include both modest term extensions and possible
            increases in the amount of renewable energy generating capacity at the facilities covered by the
            PPOAs, and therefore are expected to further support the Authority’s efforts toward meeting the
            renewable energy portfolio requirements placed on it by Act 17-2019 and the Authority’s current
            PREB approved IRP.
                                                     - 118 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                          Desc:
                            Exhibit J Page 123 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                                       Notes to the Financial Statements

                                    For the fiscal year ended June 30, 2020



Note 20 -   Subsequent Events – (continued)

            Tranches to Procure Renewable Energy and Battery Storage Systems

            The IRP places significant renewable energy production requirements on the Authority, including
            a requirement that, by 2025, the Authority source at least 40% of the energy production connected
            to the T&D System from renewable energy generation. The IRP also includes a directive for the
            Authority to develop a competitive solicitation process for the procurement of new renewable
            generation and energy storage resources in support of, among other things, achievement of Act 17-
            2019 targets for renewable energy installations. PREB established a schedule for the procurement of
            minimum quantities of renewable resources and energy storage resources through a request for
            proposals processes.

            In accordance with the above, on February 22, 2021, the Authority issued the Tranche 1 RFP
            soliciting proposals for renewable energy, energy storage and virtual power plant resources.

            On December 16, 2021, the Authority announced that it had made offers to counterparties for Solar
            PV projects with a capacity of 732.72 MW and for up to 220 MW of energy storage resources. On
            December 23, 2021, the Authority informed PREB that it had made offers to counterparties for Solar
            PV projects for an additional capacity of 112.1 MW. PPOAs for the total amount of 844 MW of Solar
            PV and 200 MW of energy storage resources were submitted to PREB for its approval. On February
            2, 2022, PREB entered an order approving the PPOAs for the total amount of 844 MW, and the
            Oversight Board approved them on March 25, 2022. The PPOAs are subject to the outcome of
            integration studies that LUMA is performing.

            PREB has not ruled on the Authority’s request to approve the 200 MW of energy storage resources.
            The storage contracts are also subject to approval by the Oversight Board and the outcome of
            integration studies that LUMA is performing.

            Further, on October 15, 2021, the Authority filed before the PREB a Motion Submitting Tranche 2
            Request for Proposals for Renewable Energy Generation and Energy Storage Resources (RFP) (“Tranche 2
            RFP Submittal Motion”). As part of the Tranche 2 RFP Submittal Motion, the Authority submitted
            a draft Request for Proposals No. 128568 Renewable Energy Generation and Energy Storage Resources
            Tranche 2 of 6 (“Tranche 2 RFP”) for the PREB’s revision and subsequent publication. On October 29,
            2021, the PREB informed the Authority that, it determined to appoint an independent coordinator
            (the “PREB-Independent Coordinator”) for the Tranche 2 RFP, but that the Authority will keep a
            significant role in the Tranche 2 RFP process. PREB further stated that it would set the detailed
            powers and duties of the PREB-Independent Coordinator as well as the role of the Authority in the
            Tranche 2 RFP process in a separate resolution.



                                                     - 119 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                             Desc:
                            Exhibit J Page 124 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                                        Notes to the Financial Statements

                                     For the fiscal year ended June 30, 2020



Note 20 -   Subsequent Events – (continued)

            Tranches to Procure Renewable Energy and Battery Storage Systems- (continued)

            On January 27, 2022, the PREB formally appointed the Tranche 2 PREB-Independent Coordinator.
            Said order did not include the detailed powers and duties for the Authority or LUMA in the Tranche
            2 RFP process but anticipated that the PREB would shortly adopt a separate resolution establishing
            the responsibilities of LUMA and the Authority. On June 9, 2022, the PREB adopted the resolution
            that created a 6-member selection committee for the evaluation of Tranche 2 RFP bids and selection
            of proposals and outlined the responsibilities and duties of the Authority and of LUMA in the
            Tranche 2 RFP process. The selection committee will consist of (i) the Executive Director of the P3
            Authority or his/her delegate; (ii) one (1) officer of the Authority directly concerned with the RFP
            process or his/her delegate; (iii) one (1) member of the Authority’s Governing Board, selected from
            the members appointed by the Governor at his sole discretion; (iv) two (2) officials from other
            government entities, chosen by PREB for their knowledge and/or experience in similar transactions;
            and (v) one (1) representative from LUMA, chosen by LUMA for their knowledge and/or experience
            in similar transactions.

            The Authority’s responsibilities and duties include providing necessary information, document
            review and comments, legal advice, and other guidance concerning lessons learned as part of the
            Tranche 1 process for collaboration with the PREB-Independent Coordinator as part of the Tranche
            2 RFP process. LUMA’s responsibilities and duties include providing necessary data, guidance and
            collaboration with the PREB-Independent Coordinator including any required studies to evaluate
            the interconnection of projects of the Tranche 2 RFP.

            The PREB reiterated that it will make all final decisions required during the Tranche 2 RFP process
            and neither the Authority nor LUMA shall delay that process and expressly warned the Authority
            and LUMA that noncompliance with the PREB’s orders or applicable legal requirements may carry
            the imposition of administrative fines of up to $25,000 per day, per violation and/or other sanctions
            that the PREB may deem appropriate.

            Approval of the Commonwealth Plan of Adjustment of Debts

            On January 18, 2022, the Title III Court entered an order approving the Commonwealth’s Plan of
            Adjustment (“POA"). The POA reduces Commonwealth bond and other debt by 80% and saves
            Puerto Rico more than $50 billion in future aggregate debt service payments. In addition, the Title
            III Court entered its findings of fact and conclusions of law (the “Findings of Fact”) in connection
            with the Modified Eighth Amended Title III Joint Plan of Adjustment of the Commonwealth of Puerto Rico,
            et al. (the Commonwealth Plan of Adjustment), and on March 15, 2022, entered an order confirming
            the Commonwealth Plan of Adjustment (the “Commonwealth Confirmation Order”). Between
            January 28, 2022 and February 17, 2022, six appeals of the Confirmation Order were filed in the First
                                                      - 120 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                          Desc:
                            Exhibit J Page 125 of 131
                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                                       Notes to the Financial Statements

                                    For the fiscal year ended June 30, 2020



Note 20 -   Subsequent Events – (continued)

            Approval of the Commonwealth Plan of Adjustment of Debts-(continued)

            Circuit. Also, on February 22, 2022, the Oversight Board certified a revised budget for the Puerto
            Rico government which includes the new debt payments. The First Circuit denied all parties’
            motions for a stay of the Commonwealth POA pending appeal, which allowed the Commonwealth
            POA to become effective despite the appeals. On March 15, 2022 (the “Effective Date”), the
            conditions precedent to the Effective Date of the Commonwealth Plan of Adjustment were satisfied
            or waived by the Oversight Board, and the POA became effective. On April 26, 2022 and July 18,
            2022, the First Circuit issued opinions affirming the Title III Court’s order confirming the Plan of
            Adjustment.

            Russia’s War on Ukraine- Fuel Supply Chain Effects on the Authority’s Operations

            On February 24, 2022, Russia invaded Ukraine. The war placed renewed emphasis on the
            worldwide dependence on fossil fuels, and the resulting supply disruption caused a significant
            increase in energy prices for consumers. Puerto Rico is not exempt from this price increase. Puerto
            Rico also faces a shortage of LNG supply. LNG sellers have advised the Authority that, at this
            stage, and for the foreseeable future, LNG delivery to Puerto Rico is seriously jeopardized and
            have encouraged the Authority to adjust its plans accordingly. Ensuring that the Authority has
            the necessary LNG supplies is critical to meeting its customers’ energy demands. Due to the
            LNG shortage, the Authority has had to buy diesel and bunker C as replacement. These are less
            efficient, more polluting, and expensive fuels whose prices have also increased. Moreover,
            buying diesel and bunker C fuel to replace the gas-fired generation entails additional fuel
            purchase costs, which are ultimately borne by the Authority’s ratepayers. As this is an ongoing
            issue, it is difficult to determine the extent of the impact the war will continue to have on the
            fuel supply and its effect on the Authority’s operations.

            September 2022 Hurricane Fiona Impact on Electric System

            On September 18, 2022, Hurricane Fiona made landfall in Puerto Rico by the municipality of Cabo
            Rojo. Hurricane Fiona reached Puerto Rico as a Category 1 hurricane with winds of 85 mph and
            gusts of up to 103 mph. Despite the strong winds, most of the damage throughout the Island was
            caused by the heavy rains. Most of these rains were concentrated in the southern, southeastern area
            of Puerto Rico. Hurricane Fiona caused a general blackout throughout Puerto Rico, due to the
            damages caused to the electric power system. As of the date of these financial statements, the
            Authority and LUMA, are still assessing the damages.



                                                     - 121 -
     Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                                                                    Desc:
                               Exhibit J Page 126 of 131

                                                                Puerto Rico Electric Power Authority
                                                 (A Component Unit of the Commonwealth of Puerto Rico)
                                                Schedule of Changes in the Authority's Net Pension Liability
                                                                   and Related Ratios (Unaudited)
                                                                            (In thousands)
                                                                For the fiscal year ended June 30, 2020


                                                                                        For measurement period ended June 30,

                                                  2019                   2018                  2017               2016              2015             2014
Total pension liability
   Service cost                             $        82,860         $       80,783         $      95,768      $     79,927      $     86,627     $     38,420
   Interest on total pension liability              171,460                184,768               168,407           209,459           205,706          249,451
   Difference between expected and
   actual experience                                 (1,958)               (50,005)              (21,443)          (19,815)            11,763           47,103
   Changes in assumptions                           339,551                253,387              (284,071)          947,510            (60,243)       1,796,904
   Benefit payments                                (288,482)              (274,818)             (268,469)         (254,624)         (279,479)        (216,811)
   Contribution Refunds                                   -                      -                  (709)           (1,200)           (1,126)            (795)
   Net change in total pension liability            303,431                194,115              (310,517)          961,257            (36,752)       1,914,272

Total pension liability - beginning               5,765,887              5,571,772             5,882,289          4,921,032         4,957,784        3,043,512


Total pension liability - ending (a)        $     6,069,318         $    5,765,887         $   5,571,772      $   5,882,289     $   4,921,032    $   4,957,784


Plan's fiduciary net position
   Adjustment to beginning Plan net
   position                                 $             -         $            -         $         (58)     $          -      $      1,672     $          -
   Contributions-employer                           224,436                129,728               120,326           113,384            99,179          100,145
   Contributions-members                             18,203                 22,985                24,871            26,470            28,242           36,871
   Net investment income                             34,440                 94,616               134,564            18,700            69,991          179,191
   Benefit payments                                (288,482)              (274,818)             (268,469)         (254,625)         (279,479)        (216,811)
   Administrative expense and other                      (106)                  (156)                 (230)            (385)             (598)              (348)
   Employee Contribution Refunds                            -                      -                  (709)          (1,200)           (1,126)              (795)
   Transfers from other systems                             -                      -                  162                309               437          1,275
   Impairment loss on deposits held in
   GDB                                                      -                      -                     -           (4,129)                 -                 -

Net change in plan fiduciary net position           (11,509)               (27,645)               10,457          (101,476)           (81,682)         99,528

Plan fiduciary net position-beginning             1,198,566              1,226,211             1,215,754          1,317,230         1,398,912        1,299,384

Plan fiduciary net position-ending (b)      $     1,187,057         $    1,198,566         $   1,226,211      $   1,215,754     $   1,317,230    $   1,398,912

Net pension liability-ending (a)-(b)        $     4,882,261         $    4,567,321         $   4,345,561      $   4,666,535     $   3,603,802    $   3,558,872


Covered-employee payroll                    $       218,151         $      247,705         $     258,210      $    270,705      $    287,143     $    341,910
Plan's fiduciary net position as a
 percentage of the pension liability                 19.56%                 20.79%                22.01%            20.67%            26.77%           28.22%
Net pension liability as a percentage
 of covered-employee payroll                         2,238%                 1,844%                1,683%            1,724%            1,255%           1,041%




See accompanying notes to required supplementary information and independent auditors’ report

                                                                             - 122 -
    Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                        Desc:
                              Exhibit J Page 127 of 131

                                    Puerto Rico Electric Power Authority
                            (A Component Unit of the Commonwealth of Puerto Rico)


                         Schedule of Employer Contributions- Pension Plan (Unaudited)
                                                (In thousands)

                                     For the fiscal year ended June 30, 2020



                                                                                                     Actual
                      Actuarially                                                               Contributions as a
                      Determined         Actual             Actual Employer       Covered         percentage of
Fiscal Year Ended      Employer         Employer                Deficiency/       Employee      Covered employee
     June 30,        Contribution     Contribution               (Excess)          Payroll          payroll
       2020          $     241,856    $     241,829         $              27   $     213,353        34.54%
       2019                224,368           75,349                   149,019         218,151        34.54%
       2018                124,634           82,232                    42,402         247,705        33.20%
      2017                 147,607          120,326                    27,281         258,210        46.60%
      2016                 113,384          113,384                       -           270,705        41.88%
      2015                  99,179           99,179                       -           287,143        34.54%
      2014                 100,145          100,145                       -           341,910        29.29%
      2013                  89,481           89,481                       -           347,094        25.78%
      2012                  85,361           85,361                       -           357,758        23.86%
      2011                  85,313           85,313                       -           358,458        23.80%
      2010                  69,926           69,926                       -           354,955        19.70%




See accompanying notes to required supplementary information and independent auditors’ report




                                                  - 123 -
   Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                                   Desc:
                             Exhibit J Page 128 of 131



                                  Puerto Rico Electric Power Authority
                          (A Component Unit of the Commonwealth of Puerto Rico)

                         Schedule of Changes in the Authority's Total OPEB Liability
                                       and Related Ratios (Unaudited)
                                                (In thousands)
                                    For the fiscal year ended June 30, 2020




                                                        Measurement              Measurement           Measurement
                                                        period ended             period ended          period ended
                                                        June 30, 2019            June 30, 2018         June 30, 2017

Total OPEB liability

Service cost                                        $               3,059    $            2,929    $            3,235
Interest                                                           10,567                11,446                10,674
Difference between expected and actual
experience                                                              -               (18,671)                (5,274)
Changes of assumptions or other inputs                             14,252                 8,368                (18,948)
Benefits payments                                                 (12,570)              (17,785)               (17,952)
Net change in total OPEB liability                                 15,308               (13,713)               (28,265)

Total OPEB liability - beginning                                  360,877               374,590               402,855


Total OPEB liability - ending (a)                   $             376,185    $          360,877    $          374,590



Covered-Employee Payroll                            $             218,151    $          247,705    $          258,210
Total OPEB liability as a percentage of Covered-
Employee Payroll                                                  172.44%               145.69%               145.07%




 See accompanying notes to required supplementary information and independent auditors’ report




                                                        - 124 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                           Desc:
                            Exhibit J Page 129 of 131
                                 Puerto Rico Electric Power Authority
                         (A Component Unit of the Commonwealth of Puerto Rico)

                      Notes to the Required Supplementary Information (Unaudited)

                                     For the fiscal year ended June 30, 2020

Note 1 -   Benefit Changes

           There was no pension or OPEB plan changes since the prior measurement date.

Note 2 -   Changes in Assumptions - Pensions

           The following were the changes in assumptions for the measurement period ended June 30, 2019:

           •   The discount rate used to determine the total pension liability was decreased from 3.05% to
               2.84%.
           •   The municipal bond index rate decreased from 2.98% to 2.79%.
           •   The mortality rates assumptions were changed from PUB 2010 Head-Weighted Below-Median
               Mortality Table projected generationally using Scale MP-2019 to PUB 2010 Head-Weighted
               Median Mortality Table projected generationally using Scale MP-2019.

           The following were the changes in assumptions for the measurement period ended June 30, 2018:

           •   The discount rate used to determine the total pension liability was decreased from 3.40% to
               3.05%.
           •   The municipal bond index rate decreased from 3.13% to 2.98%.
           •   The mortality rates assumptions were changed from RP-2014 Employee Mortality Projected to
               2018 using Scale BB to PUB 2010 Head-Weighted Below-Median Mortality Table projected
               generationally using Scale MP-2019.
           •   The projected cash flows used to determine the discount rate assumed that the Authority will
               contribute 34.54% of closed group compensation for 2018, while for 2017 the assumption was
               that the Authority will contribute 46.60% of closed group compensation.
           •   For June 30, 2018, the basis for the target asset allocation and best estimates of arithmetic real
               rates of return for each major asset class is the Survey of Capital Market Assumptions, 2019
               Edition, published by the Horizon Actuarial Services, LLC. For June 30, 2017, this basis was
               provided by the Authority ERS’s investment consultants.

           During the measurement period ended June 30, 2017, the only change in assumption was on the
           discount rate used to determine the total pension liability which was increased from 2.93% to 3.40%
           since the prior measurement date.

           During the measurement period ended June 30, 2016, the changes in assumptions were the
           following:

           •   The discount rate used to determine the total pension liability was reduced from 4.37% to 2.93%
               since the prior measurement date.
           •   Assumed rates of retirement for members hired before January 1, 1993, have been adjusted.
           •   Assumed rates of disability retirements have been adjusted.

                                                    - 125 -
  Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                             Desc:
                            Exhibit J Page 130 of 131
                                 Puerto Rico Electric Power Authority
                         (A Component Unit of the Commonwealth of Puerto Rico)

                       Notes to the Required Supplementary Information (Unaudited)

                                       For the fiscal year ended June 30, 2020

Note 2 - Changes in Assumptions – Pensions-(continued)

           •   Assumed rates for active and healthy annuitants mortality have been updated to the RP-2014
               Mortality Table projected to 2018 using Scale BB, set back one year for males.
           •   Assumed rates for disabled annuitants mortality have been updated to the RP-2014 Disabled
               Annuitant Mortality Table projected to 2018 using scale BB.
           •   The merit component of the salary scale was adjusted.
           •   Assumed rate of wage inflation was reduced from 3.50% to 2.50%.
           •   Assumed rate of price inflation was reduced from 2.50% to 2.25%.
           •   The assumed rate of return on assets was reduced from 8.25% to 5.75%.
           •   The payroll growth assumption for amortizing the unfunded actuarial accrued liability as a
               level percentage of payroll was reduced from 3.50% to 0.00%.

           There were no changes in assumptions during the measurement periods ended June 30, 2015 and
           June 30, 2014. Amounts presented as expense represents amortization of prior years’ changes in
           assumptions.

Note 3 -   Actuarially Determine Contributions - Pensions

           Actuarially determined contribution rates are calculated as of June 30, one year prior to the end of
           the fiscal year in which contributions are reported. Methods and assumptions used to determine
           contribution rates for the fiscal year ended June 30, 2020, and related information for the Plan and
           supplemental benefits follow:



           Actuarial cost method                     Entry age
           Amortization method                       Level dollar, closed
           Remaining amortization period             23 years
           Asset valuation method                     5-year smoothed market
           Inflation                                 2.25 percent
           Salary increases                          2.5 to 7.25 percent, including inflation
           Investment rate of return                 5.75%, net of System investment expense, including inflation



Note 4 -   Changes in Assumptions - OPEB

           The following were the changes in assumptions for the measurement period ended June 30, 2019:

           •   Since the prior measurement date, the discount rate changed from 2.98% to 2.79% due to a
               change in the Municipal Bond Rate.



                                                     - 126 -
Case:17-03283-LTS Doc#:23631-10 Filed:02/27/23 Entered:02/27/23 00:24:23                       Desc:
                          Exhibit J Page 131 of 131
                              Puerto Rico Electric Power Authority
                      (A Component Unit of the Commonwealth of Puerto Rico)

                    Notes to the Required Supplementary Information (Unaudited)

                                 For the fiscal year ended June 30, 2020

 Note 4 -   Changes in Assumptions – OPEB-(continued)

        •   The mortality rates assumptions were changed from PUB 2010 Head-Weighted Below-Median
            Mortality Table projected generationally using Scale MP-2019. PUB 2010 Headcount-Weighted
            Median Mortality Table projected generationally using Scale MP-2019.

        The following were the changes in assumptions for the measurement period ended June 30, 2018:

        •   Since the prior measurement date, the discount rate changed from 3.13% to 2.98% due to a
            change in the Municipal Bond Rate.
        •   The mortality rates assumptions were changed from RP-2014 Employee Mortality Projected to
            2018 using Scale BB to PUB 2010 Head-Weighted Below-Median Mortality Table projected
            generationally using Scale MP-2019.

        The following were the changes in assumptions for the measurement period ended June 30, 2017:

            •   The discount rate changed from 2.71% to 3.13% due to a change in the Municipal Bond Rate.

        The schedules are intended to show information for 10 years. Additional years will be added in the
        future when they become available.




                                                - 127 -
